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                    12   Humana Inc.
                    13                               UNITED STATES DISTRICT COURT
                                                   NORTHERN DISTRICT OF CALIFORNIA
                    14

                    15   HUMANA INC.,
                                                                         Case No.
                    16                      Plaintiff,

                    17          v.                                       COMPLAINT AND DEMAND FOR
                                                                         JURY TRIAL
                    18   GILEAD SCIENCES, INC.; GILEAD
                         HOLDINGS, LLC; GILEAD SCIENCES, LLC
                    19   (f/k/a BRISTOL-MYERS SQUIBB &
                         GILEAD SCIENCES, LLC); GILEAD
                    20   SCIENCES IRELAND UC (f/k/a GILEAD
                         SCIENCES LIMITED); BRISTOL-MYERS
                    21   SQUIBB COMPANY; E.R. SQUIBB &
                         SONS, L.L.C.; JANSSEN PRODUCTS, L.P.;
                    22   and JANSSEN R&D IRELAND (f/k/a
                         TIBOTEC PHARMACEUTICALS),
                    23
                                            Defendants.
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                     1          Plaintiff Humana Inc. (“Plaintiff”) brings this civil action against Defendants Gilead
                     2   Sciences, Inc., Gilead Holdings, LLC, Gilead Sciences, LLC (f/k/a Bristol-Myers Squibb &
                     3   Gilead Sciences, LLC), Gilead Sciences Ireland UC (f/k/a Gilead Sciences Limited) (collectively,
                     4   “Gilead”), Bristol-Myers Squibb Company, E.R. Squibb & Sons, L.L.C. (collectively, “BMS”),
                     5   Janssen Products, L.P., and Janssen R&D Ireland (f/k/a Tibotec Pharmaceuticals) (collectively,
                     6   “Janssen”) (collectively, “Defendants”) under United States antitrust laws and the laws of various
                     7   states. Plaintiff alleges as follows:
                     8                                            INTRODUCTION
                     9          1.        Since 1981, more than 35 million people worldwide and 700,000 people in the
                    10   U.S. have died from Human Immunodeficiency Virus (“HIV”) infection. Despite the advent of
                    11   numerous drugs over the past twenty years, the disease continues to affect millions of Americans.
                    12   As of 2017, more than 1.1 million people in the U.S. were living with HIV and nearly 40,000 new
                    13   patients are diagnosed with the disease each year.
                    14          2.        Gilead dominates the market for antiretroviral drugs, which are essential to
                    15   effective HIV treatment. It manufactures three of the four best-selling HIV drugs on the market,
                    16   as well as many other drugs that are used in HIV combination antiretroviral therapy (“cART”).
                    17   Presently, more than 80% of U.S. patients starting an HIV drug treatment regimen take one or
                    18   more of Gilead’s products every day.
                    19          3.        Several of Gilead’s HIV medications cost less than $10 to produce; yet for nearly
                    20   20 years, Gilead has charged health plans like Plaintiff thousands of dollars for a 30-day supply.
                    21   With yearly sales in the U.S. exceeding $13 billion, Gilead has extracted enormous profits from
                    22   its HIV drugs.
                    23          4.        Gilead’s ability to sustain supracompetitive profits in its multi-billion-dollar HIV
                    24   treatment franchise has been engineered through a comprehensive, illegal scheme to blockade
                    25   competition. Beginning in 2004, Gilead entered into a series of anticompetitive agreements with
                    26   competing cART drug makers to:
                    27               •    Create branded combination drugs, with express bans on using generic
                                          components to create competitive drugs even after patents on the combination
                    28
                                          drugs expired; and
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                     1               •   Delay market entry by competing generic manufacturers for years beyond the date
                                         that Gilead’s patents would have been invalidated, in exchange for protecting the
                     2                   generic manufacturers from competition at the point of delayed entry.
                     3          5.       In addition, Gilead engaged in an array of improper, anticompetitive actions to

                     4   preserve and extend its monopoly cART franchise, including:

                     5               •   Intentionally delaying the introduction of safer cART drugs it had developed, so it
                                         could fully monetize its less-safe drugs while they were insulated from
                     6                   competition via Gilead’s anticompetitive agreements;
                     7               •   Switching doctors and patients away from patent-vulnerable drugs while Gilead’s
                                         delayed generic entry agreements were in effect, leaving doctors and patients with
                     8                   no generic alternatives;

                     9               •   Degrading the efficacy of certain of its products that were more vulnerable to
                                         competition to induce patients to switch to Gilead’s monopoly products; and
                    10
                                     •   Otherwise using false and misleading marketing and treatment indications to
                    11                   impede competition and perpetuate Gilead’s monopoly positions.

                    12          6.       All of these anticompetitive agreements and actions combined to insulate Gilead’s

                    13   product portfolio from the drastic price erosion that would have occurred with effective

                    14   competition, and resulted in billions of dollars in annual excess profits that accrued (and continue

                    15   to accrue) to Gilead and its co-conspirators.

                    16          7.       As further explained below, Defendants’ anticompetitive schemes involved

                    17   unlawful contracts, combinations and restraints of trade in the markets for cART regimen drugs

                    18   and unlawful monopolization in violation of Sections 1 and 2 of the Sherman Act, 15 U.S.C.

                    19   Sections 1 and 2, and various states’ laws.

                    20          8.       As a result of Defendants’ anticompetitive conduct, Plaintiff paid more for cART

                    21   regimen drugs than it otherwise would have paid in the absence of Defendants’ unlawful conduct

                    22   and has sustained, and continues to sustain, damages in the form of overcharges paid for its

                    23   members’ prescriptions of cART regimen drugs.

                    24          9.       Plaintiff seeks redress for the economic harm it has sustained as a result of

                    25   Defendants’ violations of Sections 1 and 2 of the Sherman Act, 15 U.S.C. Sections 1 and 2, and

                    26   various states’ laws. Plaintiff also seeks injunctive relief pursuant to Section 16 of the Clayton

                    27   Act, 15 U.S.C. Section 26.

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                     1                                     NATURE OF THE ACTION
                     2           10.    Combination antiretroviral therapy regimen drugs are commonly used to treat
                     3   patients with HIV. HIV can result in Acquired Immunodeficiency Syndrome (“AIDS”) and
                     4   death. Modern antiretroviral cART drug regimens comprise a combination or “cocktail” of drugs,
                     5   most often consisting of two nucleotide/nucleoside analogue reverse transcriptase inhibitors
                     6   (“NRTIs”) taken with at least one antiretroviral drug of another class, such as an integrase
                     7   inhibitor, commonly referred to as “third agents.” Tenofovir, one of the principal NRTIs used in
                     8   cART regimens, was discovered more than 30 years ago and has long since lost any patent
                     9   protection.
                    10           11.    In 2001, Gilead began marketing tenofovir disoproxil (“TDF”) as Viread. TDF is
                    11   a “prodrug” of tenofovir, meaning that TDF has slight alterations from tenofovir, and, in the
                    12   body, TDF metabolizes into tenofovir. Considering these slight alterations, Gilead’s patents on
                    13   TDF were weak and vulnerable to attack by generic competitors. In light of that threat, Gilead
                    14   entered into a series of agreements with co-conspirators BMS and Janssen to combine their drugs
                    15   and insulate them and their component parts from generic competition. These agreements
                    16   unlawfully restricted competition in ways unnecessary to achieve any legitimate business
                    17   purpose.
                    18           12.    In 2003 and 2004, Gilead began marketing emtricitabine (commonly, “FTC”) as
                    19   Emtriva. It then launched a fixed-dose combination (“FDC”) drug comprised of TDF and FTC
                    20   called Truvada. Like TDF, FTC became a principal NRTI, and the two together were described
                    21   as the “[r]ecommended NRTI backbone for most initial [cART] regimens.” 1 However, also like
                    22   TDF, Gilead’s patent protection on FTC was weak, as Gilead obtained its rights to FTC from
                    23   others who had publicly disclosed FTC over ten years earlier.
                    24           13.    In December 2004, Gilead entered into an agreement with BMS to combine
                    25   Gilead’s Truvada (TDF/FTC) and BMS’s Sustiva (efavirenz, “EFV”) into an FDC named Atripla
                    26   (TDF/FTC/EFV). At the time, Gilead expected imminent challenges to its patents covering
                    27
                         1
                    28    HHS Panel on Antiretroviral Guidelines for Adults and Adolescents (Nov. 13, 2014),
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                         https://clinicalinfo.hiv.gov/en/guidelines/archived-guidelines/adult-and-adolescent-guidelines.
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                     1   Truvada and sought to combine Truvada with Sustiva so that the resulting combination would be
                     2   protected by BMS’s patents. Gilead and BMS aggressively promoted Atripla and induced
                     3   physicians and patients to switch their prescriptions from other TDF-based drugs to Atripla,
                     4   knowing that those physicians and patients would be reluctant to switch back to their earlier,
                     5   standalone drugs when generic versions of those drugs became available. As a result, Gilead and
                     6   BMS could continue to charge supracompetitive prices for Atripla even after standalone generic
                     7   versions of the Atripla components launched.
                     8          14.     The Gilead-BMS Atripla agreement included a “No-Generics Restraint” clause,
                     9   which barred both parties from using generic versions of each other’s standalone drugs to make
                    10   partially-generic versions of Atripla, even after the patents on their standalone drugs expired. For
                    11   example, BMS could not make a combination drug that would compete with Atripla consisting of
                    12   generic Truvada (TDF/FTC) and Sustiva (EFV).
                    13          15.     In 2009, Gilead entered into an agreement with Janssen to combine Gilead’s
                    14   Truvada (TDF/FTC) and Janssen’s Edurant (rilpivirine, “RPV”) into an FDC named Complera
                    15   (TDF/FTC/RPV). As with Atripla, Gilead and Janssen aggressively sought to switch physicians
                    16   and patients from other TDF-based drugs to Complera knowing that they could continue to
                    17   charge supracompetitive prices for Complera even after generic versions of Truvada and other
                    18   drugs were launched.
                    19          16.     The Gilead-Janssen Complera agreement included a No-Generics Restraint clause
                    20   that was broader than the No-Generics Restraint clause in the Atripla agreement. This No-
                    21   Generics Restraint provision not only barred Janssen from making a partially-generic version of
                    22   Complera using generic Truvada (TDF/FTC) and branded Edurant (RPV), but also barred Janssen
                    23   from developing a competitor to Complera consisting of generic Viread (TDF), generic
                    24   lamivudine (“3TC”) — a substitute for FTC that entered the market around January 2012 — and
                    25   branded Edurant (RPV).
                    26          17.     Gilead subsequently entered into an additional agreement with Janssen to combine
                    27   Janssen’s Prezista (darunavir, “DRV”) with Gilead’s Tybost (cobicistat, “COBI”) into a drug
                    28   named Prezcobix (DRV/COBI) so that Janssen could take advantage of Gilead’s longer-lived
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                                                    COMPLAINT AND DEMAND FOR JURY TRIAL
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                     1   patents for COBI. Gilead then entered into a similar agreement with BMS to combine BMS’s
                     2   Reyataz (atazanavir, “ATV”) with Tybost into a drug named Evotaz (ATV/COBI). Both
                     3   agreements contained No-Generics Restraint clauses.
                     4          18.     In 2009, Teva Pharmaceuticals USA, Inc. (“Teva”) challenged Gilead’s TDF
                     5   patents. Gilead responded by suing Teva and then entering into an unlawful reverse payment
                     6   settlement agreement with Teva, with the intent and effect of eliminating Teva’s patent
                     7   challenges to Gilead’s core group of TDF-based drugs: Viread, Truvada, and Atripla.
                     8          19.     In February 2013, the day before trial, Gilead and Teva announced a settlement
                     9   that delayed the introduction of generic Viread by more than 4.5 years until December 15, 2017,
                    10   only six weeks before Gilead’s TDF patents were set to expire. In exchange, Gilead granted Teva
                    11   six weeks of exclusivity as the only seller of generic Viread — a deal that was worth over $100
                    12   million to Teva.
                    13          20.     Then, in February 2014, the day before closing arguments in a trial concerning
                    14   Gilead’s FTC patents, Gilead and Teva announced another settlement. This one delayed the
                    15   introduction of generic Truvada and Atripla by more than 6.5 years until September 30, 2020, one
                    16   year before the expiration of Gilead’s patents. In return, Gilead granted Teva six months of
                    17   exclusivity as the only seller of generic Truvada and Atripla — a deal that was worth more than
                    18   $1 billion to Teva.
                    19          21.     Gilead entered into separate conspiracies with BMS, Janssen, and Teva to impede
                    20   and delay competition for its TDF products so that Gilead could delay bringing its safer and more
                    21   effective tenofovir alafenamide (“TAF”) products to market, further extending its cART regimen
                    22   monopoly. Gilead had known since at least 2001 that TAF had significantly fewer risks of side
                    23   effects than TDF. The company had conducted studies on toxicity that demonstrated that TAF
                    24   was far more effective than TDF and could be administered at much lower doses to reduce the
                    25   risk that users would suffer bone loss or kidney damage. Despite this knowledge, once Gilead
                    26   entered into its separate No-Generics Restraint agreements with BMS and Janssen, and conspired
                    27   with Teva to delay competition from Teva’s generic TDF, Gilead intentionally delayed
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                                                    COMPLAINT AND DEMAND FOR JURY TRIAL
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                     1   introducing its safer, more effective TAF products for years in order to extend its monopoly on
                     2   TDF-based products.
                     3          22.     When Gilead finally began introducing its TAF drugs, it did so in ways that both
                     4   endangered patients and further impeded competition. In 2014, Gilead entered into two
                     5   additional No-Generics Restraint agreements with Janssen, expanding their prior relationship to
                     6   include Gilead’s new TAF platform. The parties agreed to develop Odefsey, a TAF-based
                     7   successor to Complera, and Symtuza, a combination of TAF, FTC, and Prezcobix (DRV/COBI).
                     8   These drugs ultimately launched in 2016 (Odefsey) and 2018 (Symtuza). Gilead also launched
                     9   Stribild (TDF/FTC/EVG/COBI), including elvitegravir (“EVG”), which contained TDF in a
                    10   boosted form, and thus had greater risks for patients. Gilead then highlighted these risks to
                    11   doctors and patients in order to facilitate a switch from Gilead’s TDF-based products to its TAF-
                    12   based products.
                    13          23.     Gilead next declined to apply for FDA approval of standalone TAF, forcing
                    14   patients who sought the safer formulation of tenofovir to take TAF-based FDCs. Then, when
                    15   Gilead finally did seek approval for standalone TAF, it only sought approval for its use in treating
                    16   Hepatitis B, not HIV, despite concurrently seeking approval of a TAF-based combination product
                    17   to treat HIV. Because Gilead did not pursue FDA approval of standalone TAF as an HIV
                    18   treatment, potential generic competitors were impeded in their efforts to bring competing
                    19   standalone TAF products to market. Doctors also could not prescribe standalone TAF to HIV
                    20   patients for “off label” use with other generic component cART drugs (such as 3TC or generic
                    21   Emtriva) because the dosage of TAF in its standalone form was much higher than in Gilead’s
                    22   TAF-based FDCs.
                    23          24.     In November 2015, Gilead launched its first TAF-based drug, Genvoya
                    24   (TAF/FTC/EVG/COBI), a TAF-based successor to Stribild. Gilead then exploited the illegal
                    25   agreements it had separately reached with BMS, Janssen, and Teva — which, among other things,
                    26   had created a several year delay in the onset of generic TDF competition — by using that window
                    27   to aggressively shift physicians and patients from TDF-based drugs to TAF-based drugs.
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                     1          25.     This “product hop” scheme was wildly successful for Gilead. By September 2020,
                     2   when generic Truvada finally came to market, 91% of Gilead’s U.S. prescription base had been
                     3   converted to TAF-based regimens. And even though by this time generic TDF drugs had finally
                     4   entered the market, they were not easily substitutable for the TAF drugs physicians and patients
                     5   were now prescribing and taking. Gilead thus succeeded in further extending its cART monopoly
                     6   franchise.
                     7          26.     The separate horizontal agreements between Gilead and each of its co-conspirators
                     8   covered more than 75% of all sales of NRTIs, more than 50% of all sales of third agents, and
                     9   more than 75% of all sales of boosted drugs for use in a cART regimen in the U.S.
                    10          27.     In the absence of Defendants’ unlawful conduct, generic versions of cART
                    11   regimen drugs would have launched years earlier. Competition from TDF-based generics would
                    12   have driven prices down to competitive levels. Gilead also would have brought its safer, more
                    13   effective TAF drugs to market years earlier, and those products would have faced earlier generic
                    14   competition.
                    15          28.     Plaintiff has sustained, and continues to sustain, injuries to its business and
                    16   property as a result of Defendants’ conduct.
                    17                                     JURISDICTION AND VENUE
                    18          29.     This Court has subject-matter jurisdiction over this action pursuant to 15 U.S.C. §§
                    19   15 and 26, and 28 U.S.C. §§ 1331 and 1337, as Plaintiff asserts claims for violations of Sections 1
                    20   and Section 2 of the Sherman Act, 15 U.S.C. §§ 1 and 2, and seeks injunctive relief under Section
                    21   4 and Section 16 of the Clayton Act, 15 U.S.C. § 15(a) and § 26. This Court has subject-matter
                    22   jurisdiction over Plaintiff’s state law claims under 28 U.S.C. § 1367 because its state law claims
                    23   are so related as to form part of the same case or controversy as its federal claims. Exercising
                    24   supplemental jurisdiction over Plaintiff’s state law claims will avoid unnecessary duplication and
                    25   multiplicity of actions and, therefore, promotes judicial economy, fairness, and convenience.
                    26          30.     Venue in this District is proper pursuant to 15 U.S.C. §§ 15 and 22, 28 U.S.C.
                    27   §§ 1391(b)-(d), and 28 U.S.C. § 1407. At all relevant times, Defendants transacted business
                    28   within this District, carried out interstate trade and commerce in substantial part in this District,
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                     1   and/or have an agent and/or can be found in this District. Defendants sold and distributed the
                     2   relevant drugs in a continuous and interrupted flow of interstate commerce, which included sales
                     3   of relevant HIV cART drugs in the U.S. (including in this District). Defendants’ conduct had a
                     4   direct, substantial, and reasonably foreseeable effect on interstate commerce in the U.S.
                     5   (including in this District).
                     6           31.     This Court has personal jurisdiction over Defendants because each Defendant
                     7   transacted business throughout the U.S. (including in this District); sold and distributed cART
                     8   market drugs, including one or more of the relevant drugs, throughout the U.S. (including in this
                     9   District); engaged in an unlawful conspiracy to restrain trade for cART market drugs, including
                    10   one or more of the relevant drugs, that was directed at and had the intended effect of causing
                    11   injury to persons residing in, located in, or doing business throughout the U.S. (including in this
                    12   District); entered into agreements for the development and manufacture of cART market drugs,
                    13   including the relevant drugs in the U.S. (including in this District); has registered agents in the
                    14   U.S. (including in this District); may be found in the U.S. (including in this District); and is
                    15   otherwise subject to the service of process provisions of 15 U.S.C. § 22. Defendant Gilead also
                    16   has a principal place of business in California and is at home in this District.
                    17                                                PARTIES
                    18           32.     Plaintiff Humana Inc. is a Delaware corporation with its principal place of
                    19   business at 500 West Main Street, Louisville, Kentucky 40202. Humana and its subsidiaries are
                    20   providers of healthcare related services, including insuring risk for prescription drug costs for
                    21   more than 8 million members in all 50 States, the District of Columbia, and Puerto Rico. More
                    22   than 75% of Humana’s total premium revenues in the year 2012 were derived from contracts with
                    23   the federal government, including Medicare Part D prescription drug coverage and Medicare
                    24   Advantage plans. Humana operates its insurance businesses through a variety of health plans and
                    25   other subsidiaries, all of which have assigned their relevant claims in this action to Humana. 2 As
                    26   2
                          Some of the subsidiaries, health plan and otherwise, through which Humana conducts insurance
                    27   business and incurs expenses related to HIV cART drugs include the following entities: Arcadian
                         Health Plan, Inc., CarePlus Health Plans, Inc., Cariten Health Plan Inc., CHA HMO, Inc.,
                    28   CompBenefits Insurance Company, Emphesys Insurance Company, Health Value Management,
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                     1   a Part D sponsor, Humana is obligated both to recoup overcharges for prescription drugs and to
                     2   return a portion of such recoupments to the Centers for Medicare & Medicaid Services (“CMS”).
                     3          33.     Humana also offers “Administrative Services Only” (“ASO”) services to self-
                     4   funded health plans across the United States. Under these ASO agreements, Humana’s
                     5   subsidiaries serve as a third-party administrator to self-funded health plans for purposes of claims
                     6   processing and other services.
                     7          34.     At all times relevant to this Complaint, when any of Humana’s members filled a
                     8   prescription of HIV drugs at a third-party pharmacy, Humana — through its various health plans
                     9   — has paid a large share of the cost of those drugs. For instance, over the relevant time period,
                    10   Humana paid billions of dollars to third-party pharmacies for HIV drugs dispensed to its members
                    11   in all 50 States, as well as the District of Columbia and Puerto Rico.
                    12          35.     In addition to the expenditures associated with its health plans, Humana has spent
                    13   millions of dollars on HIV cART drugs that were dispensed through Humana’s own mail-order
                    14   pharmacy and retail pharmacy locations, Humana Pharmacy, Inc. (“HPI”). HPI buys prescription
                    15   drugs from manufacturers and wholesalers and dispenses them to Humana’s benefits plan
                    16   members and patients who are members of non-Humana health plans through its mail-order and
                    17   retail pharmacy businesses.
                    18          36.     Defendant Gilead Sciences, Inc. is a Delaware corporation with a principal place
                    19   of business at 333 Lakeside Drive, Foster City, California 94404.
                    20

                    21

                    22

                    23   Inc. d/b/a ChoiceCare Network, Humana Benefit Plan of Texas, Inc., Humana Benefit Plan of
                         Illinois, Inc., Humana Employers Health Plan of Georgia, Inc., Humana Health Benefit Plan of
                    24   Louisiana, Inc., Humana Health Company of New York, Inc., Humana Health Insurance
                         Company of Florida, Inc., Humana Health Plan of California, Inc., Humana Health Plan of Ohio,
                    25   Inc., Humana Health Plan of Texas, Inc., Humana Health Plan, Inc., Humana Insurance
                         Company, Humana Insurance Company of Kentucky, Humana Insurance Company of New York,
                    26   Humana Medical Plan of Michigan, Inc., Humana Medical Plan of Pennsylvania, Inc., Humana
                         Medical Plan of Utah, Inc., Humana Medical Plan, Inc., Humana Pharmacy, Inc., Humana
                    27   Regional Health Plan, Inc., Humana Wisconsin Health Organization Insurance Corporation,
                         Humana Health Plans of Puerto Rico, Inc., Humana Insurance of Puerto Rico, Inc., and
                    28   HumanaDental Insurance Company. These entities have assigned their relevant claims in this
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                         action to Humana Inc.
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                     1            37.   Defendant Gilead Holdings, LLC is a Delaware limited liability company with a
                     2   principal place of business at 333 Lakeside Drive, Foster City, California 94404. Gilead
                     3   Holdings, LLC is a wholly-owned subsidiary of Gilead Sciences, Inc.
                     4            38.   Defendant Gilead Sciences, LLC (f/k/a Bristol-Myers Squibb & Gilead Sciences,
                     5   LLC) is a Delaware limited liability company with a principal place of business at 333 Lakeside
                     6   Drive, Foster City, California 94404. Gilead Sciences, LLC is now a wholly owned subsidiary of
                     7   Gilead Sciences, Inc.
                     8            39.   Defendant Gilead Sciences Ireland UC (f/k/a Gilead Sciences Limited) is an Irish
                     9   unlimited liability company with a principal place of business at IDA Business & Technology
                    10   Park, Carrigtohill, Co. Cork, Ireland. Gilead Sciences Ireland UC is a wholly-owned subsidiary
                    11   of Gilead Sciences, Inc.
                    12            40.   Defendant Bristol-Myers Squibb Company is a Delaware corporation with a
                    13   principal place of business at 430 East 29th Street, Fourteenth Floor, New York, New York
                    14   10016.
                    15            41.   Defendant E.R. Squibb & Sons, L.L.C. is a Delaware limited liability company
                    16   with a principal place of business at 430 East 29th Street, 14th Floor, New York, NY 10016. E.R.
                    17   Squibb & Sons, L.L.C. is a wholly-owned subsidiary of Bristol-Myers Squibb Company.
                    18            42.   Defendant Janssen Products, L.P. is a New Jersey company with a principal place
                    19   of business at 1125 Trenton-Harbourton Road, Titusville, NJ 08560. Janssen Products, L.P.’s
                    20   employees participated in the negotiation and/or execution of the agreements regarding
                    21   Complera, Odefsey, Prezista, and/or Symtuza. Janssen Products, L.P. is the owner of the New
                    22   Drug Applications for Edurant, Prezista, Prezcobix, and Symtuza. Janssen Therapeutics
                    23   (formerly known as Tibotec Therapeutics), a division of Janssen Products, L.P., sells and
                    24   promotes Edurant, Prezista, Prezcobix, and Symtuza in the U.S.
                    25            43.   Defendant Janssen R&D Ireland (formerly known as Tibotec Pharmaceuticals) is a
                    26   private Irish company with a principal place of business at Eastgate Village, Eastgate, Little
                    27   Island, County Cork, Ireland. Janssen R&D Ireland is a subsidiary of Johnson & Johnson.
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                     1            44.   Other persons and entities not named as Defendants, including Teva
                     2   Pharmaceuticals USA, Inc. joined and participated in conspiracies with Gilead related to cART
                     3   drugs.
                     4                                   REGULATORY BACKGROUND
                     5            A.    The Regulatory Structure for Approval of Generic Drugs and the
                                        Substitution of Generic Drugs for Brand Name Drugs.
                     6

                     7            45.   Under the Federal Food, Drug, and Cosmetic Act (“FDCA”), manufacturers

                     8   seeking to market a pharmaceutical product must obtain FDA approval by filing a New Drug

                     9   Application (“NDA”). 21 U.S.C. §§ 301-392. An NDA must include specific data concerning

                    10   the safety and effectiveness of the drug, as well as any information on applicable patents. 21

                    11   U.S.C. § 355(a), (b). The products based on these NDAs are generally referred to as “brand-name

                    12   drugs” or “branded drugs.”

                    13            46.   When the FDA approves an NDA, the drug product is listed in an FDA publication

                    14   entitled Approved Drug Products with Therapeutic Equivalence Evaluations, commonly known

                    15   as the “Orange Book.” The FDA lists in the Orange Book any patents which, according to the

                    16   information supplied to the FDA by the brand manufacturer: (1) claim the approved drug or its

                    17   approved uses; and (2) the manufacturer believes could reasonably be asserted against another

                    18   manufacturer that makes, uses, or sells a generic version of the brand drug. 21 U.S.C.

                    19   § 355(b)(1). A manufacturer must submit this patent information within thirty days of NDA

                    20   approval, or, for any later-issued patent, within thirty days of issuance of the patent. 21 U.S.C.

                    21   § 355(c)(2).

                    22            47.   The FDA relies completely on a brand manufacturer’s truthfulness and

                    23   representations in submitting patents to be listed, as it does not have the resources or authority to

                    24   verify the validity or relevance of the manufacturer’s patents. Therefore, in listing patents in the

                    25   Orange Book, the FDA merely performs a ministerial act.

                    26            48.   A drug that receives NDA approval may be entitled to regulatory exclusivity for a

                    27   limited period of time — in other words, the FDA cannot approve any generic drug applications

                    28   during this period.
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                     1             B.      The Hatch-Waxman Amendments.
                     2             49.     When a branded drug’s regulatory exclusivity is about to expire, a manufacturer
                     3   seeking approval to sell a generic version of a branded drug may file an Abbreviated New Drug
                     4   Application (“ANDA”) that demonstrates that a generic version of the drug is essentially the
                     5   same as the branded version: i.e., has the same active ingredients, dosage form, safety, strength,
                     6   absorption, route of administration, quality, performance characteristics, and intended use. The
                     7   Hatch-Waxman Amendments, enacted in 1984, simplified the regulatory hurdles for prospective
                     8   generic manufacturers by eliminating the need for them to file lengthy and costly NDAs. See
                     9   Drug Price Competition and Patent Term Restoration Act, Pub. L. No. 98-417, 98 Stat. 1585
                    10   (1984).
                    11             50.     An ANDA relies on the scientific findings of safety and effectiveness included in a
                    12   brand manufacturer’s original NDA and must further show that the generic drug is
                    13   pharmaceutically equivalent and bioequivalent (together, “therapeutically equivalent”) to the
                    14   brand drug. The FDA assigns an “AB” rating to a generic drug that is therapeutically equivalent
                    15   to a brand-name counterpart, indicating the drugs may be substituted for one another. 21 U.S.C.
                    16   § 355(j)(8)(B).
                    17             51.     Congress had two goals in enacting the Hatch-Waxman Amendments. First, it
                    18   sought to expedite the entry of legitimate (non-infringing) generic competitors, thereby reducing
                    19   healthcare expenses nationwide. Second, it sought to protect pharmaceutical manufacturers’
                    20   incentives to create new and innovative products.
                    21             52.     To incentivize the development of new drugs, the Hatch-Waxman Amendments
                    22   created a 5-year period of new chemical entity (“NCE”) exclusivity. Following the approval of
                    23   an NDA for a drug that has not been approved in any other application, no ANDA may be
                    24   submitted for that drug for 5 years (or 4 years if the ANDA contains a paragraph IV certification,
                    25   as discussed in the next section). See 21 U.S.C. § 355(j)(5)(F)(ii).
                    26             53.     The Hatch-Waxman Amendments achieved both goals, advancing substantially the
                    27   rate of generic product launches, and ushering in an era of historic high profit margins for brand
                    28   manufacturers. In 1983, before the Hatch-Waxman Amendments, only 35% of the top-selling
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                     1   drugs with expired patents had generic alternatives; by 1998, nearly all did. In 1984, prescription
                     2   drug revenue for branded and generic drugs totaled $21.6 billion; by 2009 total prescription drug
                     3   revenue had soared to $300 billion.
                     4          C.           Paragraph IV Certifications.
                     5          54.          To obtain FDA approval of an ANDA, a generic manufacturer must certify that the
                     6   generic drug will not infringe any valid patents listed in the Orange Book. A generic
                     7   manufacturer’s ANDA must contain one of four certifications:
                     8                  i.          that no patent for the brand drug has been filed with the FDA;
                     9                 ii.          that the patent for the brand drug has expired;
                    10                iii.          that the patent for the brand drug will expire on a particular date and the
                    11                              generic manufacturer does not seek to market its generic product before
                    12                              that date; or
                    13                iv.           that the patent for the brand drug is invalid or will not be infringed by the
                    14                              generic manufacturer’s proposed product (a “paragraph IV certification”).
                    15          55.          If a generic manufacturer files a paragraph IV certification, a brand manufacturer
                    16   can delay FDA approval of the ANDA by suing the ANDA applicant for patent infringement. If
                    17   the brand manufacturer sues the generic filer within forty-five days of receiving notification of
                    18   the paragraph IV certification, the FDA will not grant final approval to the ANDA until the earlier
                    19   of (a) the passage of 30 months, or (b) the issuance of a decision by a court that the patent is
                    20   invalid or not infringed by the generic manufacturer’s ANDA. Before then, the FDA may grant
                    21   only a “tentative approval” to an ANDA if it determines that the ANDA would otherwise be
                    22   ready for final approval.
                    23          56.          As an incentive to spur generic alternatives to branded drugs, the first generic
                    24   manufacturer to file an ANDA containing a paragraph IV certification typically gets 180 days of
                    25   market exclusivity (unless a forfeiture event occurs, as discussed below). This means that the
                    26   first approved generic is the only available generic for at least six months, which effectively
                    27   creates a duopoly between the brand company and the first-filing generic during this period. This
                    28   180-day exclusivity period is extremely valuable to generic companies. When there is only one
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                     1   generic on the market, the generic price is lower than the branded price, but much higher than the
                     2   price after multiple generic competitors enter the market.
                     3              57.   Generics are usually at least 25% less expensive than their brand name
                     4   counterparts when there is a single generic competitor, but this discount typically increases to
                     5   50% to 80% (or more) when there are multiple generic competitors on the market. In a 2019
                     6   report, the FDA stated that products with a single generic producer yield a generic average
                     7   manufacturer price that is 39% lower than the brand before generic competition; with two
                     8   competitors, generic prices are 54% lower than the brand before generic competition; and with
                     9   four competitors, generic prices are 79% less than the brand before generic competition. 3 Being
                    10   able to sell at the higher duopoly price for six months may be worth hundreds of millions of
                    11   dollars.
                    12              58.   Brand manufacturers can “game the system” by listing patents in the Orange Book
                    13   (even if such patents are not eligible for listing) and suing any generic competitor that files an
                    14   ANDA with a paragraph IV certification (even if the generic competitor’s product does not
                    15   actually infringe the listed patents) in order to delay final FDA approval of an ANDA for up to 30
                    16   months. That brand manufacturers sue generic manufacturers under Hatch-Waxman simply to
                    17   delay generic competition — as opposed to enforcing a valid patent that is actually infringed by
                    18   the generic — is demonstrated by the fact that generic manufacturers prevail 73% of the time by
                    19   either obtaining a favorable judgment or the brand manufacturer’s voluntary dismissal.
                    20              59.   The first generic applicant can help the brand manufacturer “game the system” by
                    21   delaying not only its own market entry but also the market entry of all other generic
                    22   manufacturers. By agreeing not to begin marketing its generic drug, the first generic applicant
                    23   delays the start of the 180-day period of generic market exclusivity. This tactic is called
                    24   exclusivity “parking.” It creates a bottleneck because later generic applicants cannot launch until
                    25   the first generic applicant’s 180-day exclusivity has elapsed or is forfeited.
                    26

                    27
                         3
                          U.S. Food & Drug Administration, Generic Competition and Drug Prices: New Evidence
                    28   Linking Greater Generic Competition and Lower Generic Drug Prices, at 2-3 (Dec. 2019),
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                         https://www.fda.gov/media/133509/download.
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                     1           60.     On December 8, 2003, Congress enacted the Medicare Prescription Drug,
                     2   Improvement, and Modernization Act of 2003 (“MMA”) in order to make it more difficult for
                     3   brand and generic manufacturers to conspire to delay the start of the first filer’s 180-day period of
                     4   generic market exclusivity. Specifically, the law now provides six mechanisms by which first
                     5   ANDA filers may forfeit their exclusivity rights, thus allowing second (or later) filers to enter the
                     6   market before, or at the same time as, first filers.
                     7           61.     First, under the “failure to obtain tentative approval” provision, forfeiture occurs if
                     8   the first ANDA applicant fails to obtain tentative approval from the FDA within 30 months of
                     9   filing a substantially complete ANDA, unless the failure is caused by either a change in or review
                    10   of the approval requirements. 21 U.S.C.§ 505(j)(5)(D)(i)(IV).
                    11           62.     Second, under the “failure to market” provision, forfeiture occurs if the first
                    12   ANDA applicant fails to timely market its generic drug. 21 U.S.C. § 505(j)(5)(D)(i)(I).
                    13   Forfeiture occurs if the ANDA applicant fails to market its drug by the later of: (a) the earlier of
                    14   the date that is (i) 75 days after receiving final FDA approval; or (ii) 30 months after the date it
                    15   submitted its ANDA; or (b) the date that is 75 days after the date as of which, as to each of the
                    16   patents that qualified the first applicant for exclusivity (i.e., as to each patent for which the first
                    17   applicant submitted a paragraph IV certification), at least one of the following has occurred: (i) a
                    18   final decision of invalidity, unenforceability, or non-infringement; (ii) a settlement order entering
                    19   final judgment that includes a finding that the patent is invalid, unenforceable, or not infringed; or
                    20   (iii) the NDA holder delists the patent from the Orange Book.
                    21           63.     In addition, a first filer may forfeit its exclusivity rights by (1) withdrawing its
                    22   ANDA, (2) withdrawing its paragraph IV certifications, or (3) entering into an agreement with
                    23   another generic, the brand drug application holder, or the patent owner that the Federal Trade
                    24   Commission decides violates antitrust laws. Finally, first filers may forfeit their exclusivity rights
                    25   upon expiration of all patents with which exclusivity is associated. See 21 U.S.C. § 355(j)(5)(D).
                    26           64.     Despite these legal reforms, however, brand manufacturers and first-filing generics
                    27   can structure their settlements to skirt these forfeiture provisions. For example, brand
                    28   manufacturers can convince generic manufacturers to settle before the patents are held invalid,
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                     1   unenforceable, or not infringed. The brand manufacturer prolongs its monopoly and the generic
                     2   manufacturer keeps its 180-day exclusivity. When that happens, in order to trigger forfeiture and
                     3   gain access to the market, subsequent ANDA applicants (with no 180-day exclusivity to entice
                     4   them) must obtain a judgment that all patents for which the first filing generic company filed
                     5   paragraph IV certifications are invalid, unenforceable, or not infringed. This may require the
                     6   subsequent ANDA applicant to initiate a declaratory judgment action concerning patents that the
                     7   brand manufacturer did not assert against it in a paragraph IV litigation.
                     8          65.     In addition, brand and generic manufacturers can structure their settlements to
                     9   provide the generic with 180 days of de facto exclusivity even when it is likely that the generic
                    10   has forfeited that exclusivity under one of the applicable MMA forfeiture provisions, e.g., the
                    11   failure to obtain tentative approval within 30 months of submitting a substantially complete
                    12   ANDA. The brand can provide such exclusivity by agreeing not to license any other generic to
                    13   enter the market any earlier than six months after the generic that has forfeited exclusivity has
                    14   entered. Unless a subsequent generic is itself able to overcome applicable patent and regulatory
                    15   exclusivities, such an agreement effectively restores the first generic filer’s lost statutory
                    16   exclusivity. This results in a windfall to the generic manufacturer and a subversion of the
                    17   regulatory scheme. Because the FDA will not typically make a formal 180-day exclusivity
                    18   determination until another generic applicant has received final approval and is ready to launch,
                    19   settlements that confer de facto exclusivity — even where de jure exclusivity has been forfeited
                    20   under the MMA — dissuade subsequent generic applicants from trying to obtain a court judgment
                    21   of invalidity and/or infringement that would trigger the start of the 180-day period. And, because
                    22   the lion’s share of the generic revenues will perceivably go to the first filer, subsequent filers have
                    23   less incentive to litigate to judgment.
                    24          D.      The Benefits of Generic Drugs.
                    25          66.     Generic versions of branded drugs contain the same active ingredient and are
                    26   determined by the FDA to be just as safe and effective as their branded counterparts. The only
                    27   material difference between generic and branded drugs is their price: generics are usually at least
                    28   25% less expensive than their branded counterparts when there is a single generic competitor, and
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                     1   this discount typically increases to 50% to 80% (or more) when there are multiple generic
                     2   competitors on the market for a given brand. The launch of a generic drug thus usually brings
                     3   huge cost savings for all drug purchasers. The Federal Trade Commission estimates that about
                     4   one year after market entry, the generic version takes over 90% of the brand’s unit sales and sells
                     5   for 15% of the price of the branded product. 4 As a result, competition from generic drugs is
                     6   viewed by brand-name drug companies such as Gilead as a grave threat to their bottom lines.
                     7           67.    Due to the price differentials between branded and generic drugs, and other
                     8   institutional features of the pharmaceutical industry, pharmacists liberally and substantially
                     9   substitute for the generic version when presented with a prescription for the brand-name
                    10   counterpart. Since passage of the Hatch-Waxman Amendments, every state has adopted
                    11   substitution laws that either require or permit pharmacies to substitute generic equivalents for
                    12   branded prescriptions (unless the prescribing physician has specifically ordered otherwise by
                    13   writing “dispense as written” or similar language on the prescription).
                    14           68.    There is an incentive to choose the less expensive generic equivalent in every link
                    15   in the prescription drug chain. Pharmaceutical wholesalers and retailers pay lower prices to
                    16   acquire generic drugs than to acquire the corresponding brand-name drug. Health insurers, like
                    17   Plaintiff, and patients also benefit from the lower prices that result from generic competition.
                    18           69.    Until a generic version of a branded drug enters the market, however, there is no
                    19   bioequivalent generic drug to substitute for and compete with the branded drug, and therefore, the
                    20   brand manufacturer can continue to charge supracompetitive prices without losing substantial
                    21   sales. As a result, brand manufacturers, who are well aware of generics’ rapid erosion of their
                    22   branded drug sales, have a strong incentive to delay the introduction of generic competition into
                    23   the market, including through tactics such as those alleged here. Moreover, inhibiting generic
                    24   competition is also harmful to innovation, as brand manufacturers are incentivized to delay
                    25

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                         4
                    27     Federal Trade Commission, Pay-for-Delay: How Drug Company Pay-Offs Cost Consumers
                         Billions, at 8 (Jan. 2010), https://www.ftc.gov/sites/default/files/documents/reports/pay-delay-
                    28   how-drug-company-pay-offs-cost-consumers-billions-federal-trade-commission-staff-
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                         study/100112payfordelayrpt.pdf.
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                     1   generic competition for existing products, instead of innovating better products in a
                     2   procompetitive manner.
                     3           E.     The Impact of Authorized Generics.
                     4           70.    The 180-day marketing exclusivity to which first filer generics may be entitled
                     5   does not prevent a brand manufacturer from marketing its own generic alternative to the brand
                     6   drug during that 180-day exclusivity period. Such a generic is called an “authorized generic” and
                     7   is chemically identical to the branded drug, but is sold as a generic product through either the
                     8   brand manufacturer’s subsidiary (if it has one) or through a third-party generic manufacturer.
                     9   Competition from an authorized generic during the 180-day exclusivity period substantially
                    10   reduces the first filer’s revenue, and substantially reduces drug prices for consumers.
                    11           71.    In its study, Authorized Generic Drugs: Short-term Effects and Long-Term Impact
                    12   (August 2011), the Federal Trade Commission found that authorized generics capture a
                    13   significant portion of sales and reduce the first filer generic’s revenues by approximately 50% on
                    14   average during the 180-day exclusivity period. 5 The first-filing generic makes significantly less
                    15   money when it faces competition from an authorized generic because (1) the authorized generic
                    16   takes a large share of unit sales away from the first filer; and (2) the presence of an additional
                    17   generic in the market causes prices to decrease.
                    18           72.    Although first-filing generic manufacturers make significantly less money when
                    19   they must compete with an authorized generic during the first 180 days, consumers and other
                    20   drug purchasers such as Plaintiff benefit from the lower prices caused by competition between the
                    21   authorized generic and the first-filing generic.
                    22           73.    As a practical matter, authorized generics are the only means by which brand
                    23   manufacturers engage in price competition with manufacturers of AB-rated generic drugs. Brand
                    24   manufacturers generally do not reduce the price of their branded drugs in response to the entry of
                    25   AB-rated generics. Instead, they either raise the price to extract higher prices from the small
                    26
                         5
                           Federal Trade Commission, Authorized Generic Drugs: Short-term Effects and Long-Term
                    27   Impact, at 139 (Aug. 2011), https://www.ftc.gov/sites/default/files/documents/reports/authorized-
                         generic-drugs-short-term-effects-and-long-term-impact-report-federal-trade-
                    28   commission/authorized-generic-drugs-short-term-effects-and-long-term-impact-report-federal-
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                         trade-commission.pdf.
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                     1   number of “brand-loyal” patients or, more typically, they continue to raise the price of the
                     2   branded drugs at the same intervals and at the same rate at which they raised the price of the
                     3   drugs prior to generic entry.
                     4          74.     Given the significant negative impact of an authorized generic on the first-filing
                     5   generic’s revenues, and the absence of any other form of price competition from the branded
                     6   manufacturer, a brand manufacturer’s agreement not to launch an authorized generic has
                     7   tremendous economic value to a generic manufacturer. Brand manufacturers have used such
                     8   agreements as a way to pay the first filer to delay entering the market. Such agreements deprive
                     9   drug purchasers such as Plaintiff of the lower prices resulting from two forms of competition.
                    10   During the initial period of delay agreed to by the ANDA filer, they effectively eliminate all
                    11   competition from AB-rated generic products and allow the brand manufacturer to preserve its
                    12   monopoly. And, during the period in which the branded company has agreed not to sell an
                    13   authorized generic, they eliminate competition between the ANDA filer’s generic and the
                    14   authorized generic, giving the ANDA filer a monopoly on generic sales.
                    15          75.     As a means of compensating first-filing generic manufacturers, brand
                    16   manufacturers prefer No-Authorized Generics agreements (“No-AG agreements”) to cash
                    17   payments because, in the case of No-AG agreements, a portion of the compensation is paid by
                    18   purchasers of the drug in the form of higher generic drug prices. The generic manufacturer
                    19   receives not only the profits that the brand manufacturer would have made by launching an
                    20   authorized generic in competition with the ANDA filer’s product, but also the higher prices that
                    21   result from the absence of that competition. Thus, the payment to the generic manufacturer is
                    22   shared between the brand manufacturer and the generic manufacturer’s customers.
                    23                        DEFENDANTS’ ANTICOMPETITIVE CONDUCT
                    24          A.      The Origin of Gilead’s cART Franchise.
                    25          76.     In 2001, Gilead began marketing and selling Viread (TDF, 300 mg), and in 2003,
                    26   it began marketing and selling Emtriva (FTC, 200 mg). Viread and Emtriva are both NRTIs
                    27   indicated for treating HIV-1 infection in adults and certain pediatric patients. These NRTIs
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                     1   quickly became two of Gilead’s best-selling products, generating billions of dollars in sales per
                     2   year. However, Gilead knew the patents covering both of these drugs were weak and vulnerable.
                     3           77.    As Gilead’s new chemical entity (“NCE”) exclusivity on Viread (TDF) was
                     4   nearing expiration, Gilead needed a way to protect its monopoly. Instead of innovating, Gilead
                     5   made Truvada (TDF/FTC), a single pill that combines Viread (TDF, 300 mg) and Emtriva (FTC,
                     6   200 mg) — at the same doses as the standalone versions of each drug.
                     7           78.    Gilead submitted its Truvada NDA as a “priority” submission of “Type 4 — New
                     8   Combination” in March 2004, and it was approved by the FDA less than five months later on
                     9   August 2, 2004 for use in combination antiretroviral treatments for HIV-1 infection in adults.
                    10           79.    Unlike typical NDA submissions, which require lengthy and costly clinical trials
                    11   and research, Gilead’s Truvada NDA was approved based on a showing that Truvada (TDF/FTC)
                    12   was bioequivalent to an administration of its separate components (TDF and FTC). Gilead
                    13   offered no evidence that Truvada (TDF/FTC) provided a pharmacological benefit over standalone
                    14   Viread (TDF) plus standalone Emtriva (FTC).
                    15           80.    Gilead began selling Truvada in August 2004. Truvada quickly became a
                    16   blockbuster drug and has been one of Gilead’s top selling HIV products, historically accounting
                    17   for approximately one-quarter of its HIV sales and almost 12% of its total sales. Within two
                    18   years of its launch, Truvada became a billion-dollar earner for Gilead.
                    19           81.    Moreover, in July 2012, Truvada (TDF/FTC) became the first drug approved for
                    20   use as a pre-exposure prophylaxis (“PrEP”) — one of the most effective ways to prevent HIV
                    21   infections in HIV-negative individuals. Even now, Truvada is one of only two drugs approved
                    22   for PrEP — the other being Gilead’s Descovy (TAF/FTC). 6 The use of PrEP is a priority for
                    23   public health, and PrEP medications are indispensable in terms of ending the HIV/AIDS epidemic
                    24   in the U.S. As a result, “Truvada for PrEP” is now covered in all state Medicaid programs.
                    25

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                         6
                    27    See U.S. Food & Drug Administration, FDA Approves Second Drug to Prevent HIV Infection
                         as Part of Ongoing Efforts to End the HIV Epidemic (Oct. 3, 2019), https://www.fda.gov/news-
                    28   events/press-announcements/fda-approves-second-drugprevent-hiv-infection-part-ongoing-
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                         efforts-end-hiv-epidemic.
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                     1   Reduced pricing of Truvada for PrEP would have greatly benefited efforts to end the public
                     2   health AIDS/HIV epidemic.
                     3            82.    Following the approval of Truvada for PrEP, Truvada sales skyrocketed even
                     4   further. In 2016, there were 77,120 PrEP users in the U.S. compared to just over 8,000 in 2012.
                     5   Gilead acknowledges this increase was “primarily due to a higher average net selling price and
                     6   higher sales volume in the United States, as a result of the increased usage of Truvada for PrEP.” 7
                     7   Without generic competition in the U.S. market until only recently, Gilead has been able to raise
                     8   prices year after year, consistently earning in excess of $2 billion annually for Truvada sales.
                     9            B.     Gilead and BMS Enter into a No-Generics Restraint Agreement Related to
                                         Atripla.
                    10

                    11            83.    Truvada was successful, so Gilead knew that it could dominate the market even
                    12   further by combining its drugs with others and protecting them with anticompetitive agreements.
                    13            84.    In December 2004, Gilead entered into a product combination agreement with
                    14   BMS to develop and commercialize Atripla (TDF/FTC/EFV). Atripla was to be a combination of
                    15   Gilead’s Viread (TDF) and Emtriva (FTC), along with BMS’s standalone Sustiva (EFV) — a
                    16   third agent. Gilead and BMS structured their arrangement as a limited liability company named
                    17   Bristol-Myers Squibb & Gilead Sciences, LLC (n/k/a Gilead Sciences, LLC) headquartered in
                    18   Foster City, CA. Pursuant to the collaboration agreement between Gilead, BMS and Bristol-
                    19   Myers Squibb & Gilead Sciences, LLC — Gilead and BMS supplied the company with quantities
                    20   of their respective drug components for the company to manufacture and sell Atripla from
                    21   California. In return, the company made payments from California to Gilead and BMS for the
                    22   supply as well as a percentage of revenue from the net sales of Atripla. Gilead and BMS granted
                    23   royalty-free sublicenses to the company for the use of the companies’ respective technologies
                    24   and, in return, were granted a license by the company to use intellectual property resulting from
                    25   the collaboration.
                    26            85.    The agreement included a No-Generics Restraint provision that expressly
                    27   prohibited either party from marketing an alternative TDF/FTC/EFV product using a generic
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                             Gilead Sciences, Inc., 2016 Form 10-K Annual Report.
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                     1   version of any of its three components. By ensuring that only one version of Atripla would be
                     2   marketed using branded components at inflated prices, Gilead and BMS unreasonably restrained
                     3   trade and protected their drug from competition.
                     4          86.     This No-Generics Restraint was neither necessary nor reasonably ancillary to
                     5   achieving the objective of the product combination agreement. By prohibiting the marketing of
                     6   generic versions of any of the three components, Gilead and BMS hindered competition and
                     7   innovation of additional products for consumers.
                     8          87.     The No-Generics Restraint made no independent economic sense. Absent the
                     9   restraint, competitors like Gilead and BMS would challenge patents and incorporate generic
                    10   components or comparable components to produce a competing Atripla FDC as soon as possible.
                    11   It would be in their individual economic interests to market competing generic-drug-based or
                    12   comparable-drug-based FDCs as soon as possible.
                    13          88.     The No-Generics Restraint only benefitted Defendants by impairing competition.
                    14   Before they lost patent or regulatory exclusivity, neither Gilead nor BMS received any benefit
                    15   from the No-Generics Restraint because no generic was available. The No Generics Restraint
                    16   produced benefits only after the relevant statutory exclusivities expired. Such contractual relief
                    17   from competition is anticompetitive.
                    18          89.     Absent the No-Generics Restraint, BMS or a reasonable company in its position
                    19   would have been motivated to market a competing version of Atripla comprised of generic TDF,
                    20   generic FTC (once available), and EFV, or alternatively generic TDF, generic 3TC, and EFV,
                    21   while Gilead sold the original version of Atripla. The price of Atripla would plummet due to
                    22   competition that should have ensued with the availability of generic TDF.
                    23          90.     The agreement included a termination provision, but the provision actually
                    24   penalized termination. If one of the parties sought to terminate the agreement, the terminating
                    25   party was required to pay the non-terminating party three years of royalty payments, and the
                    26   terminating party would then become the sole member of the company. This substantial penalty
                    27   discouraged either party from terminating the agreement in the event that generic versions of
                    28   TDF, FTC, and/or EFV became available and discouraged the marketing of a competitive form of
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                     1   Atripla with lower-priced generic components, even after the relevant patents had expired.
                     2   Further, if either party terminated the agreement, the other’s ability to continue making and
                     3   selling Atripla would terminate. As a result, even if a generic version of a component drug
                     4   entered the market, a competitive version of Atripla using that generic component could not come
                     5   to market. If neither party terminated the agreement, both would continue to be bound by the
                     6   exclusivity provision and could not make a competing generic-composition-based version of the
                     7   FDC; if a party terminated, then the other would no longer have access to the terminating party’s
                     8   composition and could no longer make any version of Atripla.
                     9          91.     Absent Gilead’s illegal generic delay agreement with Teva, generic TDF would
                    10   have become available as early as 2014, and purchasers of Atripla should have benefitted from
                    11   multiple competitive versions of Atripla. Even when generic TDF finally became available in
                    12   December of 2017, Atripla purchasers were denied competitive alternatives because Gilead (not
                    13   BMS) then terminated the joint venture to insulate its generic component from competition. The
                    14   venture’s name changed to Gilead Sciences, LLC, a wholly owned subsidiary of Gilead Sciences,
                    15   Inc.
                    16          92.     Gilead and BMS further engaged in an aggressive co-promotional marketing
                    17   campaign to induce prescription switches from standalone Viread (TDF), Emtriva (FTC), and
                    18   Sustiva (EFV) (which would soon be facing generic competition) to Atripla, which was insulated
                    19   from generic competition under the Gilead-BMS agreement.
                    20          93.     The Gilead-BMS agreement substantially increased Gilead’s incentive to move
                    21   sales and market share from TDF and/or FTC to Atripla. The switched sales resulted in BMS
                    22   selling significantly more EFV than it would have otherwise. The agreement allowed Gilead and
                    23   BMS to maintain a monopoly in the Atripla market, generating higher than normal prices for not
                    24   only Atripla but the individual standalone components as well.
                    25          94.     Absent Gilead and BMS’s agreement to forgo use of generic components in
                    26   Atripla FDC formulation(s), an unrestrained competitor in BMS’s position would have
                    27   challenged Gilead’s patents one year before expiration of NCE exclusivity on July 2, 2008, and
                    28   could have entered the market as early as January 2011.
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                     1          95.     In 2004, when Gilead and BMS entered into their non-compete agreement, Gilead
                     2   expected generic competition for TDF and FTC years before the January 2018 (for TDF) and
                     3   September 2021 (for FTC) expiration of patents listed in the Orange Book. BMS likewise
                     4   expected generic competition years before the July and August 2018 expiration of the Orange
                     5   Book-listed patents covering EFV. Defendants’ agreement to combine their branded TDF, FTC,
                     6   and EFV components into an FDC while agreeing not to market any other Atripla FDC with
                     7   generic components substantially extended their expected exclusivity, particularly in view of the
                     8   weakness of the patents covering these components, as discussed below.
                     9          96.     Atripla (TDF/FTC/EFV) was approved by the FDA on July 12, 2006, roughly two
                    10   years after Truvada (TDF/FTC), for use alone or in combination antiretroviral treatment of HIV-1
                    11   infection in adults. As in the case of Truvada, Gilead was not required to conduct lengthy clinical
                    12   trials and investigations to support its Atripla NDA, because the three components had previously
                    13   been tested and proven safe and effective on their own. For approval of its Atripla NDA, Gilead
                    14   merely had to establish bioequivalence to concurrent administration of the individual
                    15   components. The FDA approved the Atripla NDA less than three months after its submission.
                    16          97.     At least part of Atripla’s success is due to Gilead and BMS’s aggressive marketing
                    17   efforts. Knowing that the NCE exclusivity on TDF was set to expire in October 2006, and that
                    18   the NCE exclusivity on FTC was set to expire in July 2008, Gilead and BMS engaged in
                    19   marketing to induce and/or reward switching prescriptions to Atripla. Gilead and BMS shared
                    20   these marketing and sales efforts, co-promoting Atripla in the U.S. from July 2006 through at
                    21   least 2010.
                    22          98.     Gilead and BMS’s No-Generics Restraint agreement and joint promotion of
                    23   Atripla exploited substantial imperfections in the HIV prescription drug marketplace: (1) that
                    24   HIV prescription drug sales are “sticky,” and (2) that once a doctor switches a patient from one
                    25   HIV drug to another, s/he is very reluctant to switch the patient back, even if a generic or lower
                    26   cost product becomes available. Brand manufacturers take advantage of this stickiness by using
                    27   their robust sales forces to move a prescription base from products facing imminent generic
                    28   competition to products expecting a longer monopoly. Timing is critical. If the new product
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                     1   beats the generic version of the old product to the market, it makes as much as 10 times more in
                     2   sales than it otherwise would have made.
                     3          99.     Knowing this, Gilead and BMS agreed to join sales forces to co-promote Atripla,
                     4   employing various marketing schemes to exploit this market defect. Gilead and BMS were able
                     5   to switch much of the prescription base from Viread (TDF), Emtriva (FTC), and Truvada
                     6   (TDF/FTC) to more-expensive Atripla (TDF/FTC/EFV), which was insulated from competition
                     7   under Gilead and BMS’s agreement.
                     8          100.    The marketing campaign was successful. Like Truvada, Atripla became a top
                     9   earner for Gilead. In 2008 (just two years after its July 2006 launch), Atripla’s sales reached
                    10   approximately $1.6 billion. And in 2010, Atripla’s sales surpassed $2.9 billion. Without generic
                    11   competition in the U.S. market until only recently, Atripla sales have consistently been at or
                    12   above $1 billion, making Atripla was one of Gilead’s best-selling drugs.
                    13          C.      Gilead Announces TAF.
                    14          101.    Even before the FDA approved Viread (TDF) in October 2001, Gilead had
                    15   discovered TAF, and Gilead published research on TAF in April 2001. TDF and TAF are both
                    16   prodrugs from the same parent drug tenofovir. However, TAF is superior because it only requires
                    17   a fraction of the dose TDF requires to achieve the same therapeutic effect. The lower plasma
                    18   concentrations required for TAF results in correspondingly reduced toxicities compared to TDF,
                    19   making TAF safer to use.
                    20          102.    Gilead knew as early as 2001 that TAF created significantly fewer side effects than
                    21   TDF because TAF is more potent in smaller concentrations than TDF (e.g., a 25 mg dose of TAF
                    22   has the same therapeutic effect as a 300 mg dose of TDF). More specifically, TAF presented a
                    23   much lower risk of toxicity — especially kidney toxicity. As early as 2002, Gilead had realized
                    24   the benefits of TAF’s smaller doses and lowered plasma concentrations compared to TDF.
                    25   Indeed, in 2002, Gilead conducted clinical trials of TAF in humans with the explicit goal, as
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                     1   articulated by Gilead’s senior executive, of “deliver[ing] a more potent version of tenofovir that
                     2   can be taken in lower doses, resulting in better antiviral activity and fewer side effects[.]” 8
                     3           103.   In 2003, Gilead reported to investors about the TAF clinical trials that the “initial
                     4   data … looks promising,” and that Gilead was “excited” about TAF’s prospects. 9 In January
                     5   2004, Gilead issued a press release from Foster City, CA, indicating again the promising TAF
                     6   results by reporting to investors that it was “continuing the clinical development of [TAF] …
                     7   based on favorable Phase I/II results.” 10 In February 2004, Gilead reported that “[b]ased on data
                     8   from our Phase 1/2 clinical trials of [TAF], we have begun developing a Phase 2 program for the
                     9   treatment of HIV infection[.]” 11 In May 2004, Gilead reported that TAF clinical studies had
                    10   confirmed that TAF gets higher concentrations of tenofovir into the blood than does TDF, thus
                    11   allowing the patient to take a far smaller dose, thereby significantly reducing the risk of adverse
                    12   side effects. Gilead represented to investors that smaller TAF doses could “give greater antiviral
                    13   response .... [s]o, the theory holds that you can target and treat HIV differently using these kinds
                    14   of prodrug and targeting technologies.” Gilead continued to praise the advantages of TAF and its
                    15   potential for HIV treatment for years to investors through at least June 2004, shortly before
                    16   receiving FDA approval for Truvada in July of 2004.
                    17           104.   A few months later, on October 21, 2004, Gilead abruptly changed course,
                    18   announcing that it had decided to shelve further development of promising TAF treatments.
                    19   Gilead made the announcement in a 2004 Q3 Earnings Call conducted from Foster City,
                    20   California, and attributed the decision to shelve TAF to an “internal business review and ongoing
                    21   review of the scientific data for [TAF]” that supposedly led Gilead to conclude that “it would be
                    22   unlikely that [TAF] would emerge as a product that could be highly differentiated from Viread
                    23   8
                           Relias Media, Special coverage: 9th Conference on Retroviruses - New drugs, new data hold
                    24   promise for next decade of HIV treatment (May 1, 2002),
                         https://www.reliasmedia.com/articles/76107-special-coverage-9th-conference-on-retroviruses-
                    25   new-drugs-new-data-hold-promise-for-next-decade-of-hiv-treatment.
                         9
                           Gilead Sciences Q3 2003 Earnings Conference Call (Oct. 28, 2003); Gilead Sciences Q4 2003
                    26   Year End Earnings Conference Call (Jan. 29, 2004).
                         10
                            Gilead Press Release, Gilead Sciences Announces Fourth Quarter and Full Year 2003 Financial
                    27   Results (Jan. 29, 2004), https://www.gilead.com/news-and-press/press-room/press-
                         releases/2004/1/gilead-sciences-announces-fourth-quarter-and-full-year-2003-financial-results.
                         11
                    28      Gilead Sciences, Inc., 2003 Form 10-K Annual Report.
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                     1   [TDF].”12 This pretextual statement that TAF was “unlikely” to “be highly differentiated” from
                     2   TDF directly contradicted earlier statements made by Gilead that TAF is absorbed by the blood
                     3   more effectively than TDF, leading to possible efficacy and safety advantages.
                     4          105.    Gilead’s abandoned development of TAF coincided with Gilead’s agreement with
                     5   BMS to market TDF-based Atripla without generic components. Gilead and BMS formally
                     6   entered into the agreement on December 17, 2004 and Gilead’s December 2004 press release
                     7   issued from Foster City, California, concerning the agreement noted that Gilead and BMS’s joint
                     8   work on developing the project had “been ongoing throughout most of 2004.”13
                     9          106.    Gilead abandoned its development of TAF because it concluded that instead of
                    10   continuing to innovate, it could use the No-Generics Restraints to shield its TDF-based HIV
                    11   medications and franchise from competition for years. With the BMS deal in place, Gilead was
                    12   able to shelve its TAF product for later use as part of its product-hopping strategy once generic
                    13   competition to its TDF-based HIV medications became imminent. It no longer made economic
                    14   sense for Gilead to do what competition would otherwise have forced it to do — introduce the
                    15   safer, more effective, TAF as soon as possible and transition patients before rival TDF products
                    16   entered the market. With its BMS deal in place, Gilead could extract greater profits by
                    17   continuing to market and sell its less effective, less safe, TDF products and then rolling out TAF
                    18   much later.
                    19          107.    Gilead itself eventually made explicit the connection between its anticompetitive
                    20   deal with BMS and the shelving of TAF. At an investor conference called the Barclays Capital
                    21   Global Healthcare Conference in March 2011, Kevin Young, the executive vice president of
                    22   Gilead’s commercial operations, admitted that in 2004, Gilead “didn’t bring [TAF] through
                    23   development because at the time we were launching Truvada, launching Atripla ….”14 Gilead
                    24   never amended the BMS joint venture agreement to provide BMS with the opportunity to
                    25
                         12
                            Gilead Sciences Q3 2004 Earnings Conference Call (Oct. 21, 2004).
                         13
                    26      Gilead Press Release, Bristol-Myers Squibb and Gilead Sciences Establish U.S. Joint Venture
                         to Develop and Commercialize Fixed-Dose Combination of Three HIV Medicines (Dec. 20,
                    27   2004), https://www.gilead.com/news-and-press/press-room/press-releases/2004/12/bristolmyers-
                         squibb-and-gilead-sciences-establish-us-joint-venture-to-develop-and-commercialize-fixeddose-
                    28   combination-of-three-hiv-medicines.
                         14
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                            Gilead Sciences, Inc. at Barclays Capital Global Healthcare Conference (Mar. 15, 2011).
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                     1   commercialize a TAF-based successor to Atripla. Nor at that time did Gilead file an NDA to
                     2   market a TAF-based successor product to Atripla.
                     3             108.   Further, on May 3, 2011, at the Deutsche Bank Securities Inc. Health Care
                     4   Conference, another Gilead executive, John Milligan, confirmed why Gilead sat on TAF for over
                     5   a decade. Holding TAF in reserve to later reformulate TDF-based FDCs would “bring quite a bit
                     6   of longevity to the Gilead portfolio,” securing an “important opportunity for Gilead long-term.” 15
                     7   It allowed Gilead to have another line extension and TAF-based franchise.
                     8             D.     Gilead Enters into a Pay-for-Delay and No-AG agreement with Teva Related
                                          to Viread.
                     9

                    10             109.   Having delayed the market introduction of its safer and more effective TAF
                    11   products, Gilead next went to work asserting its weak patents and settling with prospective
                    12   generic competitors to prolong its existing monopoly over TDF products.
                    13             110.   Viread (TDF) is a prodrug formulation of tenofovir. Prodrugs are
                    14   pharmacologically inactive compounds that, once administered, undergo a conversion by the
                    15   body’s metabolic processes to become an active pharmacological agent. Prodrugs were not new
                    16   or novel at the time Gilead obtained its patents. And, the process for converting a compound like
                    17   tenofovir into the TDF prodrug would have been obvious to a person of ordinary skill in the art.
                    18             111.   Gilead did not invent tenofovir. Tenofovir was first invented and patented in the
                    19   1980s by Czech scientists of the Institute of Organic Chemistry and Biochemistry (part of the
                    20   Academy of the Sciences of the Czech Republic) and Rega Stichting v.z.w (together,
                    21   “IOCB/REGA”). The patents covering tenofovir expired long ago.
                    22             112.   Gilead obtained an exclusive license to manufacture and use TDF from the Czech
                    23   institutions that invented it. In 1991 and 1992, Gilead entered into agreements with IOCB/REGA
                    24   for the exclusive right to manufacture, use and sell Viread in exchange for payment of a
                    25   percentage of net revenues received “subject to minimum royalty payments.”16 In 2000, in
                    26   anticipation of Viread’s launch, the agreements were amended to provide for a “reduced royalty
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                         15
                    28        Gilead Sciences, Inc. at Deutsche Bank Securities Inc. Health Care Conference (May 3, 2011).
                         16
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                              Gilead Sciences, Inc., 2006 Form 10-K Annual Report.
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                     1   rate on future sales” of products incorporating tenofovir in return for an up-front payment from
                     2   Gilead. In 2004, in anticipation of the launches of Truvada and Atripla, Gilead again amended
                     3   the agreements to include Truvada and “any future fixed-dose combination products that contain
                     4   the licensed technology.” At the same time, the Czech institutions, understanding the need for
                     5   accessible and affordable medications to end the HIV epidemic, agreed to waive any right to
                     6   royalty payments for Viread or Truvada in developing countries where products are sold at or
                     7   near cost.
                     8          113.    Patents are intended to encourage innovation by offering protection from
                     9   competition for inventions that are novel, useful, and non-obvious. A 2003 report by the Federal
                    10   Trade Commission found that the average patent application gets approximately 15-20 hours of
                    11   review time by the U.S. Patent and Trademark Office’s (“Patent Office”) assigned examiner. 17
                    12   Despite receiving hundreds of thousands of patent applications each year, the Patent Office grants
                    13   the vast majority of patent applications that it receives.
                    14          114.    Brand pharmaceutical companies have increasingly engaged in a patent
                    15   procurement strategy sometimes referred to as “evergreening.” “Evergreened” patents include
                    16   later-filed patents that do not cover the active pharmaceutical ingredient (“API”), but rather claim
                    17   some ancillary aspect of the drug, such as its delivery method, dosage, minor chemical
                    18   differences, or release mechanism. These patents — if litigated to judgment — have a high rate
                    19   of being found invalid or not infringed.
                    20          115.    Gilead never had any patents on the parent molecule tenofovir. Instead, Gilead’s
                    21   Viread patent portfolio attempted to claim the minor differences reflected in the prodrug as novel.
                    22   Three of the patents — U.S. Patents Nos. 5,922,695 (“the ’695 patent”), 5,977,089 (“the ’089
                    23   patent”), and 6,043,230 (“the ’230 patent”) — all derived from the same patent application and
                    24   cover the tenofovir disoproxil prodrug. The fourth — 5,935,946 (“the ’946 patent”) — claimed
                    25   the fumarate salt of tenofovir disoproxil. The four TDF patents (the ’695, ’089, ’230, and ’946
                    26   patents) were set to expire on January 25, 2018.
                    27
                         17
                    28     Federal Trade Commission, To Promote Innovation: The Proper Balance of Competition and
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                         Patent Law and Policy (Oct. 2003).
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                     1          116.    Knowing its patents were weak and likely to be invalidated, Gilead filed meritless
                     2   patent infringement lawsuits against generic challengers of the TDF patents. And Gilead entered
                     3   into settlement agreements with these challengers before issuance of a final court decision
                     4   rendering the TDF patents invalid and/or not infringed. Gilead’s goal was simple: to delay
                     5   generic competition for multi-billion-dollar blockbuster drugs as long as possible.
                     6          117.    Viread’s NCE exclusivity expired on October 26, 2006, so any 30-month stay
                     7   blocking FDA approval of competing generics could have expired as early as April 26, 2009.
                     8   Therefore, if a generic manufacturer had brought a successful patent challenge (or launched
                     9   during the pendency of the patent litigation which is sometimes referred to as launching “at
                    10   risk”), it could have launched a generic version of TDF as early as 2009. Even in the best of
                    11   circumstances for Gilead, the Orange Book-listed patents for Viread expired by January 2018.
                    12          118.    On or about July 1, 2009, Teva filed a substantially complete ANDA with the
                    13   FDA to manufacture and sell a generic formulation of Viread 300 mg tablets. The 300 mg
                    14   strength of Viread constituted the lion’s share of all Viread sales.
                    15          119.    Teva’s ANDA included paragraph IV certifications as to all four patents listed in
                    16   the Orange Book for TDF — i.e., declarations by the ANDA filer that the patents were invalid,
                    17   unenforceable, or would not be infringed by the proposed ANDA product.
                    18          120.    Teva’s ANDA, as the first-filed ANDA with paragraph IV certifications for the
                    19   300 mg strength, entitled Teva to a lucrative 180-day Hatch-Waxman exclusivity. The vast
                    20   majority of generic drug profits occur during the 180-day exclusivity period.
                    21          121.    Gilead initiated Hatch-Waxman patent litigation against Teva by filing a patent
                    22   infringement lawsuit within the statutory forty-five (45) days. Gilead’s filing of the lawsuit
                    23   triggered a stay preventing the FDA from approving Teva’s ANDA until the earlier of either:
                    24   (1) thirty (30) months had elapsed, or (2) the issuance of a “court decision” finding the patents
                    25   invalid or not infringed by the ANDA product. See, e.g., 21 U.S.C. §§ 355(c)(3)(C), (j)(5)(B)(iii).
                    26          122.    The issue presented was a relatively simple obviousness patent analysis. As
                    27   characterized by Teva in its pretrial pleadings:
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                     1                  This is a straightforward obviousness case. Three of the patents in
                                        suit are directed to a prodrug of the known drug tenofovir (PMPA).
                     2                  The prior art made clear that PMPA is a highly potent anti-HIV drug
                     3                  with poor oral bioavailability. The prior art also disclosed improving
                                        PMPA’s bioavailability by making a prodrug of it. The particular
                     4                  prodrug disclosed in the prior art, called bis(POM)PMPA, was
                                        known to exhibit a manageable but undesirable side effect, whose
                     5                  cause was well understood. The person of ordinary skill in the art
                                        (“POSA”) would therefore have sought an alternative prodrug
                     6
                                        form that would not exhibit that side effect, and would have selected
                     7                  the carbonate prodrug (bis(POC)PMPA) claimed in three of the
                                        patents in suit.
                     8
                                        The fourth patent relates to a fumarate salt of the bis(POC)PMPA
                     9                  prodrug claimed in the other three patents. As in Pfizer, Inc. v.
                                        Apotex, Inc., 480 F.3d 1348, 1362 (Fed. Cir. 2007), the prior art
                    10                  disclosed salts of bis(POC)PMPA and identified a motivation to
                                        make others, including the fumarate salt. Just as in Pfizer v. Apotex,
                    11
                                        the selection of the fumarate salt from the limited number of
                    12                  available pharmaceutically acceptable salts would have been
                                        routine. 18
                    13

                    14          123.    The court set a bench trial for February 20, 2013. Although Teva received

                    15   tentative approval of its generic Viread (TDF) ANDA on December 23, 2011, Teva first agreed

                    16   not to launch at risk until May 1, 2013 (Dkt. 19), and later not until June 1, 2013 (Dkt. 86).

                    17   Accordingly, Teva could have launched its generic at any point if the court found Gilead’s patents

                    18   invalid, not infringed, or unenforceable, or at least on June 1, 2013, if the court had not issued its

                    19   judgment by then.

                    20          124.    An outcome in Teva’s favor would have been devastating to Gilead, costing the

                    21   company billions of dollars in Viread revenues and profits. And Teva had a decided litigation

                    22   advantage given the weakness of Gilead’s patents.

                    23          125.    The day before trial, February 19, 2013, the parties notified the court they had

                    24   reached a settlement in principle. Gilead’s announcement — issued the same day — stated that

                    25   Teva would not be allowed to launch a generic version of Viread (TDF) until December 15,

                    26

                    27   18
                           Gilead Scis., Inc. v. Teva Pharms. USA, Inc., No. 1:10-cv-1796, Dkt. No. 112, at 1 (S.D.N.Y.
                    28   Jan. 28, 2013)) (emphasis added).
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                     1   2017 — only one and a half months prior to expiration of the TDF patents. 19 Gilead thus bought
                     2   itself another four and a half years of exclusivity and supracompetitive pricing and profits for
                     3   Viread. The agreement was finalized in April 2013.
                     4           126.   Further, the Gilead-Teva settlement did not just regard Viread (TDF). Because
                     5   TDF is also a component of Truvada (TDF/FTC) and Atripla (TDF/FTC/EFV), the litigation and
                     6   the settlement addressed all of those products. In other words, Gilead’s settlement with Teva
                     7   extended far beyond the specific TDF patent dispute being litigated, successfully delaying,
                     8   impairing and/or suppressing potential generic competition for three of its blockbuster HIV drugs
                     9   in one fell swoop.
                    10           127.   Pursuant to the Medicare Prescription Drug, Improvement, and Modernization Act
                    11   of 2003 (the “Medicare Modernization Act”), the parties to such patent litigation settlements are
                    12   required to disclose the terms of the settlements to the Federal Trade Commission and the U.S.
                    13   Department of Justice (“DOJ”), which are afforded an opportunity to review the terms of such
                    14   settlements.
                    15           128.   On or about June 28, 2013, the Federal Trade Commission sent Gilead and Teva a
                    16   letter objecting to and/or expressing concerns relating to the terms of the settlement agreement,
                    17   which prompted the parties to request that the court extend the automatic dismissal deadline for
                    18   the case. 20
                    19           129.   As a result, the court ordered a telephonic status conference for August 29, 2013.
                    20   At the status conference, which was transcribed but originally redacted in certain relevant places,
                    21   the parties described the Federal Trade Commission’s objection to the court in response to the
                    22   court’s question about the “offending provision” of the agreement:
                    23                  THE COURT: OK. That sounds pretty good. Maybe the upside is
                                        I don’t have to do a darn thing. All right.
                    24
                                        Do you mind my asking what is the offending provision?
                    25

                    26
                         19
                    27      Gilead Press Release, Gilead and Teva Reach Settlement Agreement in Viread Patent
                         Litigation (Feb. 19, 2013), https://www.gilead.com/news-and-press/press-room/press-
                    28   releases/2013/2/gilead-and-teva-reach-settlement-agreement-in-viread-patent-litigation.
                         20
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                            See Gilead v. Teva, No. 1:10-cv-1796, Dkt. No. 132 (June 28, 2013)).
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                     1                 [GILEAD COUNSEL OF RECORD]: Not at all, your Honor. Just
                                       a little bit of background, if I may. The Federal Trade Commission
                     2                 has historically taken issue with settlements between brand
                     3                 companies and generics when those settlements have what are called
                                       reverse payments in them where the brand name company pays a sum
                     4                 of money to the generic company, allegedly in exchange for the
                                       generic company’s agreement to stay off the market longer than the
                     5                 generic company might otherwise have done so.
                     6                 Not too long ago, your Honor may be aware, the Supreme Court
                                       addressed such provisions in a very split court five-three and they
                     7                 found that … such provisions could potentially violate antitrust laws
                                       that had to be evaluated under the rule of reason. That has
                     8
                                       emboldened the [Federal Trade Commission] and has breathed new
                     9                 life into its enforcement efforts.

                    10                 So now they have reached out in our agreement, and, as I understand
                                       it, in some others, to challenge the agreements even though there is
                    11                 no reverse payment provision. No money was to change hands under
                                       our agreement. There was, however, a provision in which Gilead
                    12                 agreed that if it were to independently and unilaterally determine
                                       that it would launch a generic, an authorized generic of its own, it
                    13                 would do so but only if it gave Teva six weeks head start on the
                    14                 Gilead authorized generic. This so-called, in the [Federal Trade
                                       Commission’s] view, “no authorized generic clause,” they have
                    15                 now tried to analogize, in our case and others, to a reverse payment.
                                       That song, quite frankly, has never had too many folks singing in its
                    16                 choir. 21
                    17          130.   Since the August 29, 2013 hearing, numerous courts have agreed with the Federal
                    18   Trade Commission and found that “no authorized generic” (“No-AG”) clauses can and indeed do
                    19   constitute anticompetitive reverse payments to ANDA filers.
                    20          131.   Gilead’s counsel continued by assuring the court that the parties had simply
                    21   removed the “no authorized generic” agreement from the settlement:
                    22                 [GILEAD COUNSEL OF RECORD]: … as of late yesterday
                                       afternoon, the parties have determined that they will drop the
                    23
                                       “offending” provision from the agreement. So we simply now have
                    24                 to prepare and execute a simple amendment to the underlying
                                       settlement agreement, send that down to the Federal Trade
                    25                 Commission, and then your Honor will be able to dismiss the case.

                    26                 …

                    27
                         21
                    28     Gilead v. Teva, No. 1:10-cv-1796, Dkt. No. 134, at 4:17-5:21 (Aug. 29, 2013) (emphasis
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                         added).
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                     1                  [GILEAD COUNSEL OF RECORD]: … Fortunately, for all
                                        concerned, we have resolved it, but we have eliminated the so-called
                     2                  “no AG clause” from the agreement so it is truly inconceivable to us
                     3                  that the [Federal Trade Commission] can have any other
                                        complaints ….” 22
                     4

                     5          132.    Thus, counsel for Gilead represented to the court that the No-AG clause was

                     6   dropped from the patent settlement agreement and no other changes were made to reflect the

                     7   supposed elimination of the No-AG provision. However, what Gilead and Teva did not disclose

                     8   was that even though they removed the “No-AG” language from the agreement, they still had an

                     9   agreement preventing Gilead from launching an AG at the point of Teva’s delayed generic entry.

                    10   That secret agreement did not become apparent until Gilead did not launch a competing AG when

                    11   Teva launched its generic on December 15, 2017, and Teva issued a press release announcing its

                    12   “exclusive” generic Viread launch. 23

                    13          133.    Teva’s ability to launch its generic without facing competition from Gilead’s AG

                    14   was of great economic benefit to Teva. According to the Federal Trade Commission, in a

                    15   scenario without a competing authorized generic, the first filer generic immediately gains a

                    16   substantial share within days of launch, and ultimately will capture up to 90% of the total

                    17   molecule market. The greater the market share the first filer is able to secure, the greater the

                    18   long-term advantages, as the first filer usually retains the majority of its exclusive market share

                    19   even with the presence of multiple generics.

                    20          134.    Applying these observed market dynamics to this case, Gilead earned annual

                    21   revenues on Viread of approximately $1 billion before the launch of generic equivalents (or $115

                    22   million during the six-week exclusivity period). Teva, as the first filer, claimed at least half of

                    23   that revenue during the exclusivity period and retained a significantly higher portion of the

                    24   overall market even beyond the exclusivity period. In such a situation, Teva could expect

                    25   revenues over $50 million during the six-week exclusivity period without a competing AG.

                    26
                         22
                    27     Id. at 3:22-4:3 & 6:5-9.
                         23
                           Teva Press Release, Teva Announces Exclusive Launch of Generic Viread in the United States
                    28   (Dec. 15, 2017), https://www.tevapharm.com/news-and-media/latest-news/teva-announces-
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                         exclusive-launch-of-generic-viread-in-the-united-states/.
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                     1          135.    Teva’s profits would have been significantly lower had Gilead launched a
                     2   competing AG. According to the Federal Trade Commission, in that event, Teva would obtain
                     3   only approximately 30% of the market during the six-week exclusivity period. 24 And, Teva’s
                     4   market share would not have increased much higher thereafter.
                     5          136.    Greater price erosion also cuts into the first filer’s revenues. In the above $1
                     6   billion drug example, instead of launching at a 10% discount to the brand and making over $50
                     7   million in revenues during the six-week exclusivity period, the first filer must launch at a greater
                     8   discount to compete with the authorized generic. Assuming Teva launched at a 25% discount to
                     9   the brand and maintained an average 30% market share during the six-week exclusivity period,
                    10   Teva would only earn revenues of approximately $28 million during the six-week exclusivity
                    11   period. Gilead’s launch of an AG would thus cost Teva over $20 million in revenues during the
                    12   six-week exclusivity period, and additional hundreds of millions of dollars beyond the exclusivity
                    13   period as Teva’s market share would not recover.
                    14          137.    Gilead’s decision not to launch a competing AG defies rational business logic, as
                    15   such a move could have offset the expected generic erosion. Moreover, a No-AG agreement runs
                    16   contrary to Gilead’s decision to recognize such profits and launch AGs with respect to multiple
                    17   other products in its portfolio, including its blockbuster hepatitis C drugs Harvoni and Epclusa,
                    18   through its subsidiary Asegua Therapeutics. 25 Yet, Gilead never launched a Viread AG.
                    19          138.    The purpose of the settlement agreement was clear: in exchange for delayed
                    20   generic entry, Teva would be granted exclusive entry into the market without competition from a
                    21   Gilead AG. This No-AG agreement was a payment from Gilead to Teva worth substantially
                    22   more than what Teva could have earned if it had prevailed in the patent litigation and come to
                    23   market with a generic Viread in competition with Gilead’s AG. This reverse payment from
                    24

                    25
                         24
                            See, e.g., Federal Trade Commission, Authorized Generic Drugs: Short-Term Effects and
                    26   Long-Term Impact (Aug. 2011).
                         25
                            See, e.g., Gilead Press Release, Gilead Subsidiary to Launch Authorized Generics of Epclusa
                    27   and Harvoni for the Treatment of Chronic Hepatitis C (Sept. 24, 2018),
                         https://www.gilead.com/news-and-press/press-room/press-releases/2018/9/gilead-subsidiary-to-
                    28   launch-authorized-generics-of-epclusa-sofosbuvirvelpatasvir-and-harvoni-ledipasvirsofosbuvir-
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                         for-the-treatment-of-chronic.
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                     1   Gilead to Teva exceeded Gilead’s anticipated litigation costs to continue pursuing the patent
                     2   litigation.
                     3           139.    Gilead also included “most-favored entry” (“MFE”) and “most-favored-entry-
                     4   plus” (“MFEP”) provisions in its patent settlements with Teva and other generic manufacturers.
                     5   MFE clauses benefit first filers but can also be used to incentivize later filers. MFE clauses
                     6   provide that if any subsequent generic ANDA filer succeeds in entering the market before the
                     7   agreed-upon date for the first filer, the first filer’s entrance will be accelerated and it may enter at
                     8   the same time as that subsequent filer. A first filer may agree to an MFE in exchange for delayed
                     9   entry because it knows the MFE will dramatically reduce a second filer’s incentive to file an
                    10   ANDA and challenge the patents. If second filers are aware that they will face immediate
                    11   competition from a first filer, they are less likely to pursue costly litigation against the brand
                    12   company. Two entrants inevitably result in reduced market share and lower pricing for both
                    13   generics.
                    14           140.    The anticompetitive effects of MFEs may be compounded by increasing the
                    15   number of generic manufacturers to which the clauses apply. When a second filer is deciding
                    16   whether to initiate or continue a patent challenge, knowing that the brand manufacturer has
                    17   already granted an MFE to the first filer and has offered to grant one to the second filer, it could
                    18   reasonably conclude that the brand manufacturer will also likely grant MFEs to subsequent filers
                    19   (i.e., the third, fourth, and fifth filers). In these circumstances, the second filer faces the prospect
                    20   that, even if it expends substantial resources to win the patent case, its “victory” would trigger
                    21   simultaneous entry into the market by the first filer, possibly an “authorized generic” marketed by
                    22   the brand manufacturer, and possibly additional generics. Simultaneous entry of multiple
                    23   manufacturers would quickly push prices down close to marginal cost.
                    24           141.    MFEP clauses primarily benefit first filers as well. MFEP clauses provide that the
                    25   brand manufacturer will not grant a license to any second (or subsequent) filer to enter the market
                    26   until a defined period of time after the first filer enters. Like MFE clauses, MFEP clauses
                    27   dramatically reduce a later filer’s incentive to challenge the patents, because they ensure the first
                    28   filer’s exclusivity for a set period of time. Absent an MFEP, a second filer could use its challenge
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                     1   to the patents as leverage to negotiate with the brand manufacturer for a license to enter the
                     2   market before the first filer. This is particularly significant where the first filer has forfeited its
                     3   180-day exclusivity by failing to get tentative FDA approval within 30 months. Absent the 180-
                     4   day exclusivity period, the second filer could enjoy a substantial period of de facto exclusivity in
                     5   the generic sector of the market. The MFEP would eliminate that possibility by ensuring that the
                     6   second filer could not successfully negotiate for an earlier licensed entry date.
                     7           142.    By February 2013, the time that Gilead and Teva reached their patent settlement,
                     8   approximately six other generic drug manufacturers — Lupin, Cipla, Hetero, Aurobindo, Strides
                     9   Pharma, and Macleods Pharmaceuticals — had filed ANDAs seeking FDA approval to sell
                    10   generic Viread. The first two of those manufacturers included paragraph IV certifications with
                    11   respect to the TDF patents, and Gilead had filed suit. Gilead and Teva fully understood that the
                    12   other four of those six intended to enter the market as soon as possible and would amend their
                    13   ANDAs to include paragraph IV certifications (as is common in the industry) if it appeared that
                    14   they had an opportunity for a period of de facto exclusivity.
                    15           143.    In view of this potential competition, Gilead used MFE and MFEP clauses to
                    16   incentivize Teva to push back its generic entry date. Under the MFE clause, Teva received
                    17   assurances that no other generic manufacturer would enter the Viread market before Teva. And
                    18   under the MFEP clause, Teva would be protected from competition from any other generic until
                    19   the expiration of the TDF patents on January 26, 2018. So Teva received six weeks as the
                    20   exclusive Viread generic. This reduction in generic competition was enormously valuable to
                    21   Teva and amounted to a payment. For every week that Teva was on the market as the only
                    22   generic manufacturer of a standalone Viread (TDF) generic, it could expect to sell all of the TDF
                    23   units at about 90% of the brand price. Entry of multiple generics would swiftly cause Teva’s unit
                    24   sales and profits per unit sale to decrease. Without MFE and MFEP clauses, Teva faced a
                    25   substantial risk that it would be stuck on the sidelines while later filers entered the market years in
                    26   advance and reaped the corresponding gains of being the first generic TDF standalones.
                    27           144.    Moreover, Teva’s competitive advantage was not limited to just the period when
                    28   no other manufacturer was selling the product. With a certain, single-entrant launch date, Teva
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                     1   could ramp up its production and negotiate contracts with its customers to effectively flood the
                     2   distribution channel with product before the second filers entered the market, and lock in high
                     3   prices with long-term sales contracts. The difference between the single-generic price and the
                     4   price with multiple generic competitors represented a significant additional cost to purchasers of
                     5   the drug.
                     6          145.    The MFE and MFEP clauses also benefitted Gilead. They allowed Gilead to
                     7   extract an exceedingly favorable entry date — just six weeks before the end of the patent term in
                     8   mid-January 2018. Such agreements also provided Gilead control over when generic entry would
                     9   occur and allowed it to further impede competition. Having information as to the timing of
                    10   generic TDF was essential to Gilead’s multi-layered product-hopping schemes and compounded
                    11   the anticompetitive effects of Defendants’ concerted plans to delay and suppress generic
                    12   competition in the markets for these critical HIV drugs. And Gilead used these clauses to reduce
                    13   the likelihood of substantive patent challenges, by discouraging later filers from litigating. These
                    14   anticompetitive clauses proved to be effective tools for Gilead to maintain and extend its market
                    15   dominance.
                    16          146.    Gilead also included MFE clauses in its settlement agreements with other generic
                    17   Viread manufacturers. Those MFE clauses persuaded subsequent filers to agree to delay entry
                    18   until at least six weeks after Teva’s entrance into the Viread market, or until January 26, 2018.
                    19   This meant that Lupin and Cipla, who each litigated the patents for nearly two years, ultimately
                    20   agreed to delay their generic launch until the patents expired (i.e., they received no advantage
                    21   over generics that did not litigate). These subsequent filers were made aware of the MFEs in the
                    22   Gilead/Teva agreement.
                    23          147.    When agreeing to the delayed December 15, 2017 entry date, Teva knew that:
                    24   (a) Gilead was willing to include anticompetitive MFEs in settlement agreements with subsequent
                    25   filers; (b) it was in Gilead’s financial interest to include such clauses in agreements with all
                    26   subsequent filers; (c) the subsequent filers would have known that the Gilead/Teva agreement
                    27   included an MFE; (d) no subsequent filer after the adoption of the MFEs would have an interest
                    28
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                     1   in incurring the costs of patent litigation to try to enter the market before Teva; and (e) the MFEs’
                     2   deterrent effect would grow with every additional MFE that Gilead granted in settlement.
                     3          148.    Just as Gilead intended, the MFEs in the Teva agreement (and others) deterred
                     4   subsequent ANDA filers and deterred substantive patent challenges. Lupin and Cipla settled their
                     5   litigations in exchange for no benefit over other ANDA filers. And the other ANDA filers — at
                     6   least Hetero, Aurobindo, Strides, and Macleods — chose not to amend their ANDAs to include
                     7   paragraph IV certifications. Absent Gilead’s anticompetitive conduct, at least Hetero and
                     8   Aurobindo would have made such certifications as they made paragraph IV certifications with
                     9   respect to Truvada.
                    10          149.    On January 26, 2018, six weeks to the day after Teva entered the market, and the
                    11   day after the TDF patents expired, five generic manufacturers (Cipla, Hetero, Aurobindo, Strides,
                    12   and Macleods) received final FDA approval, and four immediately began marketing generic
                    13   Viread. At least four more ANDAs were finally approved over the next year. Many had received
                    14   tentative approval years earlier.
                    15          150.    Viread has been an enormously successful drug for Gilead. After launching in late
                    16   2001, Viread quickly became a blockbuster drug. In 2003, Gilead earned $566.5 million in sales
                    17   and royalty revenues from Viread worldwide. In 2004, that number jumped to $782.9 million.
                    18   After many years of stable sales of approximately $650-$950 million per year, Viread crossed the
                    19   $1 billion plateau in 2014. Viread earned $1 billion per year worldwide thereafter through 2017.
                    20   Teva launched generic Viread on December 15, 2017.
                    21          151.    In 2017, the year that Teva eventually entered the market, Viread had U.S. sales of
                    22   $591 million, or about $11 million per week. Generic manufacturers (however many there were)
                    23   could expect to take at least 80% of Viread’s unit sales. As the sole generic on the market, Teva
                    24   could expect to price its generic at 90% of the brand price and make at least $7.9 million for
                    25   every week of sales, while as one of seven generics on the market Teva could expect to price its
                    26   generic at about 20% of the brand price and make a seventh of the total generic sales or about
                    27   $250,000 for every week of sales. Thus, Gilead and Teva’s efforts to forestall generic
                    28   competition increased Teva’s sales by $7.65 million for every week in which it was the only
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                     1   seller of generic Viread — an increase of $45.9 million over the six weeks secured by the MFEs
                     2   and MFEPs.
                     3          152.    During the six weeks secured by the MFEs and MFEPs, Teva was the only seller
                     4   of generic Viread on the market, and it stuffed the supply chain with its generic Viread product,
                     5   locking in high prices through long-term sales contracts. Thus, Teva made millions more than it
                     6   would have absent the MFEs and MFEPs. Absent Gilead and Teva’s anticompetitive conduct,
                     7   Teva and the second filers would have entered the market much sooner than they did. The delay
                     8   in generic entry protected more than $2 billion in Gilead’s Viread branded sales, and the
                     9   insulation from competition facilitated Gilead’s delayed introduction of its TAF products, all at
                    10   the expense of Plaintiff and others.
                    11          E.      Gilead and BMS Enter into Pay-for-Delay Agreements Related to Truvada
                                        and Atripla.
                    12

                    13          153.    Gilead and Teva’s anticompetitive TDF patent settlement established that generic
                    14   competition to Truvada (TDF/FTC) and Atripla (TDF/FTC/EFV) would be precluded at least
                    15   until December 2017 — when Teva could launch its generic Viread (TDF). However, litigation
                    16   regarding the other components of these FDCs pushed their generic entry dates back even further.
                    17          154.    On or about September 26, 2008, Teva filed substantially complete ANDAs with
                    18   the FDA to manufacture and sell generic formulations of Truvada and Atripla. For both of these
                    19   ANDAs, Teva ultimately included paragraph IV certifications as to the four TDF patents (which
                    20   were litigated alongside Viread, discussed above), the FTC patents, and, for Atripla, the EFV
                    21   patents. Thus, Teva asserted these patents were invalid, unenforceable, or not infringed by its
                    22   proposed ANDA products.
                    23          155.    The Orange Book-listed patents for Truvada and Atripla for the four TDF patents
                    24   (the ’695, ’089, ’230, and ’946 patents) expired on January 25, 2018. The FTC patents expired
                    25   on May 4, 2021 and September 9, 2021. For Atripla, the patents covering EFV expired July 20,
                    26   2018 and August 14, 2018.
                    27

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                     1           156.    Like Teva’s ANDA for Viread, Teva’s ANDAs for Truvada and Atripla were each
                     2   the first substantially complete applications to be filed, entitling Teva to first filer status for
                     3   statutory ANDA exclusivity, subject to any forfeiture.
                     4                   1)      BMS and Teva enter into a Pay-for-Delay agreement related to
                                                 Atripla.
                     5

                     6           157.    BMS contributed EFV for the Gilead-BMS joint development of
                     7   Atripla (TDF/FTC/EFV). After Teva filed the first Atripla ANDA, BMS filed suit against Teva
                     8   in March of 2010, accusing it of infringing U.S. Patent Nos. 6,639,071 (the “’071 patent”) and
                     9   6,939,964 (the “’964 patent”). BMS was initially represented by the same counsel who
                    10   represented Gilead in its Viread patent infringement litigation against Teva. Merck, Sharp &
                    11   Dohme Corp., owner of the patents, joined BMS as co-plaintiff. See Merck, Sharp & Dohme
                    12   Corp. v. Teva Pharmaceuticals USA, Inc., No. 1:10-cv-01851 (S.D.N.Y. filed Mar. 9, 2010). The
                    13   asserted EFV patents expired on August 14, 2018 and July 20, 2018, respectively.
                    14           158.    The patents BMS asserted against Teva covered particular crystalline forms of
                    15   EFV — they did not claim the compound itself, but merely particular ways the molecules may
                    16   arrange themselves in a crystal. These were weak, and susceptible to invalidity challenges. BMS
                    17   did not assert the purported composition of matter patent for EFV (which expired in 2013) or the
                    18   method of use patent for treatment of HIV infection (which expired in 2014). Moreover, BMS
                    19   specifically chose not to assert the ’071 or the ’964 patents in an earlier case against Mylan
                    20   Pharmaceuticals regarding the Sustiva (EFV) standalone drug. There, BMS stated that
                    21   defendants’ Notice Letter “provided a detailed statement of the factual and legal basis for [their]
                    22   paragraph IV certification regarding” these patents. Bristol Myers Squibb Co. v. Mylan Pharms.
                    23   Inc., No. 1:09-cv-00651, Dkt. 183, ¶ 20 (D. Del. June 18, 2012). BMS thus believed that Mylan
                    24   had established — just based on its letter — that its ANDA product did not infringe these patents
                    25   and/or that they were invalid or unenforceable.
                    26           159.    In addition to Teva and Mylan, multiple other generics challenged BMS’s EFV
                    27   patents, reflecting the weakness of these patents.
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                     1          160.    Like Gilead, BMS filed the Atripla EFV patent infringement lawsuit without
                     2   regard to the merits, knowing the EFV patents it asserted were weak and likely to be invalidated
                     3   and fully anticipating imminent generic competition. BMS knew that there was a substantial
                     4   probability that it would lose the patent litigation given the weakness of its EFV patents and that
                     5   it would likely face generic competition years prior to the expiration of its patents.
                     6          161.    In its Pretrial Memorandum, Teva presented facts that the asserted patents were
                     7   invalid because they were inherently anticipated and/or obvious. Teva showed that the claimed
                     8   crystalline structure, “Form I,” is inevitably formed by practicing the processes described in either
                     9   of two different prior art references, rendering the asserted patents invalid. Teva further showed
                    10   that the “Background of the Invention” sections of the ’071 and ’964 patents expressly admit that
                    11   Form I was in the prior art, and state that the novelty of the patents is the use of a different
                    12   crystallization process (not the discovery of a new crystal form). Yet, the claims of the ’071 and
                    13   ’964 cover only the final crystallized forms (i.e., “Form I”), without any reference to the
                    14   processes used to make them, despite first stating that “[t]he instant invention describes a method
                    15   for crystallizing [EFV].”
                    16          162.    On June 5, 2013, less than three weeks before the scheduled trial concerning the
                    17   EFV patents, the parties had “reached a settlement in principle.” The case was officially closed
                    18   on August 16, 2013.
                    19          163.    On October 8, 2014, BMS issued a press release announcing the resolution of all
                    20   its EFV and Atripla patent infringement litigation. It stated: “we believe that loss of exclusivity
                    21   in the U.S. for efavirenz should not occur until December 2017.”26 Thus, BMS’s announcement
                    22   indicated that it expected to lose exclusivity for EFV on about the same date that Teva had
                    23   accepted for the launch of its generic TDF.
                    24          164.    There are now several versions of generic EFV on the market. Mylan, the first
                    25   filer for EFV, received tentative FDA approval in 2011 and final approval in 2016. However,
                    26   Mylan did not launch generic EFV until February 1, 2018, just six months before the last-expiring
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                           Bristol-Myers Squibb Press Release, Bristol-Myers Squibb Statement on Sustiva (efavirenz) in
                    28   the U.S. (Oct. 8, 2014), https://news.bms.com/news/details/2014/Bristol-Myers-Squibb-
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                         Statement-on-Sustiva-efavirenz-in-the-US/default.aspx.
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                     1   asserted EFV patent was set to expire. The terms of the parties’ settlement were never fully
                     2   disclosed.
                     3                   2)     Gilead and Teva enter into a Pay-for-Delay agreement related to
                                                Truvada and Atripla.
                     4

                     5          165.     Shortly after the TDF patent settlement and the EFV patent settlement, Gilead
                     6   entered into a similar anticompetitive settlement agreement with Teva in regard to FTC to further
                     7   delay the entry of generic Truvada (TDF/FTC) and Atripla (TDF/FTC/EFV). This agreement
                     8   was a highly effective impediment to generic competition. Until recently, Teva marketed the
                     9   only generic versions of both drugs. Additional generic manufacturers recently entered both
                    10   markets, causing prices of generic Truvada and Atripla to plummet.
                    11          166.     As in the case of Viread, generic erosion of Truvada and Atripla sales would have
                    12   occurred swiftly. Introduction of generic Truvada and Atripla would have drastically reduced
                    13   pricing and made these crucial HIV medications more affordable and accessible to those living
                    14   with HIV.
                    15          167.     Gilead did not invent FTC. Instead, like for TDF, Gilead obtained rights to it from
                    16   others. The Orange Book-listed patents for Truvada and Atripla purportedly covering the FTC
                    17   component include U.S. Patent Nos. 6,642,245 (“the ’245 patent”) and 6,703,396 (“the ’396
                    18   patent”). The FTC patents were set to expire on May 4, 2021 and September 9, 2021,
                    19   respectively.
                    20          168.     At different times, in an attempt to extend its flagship TDF-based product line,
                    21   Gilead also listed other patents in the Orange Book for Truvada and Atripla — all of dubious
                    22   validity. For many of the listed patents, Gilead never asserted them against any prospective
                    23   generic competitors. Others merely purport to claim the non-inventive pairing of drugs, where
                    24   such combinations would have been obvious to a skilled artisan. And none of them cover the
                    25   API, but rather some ancillary aspect of the drug product. As such, these later-listed Orange
                    26   Book patents were obvious and not novel, and would have likely been found invalid.
                    27          169.     Like for TDF, Gilead acquired the rights to FTC from the real inventors. In 1990,
                    28   scientists at Emory University filed the first of a family of patents that disclosed FTC — or, more
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                     1   precisely, the specific enantiomer (i.e., orientation) of FTC used in Emtriva, Truvada, and Atripla,
                     2   which is called “(–)-β-FTC.” For example, U.S. Patent No. 5,814,639 (“the ’639 patent”) issued
                     3   in September 1998 and claimed β-FTC, claimed using β-FTC for HIV treatment, disclosed its two
                     4   enantiomers (the (+) and (–) enantiomers), and disclosed a technique for separating them.
                     5           170.    Gilead listed Emory’s patents (the ’639, ’245, and ’396 patents), along with
                     6   Emory’s related U.S. Patent No. 5,210,085 (“the ’085 patent”), in the Orange Book for Truvada
                     7   and Atripla. The ‘245 and ‘396 patents were the two patents Gilead was asserting against Teva at
                     8   the time the parties settled their litigation.
                     9           171.    In April 1996, Triangle Pharmaceuticals, Inc., obtained an exclusive license to
                    10   purified forms of FTC for use in HIV and HBV indications. Gilead acquired Triangle in January
                    11   2003, including the exclusive rights. Upon that acquisition, Gilead rushed standalone Emtriva
                    12   (FTC) and Truvada (TDF/FTC) to market. The FDA approved standalone Emtriva (FTC) in July
                    13   2003, roughly six months after Gilead acquired the license to FTC. In March 2004, less than a
                    14   year later, Gilead filed its NDA for Truvada (TDF/FTC), which the FDA approved in August
                    15   2004 (less than five months after Gilead’s initial submission).
                    16           172.    The NCE exclusivities for FTC as a component of Truvada and Atripla expired on
                    17   July 2, 2008. As a result, any 30-month stay blocking FDA approval of a competing generic
                    18   could have expired as early as January 2, 2011. That means that a generic manufacturer bringing
                    19   a successful patent challenge against Truvada or Atripla could have launched a generic version of
                    20   Truvada or Atripla as early as 2011. Even in the best of circumstances for Gilead, the Orange
                    21   Book-listed patents were to expire by their own terms in January of 2018 for TDF and in
                    22   September of 2021 for FTC.
                    23           173.    Gilead sued for patent infringement within forty-five (45) days of receiving Teva’s
                    24   paragraph IV certifications. Gilead’s filing triggered a stay preventing the FDA from approving
                    25   Teva’s ANDAs for Truvada and Atripla until the earlier of thirty (30) months or the issuance of a
                    26   court decision finding the patents at issue invalid, unenforceable, or not infringed.
                    27           174.    Gilead filed suit against Teva on December 12, 2008, alleging its generic Truvada
                    28   would infringe the ’245 and ’396 FTC patents. On September 25, 2009, Gilead amended its
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                     1   patent infringement complaint, adding allegations that Teva’s generic Atripla would also infringe
                     2   these patents.
                     3            175.    Gilead filed its FTC patent infringement lawsuits without regard to the merits of
                     4   those cases. It knew that the patents were weak, fully anticipated that generic manufacturer(s)
                     5   would successfully challenge the patent claims, and expected to face imminent generic
                     6   competition. When it sued Teva in December of 2008, Gilead knew there was a substantial
                     7   probability that it would lose the patent infringement litigation because of the weakness of its
                     8   patents. Gilead’s 2008 SEC Form 10-K reported:
                     9                    Teva alleges that two of the patents associated with [FTC], owned by
                                          Emory University and licensed exclusively to [Gilead], are invalid,
                    10                    unenforceable and/or will not be infringed by Teva’s manufacture,
                    11                    use or sale of a generic version of Truvada. In December 2008, we
                                          filed a lawsuit in U.S. District Court in New York against Teva for
                    12                    infringement of the two [FTC] patents. We cannot predict the
                                          ultimate outcome of the action, and we may spend significant
                    13                    resources defending these patents. If we are unsuccessful in the
                                          lawsuit, some or all of our original claims in the patents may be
                    14
                                          narrowed or invalidated, and the patent protection for Truvada in the
                    15                    United States would be shortened to expire in 2017 instead of 2021. 27

                    16            176.    In September 2013, the parties filed pretrial memoranda, and the four-day bench

                    17   trial began on October 8, 2013. It focused on one of Teva’s strongest contentions: that the

                    18   patents were invalid for obviousness-type double patenting because the (–)-enantiomer claimed in

                    19   the ’245 and ’396 patents was claimed by the earlier-expiring ’639 and ’085 patents described

                    20   above. Teva argued that the specific (–)-β-FTC enantiomer was anticipated or rendered obvious

                    21   by the earlier-expiring patents, because the earlier patents claimed the FTC compound broadly

                    22   (without regard to its orientation), and further disclosed its two enantiomers and a separation

                    23   technique.

                    24            177.    More specifically, Teva maintained that the asserted FTC patents were invalid and

                    25   an improper attempt to extend Gilead’s monopoly beyond the scope of previously-issued patents.

                    26   As explained in Teva’s Pretrial Memorandum, Gilead was trying to parlay the earlier invention

                    27   and associated patent rights into additional patents (and exclusivities) for uses that were not novel

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                              Gilead Sciences, Inc., 2008 Form 10-K Annual Report.
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                     1   or new and would have been obvious to person skilled in the art at the time. The claims disclosed
                     2   in the earlier FTC patents (the ’639 and ’085 patents) relating to the discovery of FTC for HIV
                     3   treatment rendered the later-obtained FTC patents (the ’245 and ’396 patents) invalid as obvious
                     4   and/or anticipated:
                     5                  What is relevant is that [Gilead et al.] are entitled only to a single
                                        patent term for [FTC], irrespective of the value or properties of that
                     6                  drug. Plaintiffs received the complete protection the law allows
                                        when they received the ’639 and ’085 patents, which claim
                     7
                                        emtricitabine and its only use. [Gilead et al.] are not entitled to an
                     8                  extra six-year monopoly simply for recycling those patents and
                                        again claiming emtricitabine and that use. Upon the expiration of
                     9                  the ’639 and ’085 patents, the population that suffers from AIDS is
                                        entitled to obtain that drug, and the generic drug industry is entitled
                    10                  to offer it to that population, at a non-monopoly price. That is the
                    11                  promise of the Hatch-Waxman Act, Congress’s expression of the
                                        public policy that favors the introduction and distribution of generic
                    12                  drugs not protected by valid patents. 28

                    13          178.    Teva’s anticipation sub-theory gave Teva a clear path to a verdict in its favor. To

                    14   prevail on the anticipation sub-theory, Teva needed to show that a person of ordinary skill in the

                    15   art would visualize the (–)-β-FTC enantiomer when presented with the chemical structure of β-

                    16   FTC, and that such a person could obtain (–)-β-FTC without undue experimentation. The first

                    17   requirement was undisputedly met (although Gilead argued that this was not dispositive). And

                    18   Teva conclusively proved the second requirement at trial.

                    19          179.    On the first element, whether a person of ordinary skill in the art would find (–)-β-

                    20   FTC obvious based on publicly-available information, the court was deeply skeptical of Gilead’s

                    21   main argument. Gilead did not dispute that a person of ordinary skill in the art would visualize (–

                    22   )-β-FTC when presented with the chemical structure of β-FTC, but argued that pure (–)-β-FTC

                    23   was one of an infinite number of potential ratios between (–)-β-FTC and its enantiomer (+)-β-

                    24   FTC. Therefore, Gilead contended, a person of ordinary skill in the art would envision (–)-β-FTC

                    25   as just one member of an infinite universe, rather than something readily identified. When Gilead

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                    28     Gilead Scis., Inc. v. Teva Pharms. USA, Inc., No. 08-cv-10838, Defs’ Mem. in Opp. to Pltfs’
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                         Pretrial Mem., Dkt. 152, at 1 (S.D.N.Y. Sept. 23, 2013) (emphasis added).
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                     1   made this argument in its opening statement at trial, the court (which did not challenge any part of
                     2   Teva’s opening statement) said,
                     3                  That’s just a mathematical proposition, right? I mean if there’s
                                        billions or millions, hundreds of millions of molecules, then I guess
                     4                  you might have one or two and then the balance all one [sic] and then
                                        everything in between. It’s hard for me to see why that’s a
                     5                  compelling argument, but we’ll come to that. 29
                     6          180.    Gilead’s counsel tried to explain further, but the court interrupted again:
                     7                  That’s a mathematical proposition that basically there is infinity
                                        between point A and point B, so there will be an infinite number of
                     8                  stops along that chain. But I don’t think — it seems to me that’s not
                     9                  really scientific argument that there are an infinite number of ratios
                                        that a scientist of ordinary skill in the art would be looking to
                    10                  experiment to see whether a ratio of 49.6 percent was better than a
                                        ratio of 49.7 percent, which might be better or worse than 47.2
                    11                  percent. That just strikes me as illogical.
                    12          181.    Gilead’s counsel tried again, stating that “a person of ordinary skill in the art

                    13   would not understand what ratio would be the ratio that might make the best compound.” But the

                    14   court remained unconvinced:

                    15                  It would seem a person of ordinary skill in the art even in 1990 would
                                        look to separate into the pure forms to see what the efficacy of each
                    16                  was. And, presumably, that would be the starting point rather than
                                        start at points in the middle and then start, you know, bit by bit going
                    17
                                        to either end. So maybe in 1990 they weren’t that smart, but it seems
                    18                  to me that that’s what a person would logically do.

                    19          182.    Gilead’s counsel tried yet again, responding that “one of ordinary skill in the art
                    20   would have to envisage all of the mixtures at once in his or her head. They would have to be able
                    21   to envisage the full claim scope in their head, which is not possible for a person to do.” The court
                    22   did not buy it: “All right. I guess we’ll see. I’m not convinced, but we’ll see.”
                    23          183.    This exchange was a disaster for Gilead because it showed that the court would not
                    24   agree with Gilead’s “infinite mixtures” theory unless trial testimony showed that a person of
                    25   ordinary skill in the art in 1990 would have been overwhelmed with that infinity of mixtures,
                    26   rather than simply looking to separate β-FTC into its enantiomers, (–)-β-FTC and (+)-β-FTC.
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                    28    Gilead v. Teva, No. 08-cv-10838, Trial Transcript — Day 1, Dkt. 162 at 42-45 (S.D.N.Y. filed
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                         Oct. 21, 2013).
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                     1   After a full trial, no testimony remotely supported such a proposition. In fact, witnesses for
                     2   Gilead and Teva both testified that a person of ordinary skill in the art would have readily
                     3   visualized (–)-β-FTC after seeing the structure of β-FTC, and that separating and testing
                     4   enantiomers was common practice. The court also admitted evidence that the FDA encouraged
                     5   scientists to separate and test enantiomers of chiral compounds, and that the inventors of β-FTC
                     6   separated the enantiomers of analogous drugs at the request of the drug company Glaxo. Had the
                     7   case gone to judgment, Teva likely would have prevailed on this element of its anticipation sub-
                     8   theory.
                     9             184.   On the other element of its anticipation sub-theory — whether a person of skill in
                    10   the art could obtain (–)-β-FTC without undue experimentation — Teva elicited powerful evidence
                    11   that put the lie to a narrative Gilead had promoted throughout the case. Before trial, Gilead
                    12   claimed that real-world experience had shown that separating the enantiomers of β-FTC required
                    13   a very high amount of time and ingenuity. Gilead’s pretrial brief asserted that “the inventors
                    14   themselves attempted five of those methods [of separation] during their research (all but one of
                    15   which failed) before settling on enzymatic resolution.” 30 But one of the inventors admitted at
                    16   trial that enzymatic resolution was the first method he tried, and he was able to separate the
                    17   enantiomers with the very first enzyme he tried, pig liver esterase. This was not just an amazing
                    18   coincidence; the evidence showed that enzymatic resolution was a commonly used method at the
                    19   time, and the inventor was sure enough that it would work that in the patent application for β-
                    20   FTC, he listed it as a method for separation even before trying it. 31 Gilead also claimed before
                    21   trial that the company BioChem took more than a year to separate the enantiomers of BCH-189, a
                    22   compound similar to β-FTC. That was incorrect. In fact, a technician at BioChem, who had
                    23   never before attempted to separate enantiomers, testified that she successfully did so with BCH-
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                            Gilead v. Teva, No. 08-cv-10838, Gilead Pretrial Mem., Dkt. 137 at 34 (S.D.N.Y. Sept. 9,
                    27   2013).
                         31
                            Gilead v. Teva, No. 08-cv-10838, Trial Transcript — Day 2, Dkt. 164 at 300-01 (S.D.N.Y. filed
                    28   Oct. 21, 2013).
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                     1   189 in “less than 15 days of laboratory time.” 32 Based on the evidence at trial, and the judge’s
                     2   view of Gilead’s “infinite mixtures” argument, Gilead was very likely to lose.
                     3          185.    Gilead’s arguments against the obviousness sub-theory fared no better. Here, the
                     4   parties contested whether in light of the patents for β-FTC and its use, it would be obvious to a
                     5   person of ordinary skill in the art to try to obtain (–)-β-FTC, and whether doing so would involve
                     6   undue experimentation. As described above, Teva would have prevailed on the second element,
                     7   as the inventors of β-FTC obtained (–)-β-FTC on their first try, using well-known methods, and a
                     8   technician at BioChem did the same with a β-FTC analog in less than 15 days. Gilead claimed,
                     9   however, that the person of ordinary skill in the art would not have been motivated to obtain (–)-
                    10   β-FTC for various reasons. This was highly implausible because in 1987, three years before (–)-
                    11   β-FTC was obtained, the FDA issued guidance stating that enantiomers should be separated and
                    12   may need to be tested:
                    13                  When the NDS [i.e., new drug substance] is asymmetric (e.g.,
                                        contains one or more chiral centers, or has cis-trans or other types of
                    14                  isomers), the sponsor should ideally (and prior to the submission of
                                        an IND [i.e., investigational new drug]) have either separated the
                    15
                                        various potential stereoisomers of the NDS or synthesized them
                    16                  independently.      Physical/chemical information about each
                                        stereoisomer should be provided (in detail), or may be requested.
                    17                  Individual stereoisomers may need to be studied for pharmacological
                                        and toxicological properties (and/or for safety and efficacy). 33
                    18

                    19   (Stereoisomers are molecules that have the same sequence of atoms but differ in their three-
                    20   dimensional structure. Enantiomers are a type of stereoisomer.) Gilead had no real response to
                    21   this evidence. Moreover, the evidence at trial showed that the separation and study of
                    22   enantiomers was a regular practice as early as the 1970s, and the development of single-
                    23   enantiomer drugs was standard practice in the pharmaceutical industry by 1990. And while
                    24   Gilead had claimed that a person of ordinary skill in the art would have viewed (+)-β-FTC as the
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                    27      Gilead v. Teva, No. 08-cv-10838, Trial Transcript — Day 2, Dkt. 164 at 377-80 (S.D.N.Y. filed
                         Oct. 21, 2013).
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                    28      U.S. Food & Drug Administration, Guideline for Submitting Supporting Documentation in
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                         Drug Applications for the Manufacture of Drug Substances (Feb. 1987).
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                     1   more obvious candidate for development (instead of (–)-β-FTC), Gilead’s own expert and fact
                     2   witnesses agreed that such a person would have tested both before rejecting either of them.
                     3          186.    Other generic manufacturers, well aware of the inherent weaknesses of the FTC
                     4   patents, similarly challenged the patent protection of Truvada and Atripla. In response, Gilead
                     5   filed lawsuits against nearly each and every potential generic rival, alleging infringement of its
                     6   duplicitous and ancillary patent portfolios.
                     7          187.    Gilead and Teva settled the FTC patent case in February 2014 while awaiting the
                     8   trial court’s decision. Notably, Defendants’ settlement of the FTC patent infringement case came
                     9   shortly after their settlement in mid-2013 of the TDF patent infringement litigation as to Viread,
                    10   Truvada and Atripla and shortly before Gilead’s July 2014 settlement with Cipla, which resolved
                    11   patent litigations involving both FTC and TDF patents.
                    12          188.    Having successfully settled the TDF patent case using MFE and MFEP provisions,
                    13   Gilead and Teva used the same clauses in the FTC case to guarantee a future date certain for
                    14   Teva’s generic entry for Truvada and Atripla in exchange for assurances to Teva that no generic
                    15   manufacturer would enter the market prior to Teva.
                    16          189.    The settlement agreements set a date certain for Teva’s initial generic entry and
                    17   further provided that Teva, as the first filer, could enter sooner should a second filer gain entry
                    18   into the market by, for example, proving that Gilead patents were invalid.
                    19          190.    Gilead’s settlement agreements with other generic manufacturers challenging the
                    20   FTC patents reinforced and compounded the anticompetitive effects of these MFE and MFEP
                    21   provisions by including promises that Gilead would not authorize further generic entry for a
                    22   defined period after Teva’s initial entry and delaying other generics from entering the market for
                    23   an additional 6 months after Teva’s initial entry.
                    24          191.    The MFE and MFEP clauses in the Truvada and Atripla settlement agreements
                    25   were extremely effective at delaying and suppressing generic competition. Each generic
                    26   manufacturer ultimately agreed to stay out of the market for the period of time that Gilead granted
                    27   to Teva in the MFEPs, and, in exchange, Teva agreed to delay generic Truvada and Atripla until
                    28   September 30, 2020, just one year before expiration of the FTC patents.
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                     1          192.    After Gilead and Teva entered into the settlement agreements delaying generic
                     2   competition for Truvada and Atripla until September 30, 2020, Gilead struck another
                     3   anticompetitive settlement with Cipla. The settlement agreement with Cipla contained additional
                     4   anticompetitive provisions, creating another roadblock to generic entry of Truvada and Atripla.
                     5   Cipla agreed to substantially delay the launch of its standalone generic Emtriva (FTC) product
                     6   until August 2020 (approximately one month before the agreed-upon date certain for generic
                     7   entry of Truvada and Atripla) in exchange for undisclosed payments and assurances of
                     8   exclusivities with respect to Defendants’ HIV medications, despite having received final FDA
                     9   approval for its generic in July 2018. Further, less than two months after the case settled, Gilead
                    10   announced it would license Cipla, among others, to sell cheaper versions of new hepatitis C
                    11   drugs, a potentially very lucrative opportunity for Cipla. 34
                    12          193.    As with Viread, a number of second filers lined up behind first-filer Teva
                    13   challenging Gilead’s FTC patents. At the time of Teva’s and Gilead’s February 2014 settlement,
                    14   Gilead had already filed patent infringement lawsuits relating to the FTC patents against at least
                    15   Lupin and Cipla. And with the success of Truvada and Atripla, Teva could anticipate others.
                    16          194.    Teva and these subsequent filers faced the same economic dynamics as in the case
                    17   of Viread: the MFEs and MFEPs granted to Teva dissuaded the second filers from continuing to
                    18   litigate and provided Teva a period of exclusivity. Significantly, at the time of the settlement,
                    19   Teva had forfeited its 180-day ANDA exclusivity with respect to Truvada, and may have
                    20   forfeited it with respect to Atripla, by having failed to obtain tentative FDA approval within 30
                    21   months of submitting its application. See 21 U.S.C. § 355 (j)(5)(D)(i)(I)(aa)(BB).
                    22          195.    The MFEPs provided that Gilead would not grant a license to any other
                    23   manufacturer to enter the market with generic Truvada or generic Atripla until at least six months
                    24   after Teva’s agreed entry date. This was of particular importance to Teva because it had either
                    25   forfeited its eligibility for the 180-day statutory exclusivity period or at the very least was
                    26   uncertain of that eligibility. The MFEs and MFEPs provided Teva with assurances of 180-day
                    27
                         34
                    28     Manufacturing Chemist, Gilead announces generic licensing agreements with Indian companies
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                         (Sept. 16, 2014), https://bit.ly/2lTQvqO.
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                     1   exclusivity that it was not entitled to by statute or regulation. Teva traded its delay of generic
                     2   Truvada and Atripla for the guarantee of 180 days of exclusivity.
                     3          196.    The MFEs further provided that, if any subsequent filer entered the market before
                     4   Teva’s agreed entry date, Teva’s permitted entry date would be accelerated correspondingly. No
                     5   generic manufacturer introduced generic Truvada or Atripla prior to Teva.
                     6          197.    Gilead succeeded in delaying entry of generic Truvada and Atripla just as it did
                     7   with respect to Viread. Gilead settled the FTC patent litigations with Cipla and Lupin in 2014;
                     8   with Mylan in 2015; with Aurobindo and Hetero in 2016; and with Amneal in 2017. Gilead
                     9   included an MFE in each of those settlement agreements, and all of the manufacturers agreed to
                    10   delay entering the market until six months after Teva’s entry.
                    11          198.    The reduction in generic competition provided by the MFE and MFEP provisions
                    12   had enormous value to Teva. At the time of settlement in 2014, annual combined U.S. sales for
                    13   Atripla and Truvada were approximately $4 billion. As the only generic manufacturer of Truvada
                    14   and/or Atripla, Teva could expect to sell all of its units at about 90% of the brand price. Entry of
                    15   multiple generics, however, would swiftly reduce Teva’s unit sales and profits per sale. Using the
                    16   methodology described above in connection with Viread, six months of exclusive sales of those
                    17   generic products was worth almost $1.5 billion to Teva. Absent the reverse payment to Teva,
                    18   Teva and subsequent filers would have entered the market sooner than they did. The delay in
                    19   generic competition protected billions of dollars in Truvada and Atripla branded sales, all at the
                    20   expense of Plaintiff and other purchasers of those drugs.
                    21          199.    Moreover, Teva’s competitive advantage was not limited to its period of
                    22   exclusivity. With a guaranteed single-entrant launch date, Teva could ramp up its production and
                    23   negotiate contracts with its customers to flood the distribution channel with generic products
                    24   before any second filer entered the market and lock in high prices with long-term sales contracts.
                    25   The difference between the single-generic price and the multiple-generic price represented a
                    26   significant cost to purchasers of the drugs.
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                     1          F.      Gilead and Janssen Enter into No-Generics Restraint Agreement Related to
                                        Complera.
                     2

                     3          200.    Effective July 16, 2009, Gilead entered into a No-Generics Restraint agreement

                     4   with Janssen Products, L.P. to develop and commercialize a fixed dose combination drug to be

                     5   known as Complera. It contained Gilead’s Truvada (TDF/FTC) and Janssen’s rilpivirine (RPV).

                     6          201.    Janssen submitted an NDA for its standalone RPV product, Edurant (RPV), on

                     7   July 23, 2010. On May 20, 2011, the FDA approved the NDA.

                     8          202.    Gilead submitted an NDA for Complera (TDF/FTC/RPV) on February 10, 2011.

                     9   On August 10, 2011, the FDA approved that NDA.

                    10          203.    In the parties’ July 16, 2009 License and Collaboration Agreement, Janssen

                    11   granted Gilead a No-Generics Restraint for the use of RPV in a fixed dose combination drug

                    12   comprised of TDF, FTC and RPV. Janssen agreed that it “will not import, sell or offer to sell” a

                    13   fixed dose combination drug comprised of generic TDF, generic FTC, and RPV. The agreement

                    14   also prohibited Janssen from selling any “Derivative Combination Product” comparable to

                    15   TDF/FTC/RPV.

                    16          204.    On December 23, 2014, Gilead and Janssen entered into an Amended & Restated

                    17   Collaboration Agreement (discussed further below in regard to Odefsey), in which Janssen again

                    18   agreed to a No-Generics Restraint in regard to Complera (TDF/FTC/RPV). Janssen agreed that it

                    19   “shall not … make, have made, use, sell, have sold, offer for sale, or import” a fixed dose

                    20   combination drug comprised of generic TDF, generic FTC, and RPV. It also prohibited Janssen

                    21   from selling any “Other Combination Product,” precluding Janssen from selling a product made

                    22   with generic TDF, 3TC (rather than FTC), and RPV.

                    23          205.    Similar to the No-Generics Restraint included in Gilead and BMS’s joint venture,

                    24   Gilead and Janssen’s No-Generics Restraint is also neither necessary nor reasonably ancillary to a

                    25   presumptive objective of innovating and releasing an improved product. Gilead and Janssen’s

                    26   only real goal in creating this joint venture as indicated by the presence of the No-Generics

                    27   Restraint was to avoid and delay generic competition.

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                     1            206.    Pursuant to the terms of Gilead and Janssen’s collaboration agreement, Gilead was
                     2   responsible for all of the manufacturing of Complera from its manufacturing facilities in
                     3   California. To accomplish this, in addition to Janssen’s granting of RPV license rights to Gilead,
                     4   the agreement also obligated Janssen to supply quantities of RPV to Gilead as promptly as
                     5   practicable for Gilead to manufacture and sell Complera from California. Gilead stated that it is
                     6   responsible for manufacturing Complera, and distributing Complera in the U.S. and much of the
                     7   rest of the world. Gilead further stated that the price of Complera is the sum of the prices of
                     8   Truvada (TDF/FTC) and rilpivirine components. “The cost of rilpivirine purchased by us from
                     9   Janssen for the combination product approximates the market price of rilpivirine, less a specified
                    10   percentage of up to 30% in major markets.” 35
                    11            207.    Janssen is not permitted to terminate the agreement until after expiration of the last
                    12   patent covering RPV.
                    13            208.    When Gilead and Janssen entered into their No-Generics Restraint in 2009, two
                    14   things were happening that would have motivated Gilead to lock in the development of a new
                    15   combination drug like Complera. First, Gilead had recently sued Teva regarding the FTC patents
                    16   in connection with Teva’s first-to-file ANDA for Truvada. Gilead expected to face generic
                    17   competition for Truvada as early as May 2011, when Teva’s 30-month stay expired. Second, on
                    18   the same date in 2009 as the agreement, BMS received a Notice Letter from Matrix and Mylan in
                    19   regard to Sustiva (EFV) — the third component of Atripla (TDF/FTC/EFV). BMS filed suit a
                    20   month later, but conceded in its complaint that Matrix/Mylan’s paragraph IV certifications in
                    21   regard to both of its Orange-Book listed patents were sufficient, so BMS only sued Matrix/Mylan
                    22   on another patent that would not trigger a 30-month stay. Thus, any additional exclusivity for
                    23   Atripla (TDF/FTC/EFV) based on EFV was also in serious doubt. By comparison, Janssen’s
                    24   principal patents protecting RPV have expiration dates in the time period 2019 to 2025.
                    25            209.    As contemplated by the No-Generics scheme, Gilead cannibalized TDF and FTC
                    26   sales, encouraging doctors to switch their patients from those products to Complera.
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                              Gilead Sciences, Inc., 2012 Form 10-K Annual Report.
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                     1          210.    As with Gilead’s prior agreement with BMS regarding Atripla, the effects of the
                     2   agreement between Gilead and Janssen would continue even after expiration or invalidation of the
                     3   relevant patents.
                     4          211.    The agreement confirmed that the license from Janssen to Gilead was “exclusive”
                     5   even as to Janssen, i.e., it prohibited Janssen from commercializing its own fixed dose
                     6   combination drug containing either (1) generic versions of TDF and FTC and its own RPV or (2)
                     7   generic versions of TAF and FTC and its own RPV. Only Gilead has the rights to fixed dose
                     8   combination drugs with those ingredients, even after generic versions of TDF, FTC and/or TAF
                     9   become available.
                    10          212.    When generic versions of TDF became available in 2017, purchasers should have
                    11   benefited because a competitor in Janssen’s position would have competed with Gilead by
                    12   marketing a competing version of Complera comprised of generic TDF, 3TC, and RPV. The
                    13   combined price of those products would have dropped due to the competition resulting from the
                    14   availability of generic TDF.
                    15          213.    Absent the No-Generics Restraint, Janssen or a reasonable company in Janssen’s
                    16   position would have offered a competing version of Complera long before December 2017 and
                    17   would have challenged Gilead’s patents. No NCE exclusivity would have barred Janssen from
                    18   timely seeking FDA approval for a competing fixed dose combination drug because Janssen
                    19   controlled the NCE exclusivity. The only NCE-protected ingredient in Complera at the time of
                    20   its approval was Janssen’s RPV.
                    21          214.    A competitor in Janssen’s position would have submitted its own application for a
                    22   product containing TDF/FTC/RPV as early as August 2011, and any 30-month stay would have
                    23   expired in February 2014. Thus, a competitor in Janssen’s position would have competed against
                    24   Gilead with a fixed dose combination drug comprised of RPV and generic versions of TDF and
                    25   FTC as early as February 2014.
                    26          215.    The No-Generics Restraint prevents Janssen from competing until at least 2025, as
                    27   Janssen cannot terminate its collaboration agreement with Gilead until then.
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                     1          216.    The No-Generics Restraints with respect to Atripla and Complera artificially
                     2   inflated prices of their individual components, the fixed dose combination drugs themselves and
                     3   other cART products. Fixed dose combination drugs that are formulated with a generic
                     4   component and a brand component sell for about 40% to 50% less than the combined prices of
                     5   the brand versions of the two components. As a result of the No-Generics Restraints, Defendants’
                     6   products continue to sell for about the same price as the combined prices of the brand
                     7   components, even after the relevant patents expired and generic components have become
                     8   available.
                     9          217.    Similarly, when an alternative version of a fixed dose combination drug is
                    10   introduced using a recognized but not identical substitute for one of the components, its price will
                    11   be about 40% to 50% less than the incumbent’s price. As a result of the No-Generics Restraints,
                    12   however, only one alternative version of the affected fixed dose combination drugs is available.
                    13   Complera (TDF/FTC/RPV) sells for $35,000 for a yearly course of treatment. A comparable
                    14   version made with generic or comparable versions of TDF or 3TC would sell for half that.
                    15          218.    Gilead, Janssen, and BMS moved sales from their standalone products to the fixed
                    16   dose combination drugs that they had unlawfully protected by means of the No-Generics
                    17   Restraints.
                    18          G.      Gilead Introduces Stribild.
                    19          219.    Despite Gilead’s clear intent to introduce a line of TAF-based products and its
                    20   undisputed knowledge that Vemlidy (TAF) was markedly safer than Viread (TDF), in August of
                    21   2012 Gilead introduced Stribild (TDF/FTC/EVG/COBI), another TDF-based fixed-dose
                    22   combination pill comprised of its own component drugs: Viread (TDF), Emtriva (FTC), Vitekta
                    23   (EVG), and Tybost (COBI). The launch of Stribild was part of Gilead’s long-running scheme to
                    24   move TDF-based fixed dose combination drugs to TAF-based fixed dose combination drugs.
                    25          220.    By introducing Stribild, a product that Gilead knew contained a dosage of TDF
                    26   that was much higher than necessary, Gilead unnecessarily subjected patients to dangerous side
                    27   effects to further augment its profits. Gilead anticipated that by intentionally making Stribild less
                    28   safe than other TDF products, it would help Gilead move prescriptions later on from TDF-based
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                     1   Stribild to TAF-based Genvoya. Because Gilead refused to reduce the dosage of TDF in Stribild,
                     2   it was able to strategically drive patients to the similar TAF-based product a few years later by
                     3   focusing on the safety differences between these two of its own products.
                     4          221.    Gilead’s clinical trials on Stribild showed that it was more toxic than unboosted
                     5   TDF and resulted in more adverse events and treatment discontinuations. Gilead formulated
                     6   Stribild with 300 mg of TDF together with the pharmacokinetic booster cobicistat. This is the
                     7   same dosage in which Gilead sold TDF as a standalone product, i.e., for use without a booster.
                     8   Gilead purposefully did not reduce the dose of TDF to reduce the toxicity of Stribild.
                     9          222.    Gilead made the conscious decision to put a product on the market that it knew
                    10   was more toxic than necessary instead of a product that it knew was safer and more effective.
                    11   There was no procompetitive reason for Gilead to continue shelving TAF and introduce a less-
                    12   safe product, and Gilead’s only intention in doing so was to maintain its market power and profits
                    13   through its product switching scheme.
                    14          223.    Having artificially created two separate, elongated exclusivity periods for TDF and
                    15   TAF, Gilead knew it would earn higher total revenues and profits by first protecting, and then
                    16   transitioning, its TDF-based franchise to a newly introduced TAF-based franchise, just as generic
                    17   competition on TDF was imminent. After launching Stribild, Gilead knew it had a limited
                    18   amount of time to introduce the second-generation drugs for its entire TDF product line in order
                    19   to switch the market. Accordingly, it took several steps to facilitate this process.
                    20          H.      Gilead and BMS Enter into No-Generics Restraint Agreement Related to
                                        Evotaz.
                    21

                    22          224.    Effective October 25, 2011, Gilead announced in a press release issued from
                    23   Foster City, CA that it had entered into another unlawful No-Generics Restraint agreement with
                    24   BMS to develop a fixed-dose combination product that would become Evotaz (ATV/COBI).
                    25   Evotaz consists of atazanavir (ATV), a protease inhibitor that BMS markets in standalone form as
                    26   Reyataz (ATV), and cobicistat (COBI), then an investigational drug developed by Gilead. Gilead
                    27   provided BMS with an exclusive license (exclusive even as to Gilead) to use COBI in
                    28   combination with BMS’s ATV.
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                     1          225.    BMS has marketed Reyataz (ATV) since 2003. Indeed, back in Gilead’s 2004
                     2   Atripla agreement with BMS (discussed above), Gilead and BMS agreed, for nine months, to
                     3   pursue development of a TDF/FTC and ATV product. That agreement also precluded Gilead
                     4   from pursuing development of a combination of TDF/FTC with any third-party protease inhibitor
                     5   during that time.
                     6          226.    On or about October 19, 2009, BMS received notice that Teva had submitted an
                     7   ANDA with paragraph IV certifications that the patents purportedly covering ATV were invalid,
                     8   unenforceable, and/or would not be infringed by Teva’s proposed generic product. Consequently,
                     9   BMS could expect to encounter generic competition to Reyataz as early as April 2012 if Teva
                    10   received approval and launched at the conclusion of the 30-month stay.
                    11          227.    On October 26, 2011, after BMS received notice of Teva’s ANDA but before Teva
                    12   could enter the market, BMS and Gilead announced the unlawful No-Generics Restraint
                    13   agreement to combine BMS’s vulnerable ATV with Gilead’s investigational COBI. On January
                    14   29, 2015, the FDA approved the drug, which BMS markets as Evotaz.
                    15          228.    The license permitting BMS to use Gilead’s COBI in Evotaz prohibits Gilead from
                    16   commercializing and marketing its own fixed dose combination drug containing COBI and a
                    17   generic version of ATV (such as the one for which Teva was seeking approval) even after the
                    18   vulnerable patents on ATV expired. This No-Generics Restraint does not terminate until
                    19   expiration of the last of Gilead’s cobicistat patents in 2029.
                    20          229.    Generic ATV became available in the U.S. in December 2017. At that time,
                    21   purchasers should have benefited because: (1) patients could take generic ATV in combination
                    22   with Gilead’s COBI or another booster; and (2) Gilead or a reasonable company in its position
                    23   would have competed with BMS by marketing a fixed dose combination drug consisting of
                    24   generic ATV and COBI. The combined price of the two drugs would have plummeted due to
                    25   competition. Instead, the Evotaz No-Generics Restraint was intended to, and did, prevent
                    26   purchasers from obtaining those procompetitive benefits.
                    27          230.    As contemplated by the agreement, BMS encouraged doctors to switch
                    28   prescriptions from Reyataz to Evotaz.
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                     1            I.      Gilead Orchestrates an Unlawful Product Hop from TDF-based Products to
                                          TAF-based Products Before Generic TDF-based Products Can Enter.
                     2

                     3            231.    In November 2015, after conspiring with Teva to delay launching its generic

                     4   Viread (TDF) until December 2017, and after launching Stribild with dangerous TDF levels —

                     5   Gilead finally introduced its first TAF-based product marketed as Genvoya

                     6   (TAF/FTC/EVG/COBI). Gilead created an artificial window, insulated from competition, to

                     7   carry out its unlawful switching campaign from TDF-based to TAF-based drugs. Gilead

                     8   immediately began cannibalizing its own sales of Stribild (TDF/FTC/EVG/COBI) (among others)

                     9   by switching patients to its new TAF-based analog, Genvoya.

                    10            232.    Gilead used its aggressive marketing campaign to switch physicians and patients

                    11   from TDF-based drugs — including Viread (TDF), Truvada (TDF/FTC), Atripla

                    12   (TDF/FTC/EFV), and Complera (TDF/FTC/RPV) — to patent-protected TAF-based drugs,

                    13   including Odefsey (TAF/FTC/RPV) (launched March 2016) and Descovy (TAF/FTC) (launched

                    14   April 2016).

                    15            233.    Gilead disparaged TDF-based products in favor of TAF-based products via TAF-

                    16   based product websites, scientific conferences, investors calls, promotional materials, and

                    17   scientific studies. As early as 2013, Gilead started signaling to its investors its need to switch

                    18   patients from TDF products to TAF products. 36 In its Annual Report, Gilead claimed that “[i]f

                    19   we are not successful in encouraging physicians to change patients’ regimens to include our HIV

                    20   products, the sales of our HIV products will be limited. As generic HIV products are introduced

                    21   into major markets, our ability to maintain pricing and market share may be affected.” 37

                    22            234.    In furtherance of the scheme, Gilead’s sales force used data showing the superior

                    23   safety profile of TAF over TDF to convince doctors to switch patients from TDF-based to TAF-

                    24   based products.

                    25            235.    Prior to TAF’s release, Gilead President and COO Milligan told analysts during a

                    26   November 10, 2015 Credit Suisse Healthcare Conference that he expected Gilead’s sales

                    27   36
                              Gilead Sciences, Inc., 2012 Form 10-K Annual Report.
                         37
                    28        Gilead Sciences, Inc., 2012 Form 10-K Annual Report.
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                     1   representatives to be successful in switching the market from TDF to Genvoya based on favorable
                     2   data showing the benefits of TAF over TDF. 38 Milligan viewed switching patients from Stribild
                     3   to Genvoya as “the most likely thing to happen very commonly, because it’s very seamless for a
                     4   patient. You’re not really changing much; you’re just getting a better version of Stribild.”
                     5   Milligan also touted the benefit of switching Atripla patients, who, at that point, had a decade of
                     6   TDF toxicity buildup, to Genvoya, which, he said, gives patients the benefits of TDF with a better
                     7   safety profile.
                     8           236.      Consistent with Gilead’s plan of launching an intentionally inferior and less-safe
                     9   product, Stribild, before commercializing its TAF-based products — Gilead artificially increased
                    10   Stribild’s price at the same time that it launched Genvoya. Since launching Stribild in 2012,
                    11   Gilead had consistently raised its price annually, approximately 5% to 7%. In connection with
                    12   the switch to TAF-based Genvoya in 2016, however, Gilead took its normal annual increase on
                    13   Stribild plus another mid-year increase of 7%. That price increase boosted the wholesale price of
                    14   a 12-month supply of Stribild to $34,686, substantially higher than the $30,930 price of Genvoya.
                    15   This price increase only made economic sense to Gilead because it encouraged switching from
                    16   Stribild to Genvoya and thereby avoided generic competition.
                    17           237.      Industry analysts took note of Gilead’s scheme, with one writing that “[d]espite the
                    18   potential of larger revenues associated with a premium price, Gilead chose to price Genvoya and
                    19   Odefsey slightly lower than Stribild and Complera in the US to encourage switching onto the
                    20   TAF-based regimens, which are under patent protection for the foreseeable future.” 39
                    21           238.      In Gilead’s Q2 2016 investor call conducted from Foster City, California, the
                    22   company touted Genvoya, the first TAF-based drug to launch (in November 2015) as the “most
                    23   successful HIV launch since [the] introduction of Atripla.” Gilead stated that almost 40% of
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                    26      Gilead Sciences, Inc. at Credit Suisse Healthcare Conference (Nov. 10, 2015).
                         39
                            Pharmaceutical Technology, Gilead’s aggressive promotion of its TAF-based HIV portfolio
                    27   already yielding results (May 23, 2017), https://www.pharmaceutical-
                         technology.com/comment/commentgileads-aggressive-promotion-of-its-taf-based-hiv-portfolio-
                    28   already-yielding-results-5771127/.
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                     1   Genvoya prescriptions were switches from Stribild, Genvoya’s TDF-based predecessor, and 78%
                     2   of all prescriptions were switches from Gilead drugs. 40
                     3             239.   Unlike Gilead’s other launches, Gilead chose not to launch standalone TAF. But it
                     4   could have. Gilead’s NDA for Genvoya (TAF/FTC/EVG/COBI) included studies demonstrating
                     5   the efficacy of both standalone TAF and TAF/FTC in the treatment of HIV. Nonetheless, Gilead
                     6   strategically launched a TAF-based combination product first to make TAF only available as a
                     7   component of an FDC. Gilead did so to ensure that physicians could not pair TAF with other
                     8   component drugs on the market as part of an overall cART. During that critical time, while
                     9   Gilead aggressively moved prescriptions from the TDF-based products to TAF-based products,
                    10   standalone TAF was not available. Any patient who wanted TAF could get it only by switching
                    11   to a Gilead FDC. Gilead used its control over tenofovir to impair competition and maintain a
                    12   dominant position in the cART market.
                    13             J.     Gilead Amends Its No-Generics Restraint Agreement with Janssen to Include
                                          Odefsey.
                    14

                    15             240.   In 2014, Gilead entered into two agreements with Janssen expanding their prior
                    16   relationship to Gilead’s new TAF platform. The parties agreed to develop Odefsey, a TAF-based
                    17   successor to Complera. Gilead and Janssen amended their joint development agreement on
                    18   December 29, 2014 to include the development of Odefsey, another fixed dose combination pill
                    19   containing TAF, FTC, and Janssen’s RPV. Similar to Gilead’s other joint development
                    20   agreements, Gilead was responsible for manufacturing Odefsey in its manufacturing facilities in
                    21   California under the terms of the agreement, and Gilead took the lead role in registration,
                    22   distribution, and commercialization of the drug from California.
                    23             241.   Gilead submitted an NDA for Odefsey in July 2015, and the FDA approved
                    24   Odefsey on March 1, 2016.
                    25             242.   Gilead and Janssen also entered into mutual No-Generics Restraints for Odefsey,
                    26   and under the terms of the agreement, Janssen agreed that it would not sell any drug that would be
                    27   similar to Odefsey (i.e., a drug that contains generic TAF/generic FTC/RPV or comparable
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                              Gilead Sciences Event Brief of Q2 2016 Earnings Call (July 25, 2016).
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                     1   generic TAF/3TC/RPV). The agreement states: each party agrees that it “shall not, and shall
                     2   cause its Affiliates not to, make, have made, use, sell, have sold, offer for sale, or import … (A) a
                     3   Combination Product other than pursuant to this Agreement or (B) any Other Combination
                     4   Product[.]” The Agreement defines a “Combination Product” as each of Complera and “the
                     5   fixed-dose co-formulated product in oral dosage form containing, as its only APIs per single daily
                     6   dose, TAF, FTC, and RPV[.]” The Agreement defines an “Other Combination Product” as “any
                     7   fixed-dose, co-formulated combination product (other than a Combination Product) in oral dosage
                     8   form that contains, as its sole APIs, all three (3) of (a) TAF or TDF, (b) FTC or 3TC, and (c)
                     9   RPV.” Under that No-Generics Restraint, Janssen cannot develop an FDC combining its branded
                    10   RPV with generic TAF or TDF and generic FTC or 3TC.
                    11          243.    The No-Generics Restraint in the agreement for Odefsey expressly broadens the
                    12   parties’ earlier No-Generics Restraint concerning Complera. Under the No-Generics Restraint in
                    13   the Odefsey agreement, Janssen is expressly prohibited from developing an FDC combining
                    14   generic TDF, 3TC, and branded RPV. The agreement expires on a product-by-product basis, at
                    15   the later of (1) the expiration of the last of Janssen’s patents providing exclusivity for the product
                    16   or (2) the ten-year anniversary of marketing the product.
                    17          244.    Gilead and Janssen also entered into mutual No-Generics Restraints relating to
                    18   Janssen’s drugs Prezcobix and Symtuza. Janssen and Gilead announced a tentative agreement on
                    19   June 28, 2011 to jointly develop a fixed dose combination drug combining Janssen’s vulnerable
                    20   Prezista with Gilead’s then-investigational drug cobicistat. The FDA approved the drug on
                    21   January 29, 2015, and Janssen markets the drug as Prezcobix (DRV/COBI). Gilead and Janssen
                    22   made the Prezcobix deal contingent on concluding a further agreement to coformulate Janssen’s
                    23   darunavir with Gilead’s TAF, FTC and cobicistat. The FDA approved that drug on July 17, 2018,
                    24   and Janssen now markets it as Symtuza (TAF/FTC/DRV/COBI).
                    25          245.    Each agreement prohibits either party from making comparable fixed-dose
                    26   combination drugs using generic versions of the other party’s components, even after the relevant
                    27   patents have expired. Absent those agreements, one of the two parties would have competed with
                    28   the other by launching a comparable version of the drug using generic versions of the other
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                     1   party’s components as soon as the relevant patent or patents expired, or would have challenged
                     2   those patents and entered the market even earlier. Without mutual No-Generics Restraints,
                     3   competitors like Gilead and Janssen would have been vulnerable to generic-component-based
                     4   competition from the other and would challenge each other’s patents to incorporate generic or
                     5   comparable components to produce competitors to Odefsey and Symtuza.
                     6          246.    Absent the Restraints, a competitor in Gilead’s position would have marketed
                     7   competing versions of Prezcobix and Symtuza using generic versions of darunavir in combination
                     8   with its own components (cobicistat in the case of Prezcobix, and TAF, FTC, and cobicistat in the
                     9   case of Symtuza). Moreover, a competitor in Janssen’s position would have marketed a
                    10   competing version of Odefsey using generic versions of TAF and FTC as soon as those products
                    11   became available, or would have used comparable components. An untainted competitor in
                    12   Janssen’s position would have challenged Gilead’s patents one year before the expiration of that
                    13   exclusivity and could enter the market as early as the expiration of the 30-month stay, in
                    14   September 2022. However, Janssen is barred from developing that product by the No-Generics
                    15   Restraint in the Odefsey Agreement, which Janssen cannot terminate until 2026.
                    16          247.    As a result of the mutual No-Generics Restraints, those competitive benefits were
                    17   lost. The three agreements relating to Complera/Odefsey, Prezcobix, and Symtuza are part of a
                    18   decade long conspiracy in which both Gilead and Janssen mutually agreed to refrain from
                    19   competing against the other’s vulnerable compositions, even after the relevant patents expire.
                    20          248.    As contemplated by the No-Generics scheme, Gilead and Janssen encouraged
                    21   physicians and patients to switch from TDF-based treatments to Odefsey and Symtuza. In doing
                    22   so, Gilead and Janssen knew that once switched, physicians and patients would be reluctant to
                    23   switch back to their earlier treatments when generic versions of Viread, Emtriva, and Truvada
                    24   (and other components of Odefsey and Symtuza) became available. As a result, Gilead and
                    25   Janssen could continue to charge supracompetitive prices for Odefsey and Symtuza even after the
                    26   launch of generic versions of Viread, Emtriva, Truvada, and/or other components of Odefsey and
                    27   Symtuza.
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                     1          K.     Gilead Further Expands Its TAF-based Product Line with Descovy and
                                       Reaps the Profits of Its Product-Hopping Scheme.
                     2

                     3          249.   On April 4, 2016, the FDA approved Descovy (TAF/FTC), another TAF-based

                     4   product that Gilead released that became exceptionally successful as the only other product

                     5   besides Truvada to have a PrEP indication. Switching patients from Truvada to Descovy was one

                     6   of Gilead’s most lucrative product-hopping schemes. Indeed, by September 2020, 46% of

                     7   patients taking Truvada for PrEP had been converted to TAF-based Descovy.

                     8          250.   Gilead’s 2019 Annual Report acknowledged the market dynamics and likely

                     9   impact of Gilead’s marketing efforts and product-hopping schemes to switch prescriptions from

                    10   Truvada (soon to be facing generic competition and reduced pricing) to patent and exclusivity-

                    11   protected Descovy for PrEP:

                    12                 Truvada (FTC/TDF)-based product sales decreased in the United
                                       States … in 2019 compared to 2018. The decrease in U.S. sales was
                    13                 primarily due to lower sales volume as a result of patients switching
                    14                 to newer regimens containing FTC/TAF, partially offset by the
                                       increased usage of Truvada for PrEP. The decrease in Europe sales
                    15                 was primarily due to lower sales volumes of Truvada and Atripla as
                                       a result of broader availability of generic versions and patients
                    16                 switching to newer regimes containing FTC/TAF. We expect a
                                       decline in our sales of Truvada in the United States as patients switch
                    17
                                       to Descovy for PrEP from Truvada for PrEP and expected entry of
                    18                 generic versions in late 2020.

                    19          251.   As part of its scheme, Gilead’s launch of an aggressive product-hopping scheme

                    20   aimed to switch the prescription base from TDF-based Truvada to its patent-protected and higher

                    21   priced TAF-based Descovy. The timing of Gilead’s plan was crucial: it needed to induce

                    22   switches to Descovy prior to the anticipated entry of Teva’s generic Truvada. To accomplish this,

                    23   Gilead actively promoted TAF-based Descovy as preferable to Truvada. Gilead disseminated

                    24   misleading propaganda mischaracterizing the inappropriateness of Truvada and its associated

                    25   adverse events and risk profiles while touting the alleged benefits of Descovy. The goal of

                    26   Gilead’s deceptive marketing was to switch as many prescriptions as possible from Truvada to

                    27   Descovy.

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                     1          252.    In a series of investor calls conducted from Gilead’s headquarters in Foster City,
                     2   CA, Gilead continuously indicated the success of its product switching scheme. According to
                     3   Gilead’s Q3 2016 investor call, “[t]he uptick of Genvoya, Odefsey and Descovy have largely
                     4   been driven by the switch from Gilead’s old STRs[.]” 41 Subsequently, in Gilead’s Q4 2016
                     5   investor call, the company then stated that as of the end of 2016, “TAF-based regimens made up
                     6   37% of Gilead’s HIV prescription volume,” and that “[m]ost patients on these products switch
                     7   from Gilead’s older regimens[.]” 42 Moreover, in Gilead’s Q1 2017 investor call, the company
                     8   reported “quarter-on-quarter growth of 47%” for its TAF portfolio, which it stated “continue[d] to
                     9   drive the year-on-year growth of the Gilead HIV franchise.” The company stated that its “TAF-
                    10   based regimens now represent 42% of total Gilead HIV prescription volume just 17 months after
                    11   the launch of Genvoya and less than a year after the launches of Odefsey and Descovy.” 43
                    12          253.    Gilead’s product hop continued to be very successful. By December 2017, when
                    13   generic Viread (TDF) finally entered the market, Gilead had switched more than 60% of its HIV
                    14   product sales to its TAF-based products. Gilead boasted about its better-than-expected success in
                    15   specifically switching 10% of Truvada patients to Descovy in just the first few months after
                    16   Descovy’s launch. 44 By the end of Q2 2020, Gilead had reportedly switched 38% of Truvada
                    17   PrEP patients to Descovy, and was well on its way to reaching its 40-45% switching goal. Gilead
                    18   persisted in its profit-driven switching campaign even though studies suggested that Descovy
                    19   offers no advantages over branded or generic Truvada. 45 In Gilead’s Q3 2020 investor call
                    20   conducted from Foster City, CA — reporting on the time period ending with Teva’s launch of
                    21   generic Truvada in September 2020 — the company reported that 91% of Gilead’s U.S. patients
                    22   had “converted to TAF-based regimens.” The company also told investors that it had beaten its
                    23

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                         41
                    25      Gilead Sciences Q3 2016 Earnings Call (Nov. 1, 2016).
                         42
                            Gilead Sciences Q4 2016 Earnings Call (Feb. 7, 2017).
                         43
                    26      Gilead Sciences Q1 2017 Earnings Call (May 2, 2017).
                         44
                            Kyle Blankenship, Gilead’s Truvada Faces Teva Generics Assault Amid Descovy Switching
                    27   Campaign, Fierce Pharma (Oct. 2, 2020), https://www.fiercepharma.com/manufacturing/gilead-
                         sciences-truvada-will-face-teva-generic-challenger-amid-descovy-switching.
                         45
                    28      Id.
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                     1   40-45% switching goal and had converted 46% of “clinically appropriate at-risk individuals”
                     2   from Truvada for PrEP to TAF-based Descovy. 46
                     3             254.   Gilead’s delay in developing and launching Vemlidy (TAF) and of the clinical
                     4   research for PrEP HIV medications, together with Gilead’s other unlawful business practices —
                     5   entering into anticompetitive reverse payment settlement agreements and No-Generics Restraints
                     6   agreements with BMS and Janssen — manipulated the markets for both TDF-based and TAF-
                     7   based HIV medications and substantially diminished the competitive pressures that force
                     8   manufacturers to innovate and introduce better and safer products sooner.
                     9             255.   Gilead’s collusive collaboration with BMS to market Atripla and its numerous
                    10   patent infringement settlement agreements impeding generic competition for Atripla’s
                    11   subcomponents (Viread (TDF), Emtriva (FTC) and Truvada (TDF/FTC)) shielded Gilead from
                    12   competitive pressures. Gilead was able to raise prices year after year for inferior TDF-based HIV
                    13   medications, allowing it to delay improved TAF until it had generated as much revenue as
                    14   possible from its TDF-based franchise, propped up by dubious patent portfolios and further
                    15   supported by calculated and unfair business arrangements that effectively restrained generic
                    16   competition and prevented price erosion. Gilead sought to maximize profits from the
                    17   exclusivities and higher-pricing of its TDF-based franchise before transitioning to its newly
                    18   introduced TAF-based franchise, despite having recognized the safety and efficacy benefits of
                    19   TAF for years.
                    20             256.   Gilead knew that if it could successfully orchestrate the product hops, it could
                    21   maintain its stranglehold on the market for HIV drugs. For example, Gilead knew that once
                    22   patients were taking Odefsey (TAF/FTC/RPV), Gilead would likely be insulated from
                    23   competition on that drug until at least March 2026, because of its No-Generics Restraint
                    24   agreement with Janssen. And, Gilead’s own patents on Tybost (COBI) and Vemlidy (TAF)
                    25   precluded generic competition on Genvoya (TAF/FTC/EVG/COBI) and Descovy (TAF/FTC)
                    26   until at least 2025.
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                              Gilead Sciences Q3 2020 Earnings Call (Oct. 28, 2020).
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                     1          257.    Gilead’s unlawful conduct has resulted in years of artificially overpriced TDF-
                     2   based HIV medications, unfairly restrained competition, and reduced incentives to innovate and
                     3   bring safer, more effective products to the market. Absent Gilead’s product-hopping and
                     4   anticompetitive marketing schemes, Plaintiff would have purchased TDF-based and TAF-based
                     5   HIV medications at substantially reduced pricing sooner. This conduct has also resulted in
                     6   limited access and affordability of PrEP medications.
                     7          258.    Defendants’ actions reduced innovation and effectively prevented safer, more
                     8   effective and/or more affordable preventative HIV medications from entering the market. Most
                     9   importantly, it created cost barriers and limited access to life-saving HIV medications necessary
                    10   to prevent and treat the spread of HIV infections and impaired efforts to end the HIV public
                    11   health epidemic.
                    12          L.      Gilead Finally Launches Standalone TAF (Vemlidy) but Strategically Elects
                                        to Forego Approval for an HIV Indication in Continuing to Impair
                    13                  Competition.
                    14          259.    Gilead intentionally delayed seeking FDA approval to market standalone TAF
                    15   (Vemlidy), and altogether withheld it from the market from November 2015 to November 2016.
                    16   During that window, TAF was only available as a component of Gilead’s FDCs. As Gilead knew
                    17   and intended, the FDA did not approve standalone TAF (Vemlidy) until November 10, 2016, just
                    18   over a year after approving its first TAF-based product, the FDC Genvoya. By the time of the
                    19   release of Vemlidy, Gilead had already succeeded in converting more than half of all TDF-based
                    20   Stribild prescriptions to Genvoya, and its TDF-based Complera prescriptions to TAF-based
                    21   Odefsey. That pattern of rapid cannibalization continued through 2018.
                    22          260.    When Gilead did ultimately seek FDA approval of standalone TAF, it did so at
                    23   what it knew to be a less safe level of 25 mg, when it had sought and received approval for the
                    24   safer 10 mg level only for use in Gilead’s FDCs. Consistent with its same anticompetitive
                    25   scheme, Gilead refused to make Vemlidy (standalone TAF) or the TAF in Descovy available in
                    26   10 mg strength — and still refuses through the present day. Gilead did this with the knowledge
                    27   that if Vemlidy and Descovy were available with a dosage of 10 mg of TAF, many doctors and
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                     1   patients would prefer to prescribe or take Vemlidy or Descovy together with a non-Gilead third
                     2   agent, rather than Gilead’s FDC Genvoya (and, later, Symtuza).
                     3          261.    In furtherance of its anticompetitive scheme, Gilead also refused to seek FDA
                     4   approval of standalone TAF for use in the treatment of HIV. It instead only sought approval of
                     5   standalone TAF for use in the treatment of chronic Hepatitis B. Gilead knew that standalone TAF
                     6   was active against HIV, as demonstrated by, among many other facts, Gilead’s having sought
                     7   FDA approval of HIV indications for numerous TAF-containing FDCs, such as Gilead’s
                     8   application for approval of Genvoya where it included studies demonstrating the efficacy of
                     9   standalone TAF. Additionally, obtaining FDA approval of an HIV indication for standalone TAF
                    10   would have been economically rational for Gilead, absent its anticompetitive motivations and
                    11   objectives. FDA approval of standalone TAF for treatment of HIV would have required, at most,
                    12   that Gilead submit some bioequivalence data that would have been trivial and inexpensive for
                    13   Gilead to obtain.
                    14          262.    Despite the procompetitive rationale for, benefits from, and ease in obtaining an
                    15   HIV indication for standalone TAF, Gilead nevertheless chose to forego doing so. As in Gilead’s
                    16   intentional delay in marketing TAF as a standalone product at all, and in its intentional refusal to
                    17   make TAF available as a 10 mg pill, the purpose and effect of Gilead’s continuing refusal to seek
                    18   and obtain FDA approval for use of standalone TAF in the treatment of HIV was to force patients
                    19   to purchase Gilead’s FDCs rather than standalone TAF plus a competing HIV drug.
                    20          263.    By not seeking approval for Vemlidy for HIV treatment, Gilead further limited the
                    21   potential for earlier substitution of TAF (in combination with Gilead’s competitors’ generic
                    22   and/or comparable standalone components). For example, by refusing to seek an HIV indication,
                    23   physicians were dissuaded from writing prescriptions for standalone TAF in combination with
                    24   other standalone components for HIV treatment, because to do so would have required an “off-
                    25   label” course of therapy. Moreover, by steering the market away from standalone TAF for HIV
                    26   treatment, Gilead also effectively prevented the production of TAF-based versions of Atripla
                    27   consisting of TAF/generic EFV/generic 3TC or TAF/generic EFV/FTC, which would have
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                     1   reduced pricing. Withholding an HIV indication made economic sense for Gilead only because it
                     2   impaired competition.
                     3          264.    Accordingly, Gilead’s delay in marketing TAF-based HIV medications
                     4   dramatically delayed the date on which generic manufacturers could challenge the Vemlidy and
                     5   Descovy patents. Earlier generic entry would have significantly reduced pricing for these
                     6   products.
                     7          265.    Absent Gilead and BMS’s agreement, these generic entry dates would have been
                     8   much earlier. A reasonable manufacturer in Gilead’s position would have begun marketing TAF
                     9   and TAF-based FDCs like Descovy no later than 2007.
                    10          266.    Thus, instead of NCE protection on TAF-based products, like Descovy, expiring in
                    11   November 2020, and the Hatch-Waxman 30-month stays expiring in May 2023, NCE exclusivity
                    12   would have expired in November 2011, and the Hatch-Waxman 30-month stays would have
                    13   expired in May 2013. And those living with HIV or at risk for infection of HIV would already
                    14   have generic versions of TAF-based products.
                    15          267.    Forgoing introduction of TAF caused Gilead to lose millions of dollars in TAF-
                    16   based HIV medications sales every year. But impairing competitors’ entry into the marketplace
                    17   with TAF-based products and lower priced generic and/or comparable products was far more
                    18   lucrative and valuable to Gilead. Delaying TAF only made economic sense for Gilead because of
                    19   its anticompetitive effects. As a result of Gilead’s unfair and anticompetitive business tactics,
                    20   purchasers have paid for overpriced TAF-based HIV medications.
                    21                                     INTERSTATE COMMERCE
                    22          268.    Defendants’ and Gilead’s other co-conspirators’ conduct, including the marketing
                    23   and sale of cART regimen drugs, has had, and was intended to have, a direct, substantial, and
                    24   reasonably foreseeable anticompetitive effect upon interstate commerce within the U.S. During
                    25   the relevant time period, Gilead, BMS, Teva, and Janssen used various devices to effectuate the
                    26   illegal acts alleged herein, including the U.S. mail, interstate and foreign travel, and interstate and
                    27   foreign wire commerce.
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                     1          269.    The actions alleged in this Complaint have directly and substantially affected
                     2   interstate commerce as Defendants and Gilead’s other co-conspirators deprived Plaintiff of the
                     3   benefits of free and open competition in the purchase of cART regimen drugs within the U.S.
                     4                                           MARKET POWER
                     5          270.    The relevant geographic market is the U.S. and its territories and possessions.
                     6          271.    At all relevant times, Gilead had market power in the cART market and in the
                     7   markets for each of Viread, Emtriva, Truvada, Vemlidy, Descovy, Tybost, Stribild, Genvoya, and
                     8   their generic equivalents; Gilead and BMS had market power over Atripla and Evotaz and their
                     9   generic equivalents; Gilead and Janssen had market power over each of Complera, Odefsey,
                    10   Prezcobix, and Symtuza and their generic equivalents; BMS had market power over Reyataz and
                    11   its generic equivalents; and Janssen had market power over Edurant and Prezista and their generic
                    12   equivalents. Defendants had the power to maintain the price of their drugs from these markets at
                    13   supracompetitive levels without losing sufficient sales to other products.
                    14          272.    Small but significant, permanent increases in the drugs’ prices above competitive
                    15   levels did not cause a loss of sales sufficient to make the price increases unprofitable. At
                    16   competitive prices, none of the drugs exhibit significant, positive cross-elasticity of demand with
                    17   respect to price with any product other than generic versions of the brand drugs.
                    18          273.    Each of the brand drugs is differentiated from all drug products other than generic
                    19   versions. Due to its use, varying ability to treat the conditions for which it is prescribed, and its
                    20   side-effects profile, each of the brand drugs is differentiated from all drug products other than
                    21   generic versions.
                    22          274.    Additionally, once the physician and patient find that one of these drugs is well
                    23   tolerated, and is at a competitive price based on variations of price of 10% or less, the physician
                    24   and patient are very unlikely to switch to a different HIV drug.
                    25          275.    The pharmaceutical marketplace is characterized by a “disconnect” between
                    26   product selection and the payment obligation. State laws prohibit pharmacists from dispensing
                    27   many pharmaceutical products, including all of those at issue in this Complaint, to patients
                    28   without a prescription. The prohibition on dispensing certain products without a prescription
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                     1   creates this disconnect. The patient’s doctor chooses which product the patient will buy while the
                     2   patient (and in most cases his or her insurer) has the obligation to pay for it.
                     3          276.    Brand manufacturers, including Gilead, BMS, and Janssen, exploit this price
                     4   disconnect by employing large sales forces that visit doctors’ offices and persuade them to
                     5   prescribe the brand manufacturers’ products. These sales representatives do not advise doctors of
                     6   the cost of the branded products. Moreover, studies show that doctors typically are not aware of
                     7   the relative costs of brand pharmaceuticals and, even when they are aware of costs, are largely
                     8   insensitive to price differences because they do not pay for the products. The result is a
                     9   marketplace in which price plays a comparatively unimportant role in product selection.
                    10          277.    The relative unimportance of price in the pharmaceutical marketplace reduces the
                    11   price elasticity of demand or the extent to which unit sales go down when price goes up. This
                    12   reduced price-elasticity, in turn, gives brand manufacturers the ability to raise price substantially
                    13   above marginal cost without losing so many sales as to make the price increase unprofitable. The
                    14   ability to profitably raise prices substantially above marginal costs is market power. Thus, brand
                    15   manufacturers gain and maintain market power with respect to many branded prescription
                    16   pharmaceuticals, including the cART drugs at issue here.
                    17          278.    At all relevant times, Gilead’s product gross margin, which is dominated by cART
                    18   drugs, has been 74% or higher, and has reached as high as 88%. These margins indicate
                    19   substantial market power.
                    20          279.    To the extent that Plaintiff is required to prove market power through
                    21   circumstantial evidence by first defining a relevant product market, at least two types of markets
                    22   are relevant here: (a) the market for Viread, Emtriva, Tybost, Vemlidy, Truvada, Descovy,
                    23   Atripla, Complera, Odefsey, Stribild, Genvoya, Reyataz, Evotaz, Prezista, Prezcobix, Edurant,
                    24   and Symtuza and their respective AB-rated generic equivalents; and (b) the cART Market.
                    25          A.      The Markets for Specific cART Drugs.
                    26          280.    One purpose and effect of the No-Generics Restraints described herein was to
                    27   impair competition from generic versions of each of Viread, Emtriva, Tybost, Vemlidy, Truvada,
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                     1   Descovy, Atripla, Complera, Odefsey, Reyataz, Evotaz, Prezista, Prezcobix, Edurant, and
                     2   Symtuza.
                     3          281.   Similarly, a purpose and effect of Gilead’s delay in the improvement of Stribild
                     4   and standalone TAF, and its regulatory gaming with respect to standalone TAF, was to impair
                     5   competition from generic versions of Stribild and standalone TAF and generic versions of TAF-
                     6   containing fixed dose combination drugs.
                     7          282.   A purpose of Gilead’s delay in the entry of generic versions of Viread, Truvada,
                     8   and Atripla was to impair competition from generic versions of those products.
                     9          283.   A relevant market for evaluating that conduct is the market for each of those
                    10   products and its AB-rated generic equivalent. As demonstrated by the indicia noted above:
                    11              a. From October 26, 2001 until at least December 15, 2017, Gilead had market power
                    12                 in the market for Viread and its AB-rated generic equivalents, and during that time
                                       had 100% share of that market;
                    13
                                    b. From November 10, 2016 to the present, Gilead has had market power in the
                    14                 market for Vemlidy and its AB-rated generic equivalents, and during that time has
                                       had 100% share of that market;
                    15
                                    c. from April 4, 2016 to the present, Gilead has had market power in the market for
                    16                 Descovy and its AB-rated generic equivalents, and during that time has had 100%
                    17                 share of that market;

                    18              d. from July 2, 2003 to August 31, 2020, Gilead had market power in the market for
                                       Emtriva and its AB-rated generic equivalents, and during that time had 100% share
                    19                 of that market;
                    20              e. from September 24, 2014 to the present, Gilead has had market power in the
                                       market for Tybost and its AB-rated generic equivalents, and during that time has
                    21                 had 100% share of that market;
                    22
                                    f. from August 2, 2004 to October 2, 2020, Gilead had market power in the market
                    23                 for Truvada and its AB-rated generic equivalents, and during that time had 100%
                                       share of that market;
                    24
                                    g. from July 12, 2006 to October 2, 2020, Gilead and BMS had market power in the
                    25                 market for Atripla and its AB-rated generic equivalents, and during that time had
                                       100% share of that market;
                    26

                    27              h. from August 10, 2011 to the present, Gilead and Janssen have had market power in
                                       the market for Complera and its AB-rated generic equivalents, and during that time
                    28                 have had 100% share of that market;
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                     1               i. from March 1, 2016 to the present, Gilead and Janssen have had market power in
                                        the market for Odefsey and its AB-rated generic equivalents, and during that time
                     2                  have had 100% share of that market;
                     3
                                     j. from August 27, 2012 to the present, Gilead has had market power in the market
                     4                  for Stribild and its AB-rated generic equivalents, and during that time has had
                                        100% share of that market;
                     5
                                     k. from November 5, 2015 to the present, Gilead has had market power in the market
                     6                  for Genvoya and its AB-rated generic equivalents, and during that time has had
                                        100% share of that market;
                     7

                     8               l. from June 20, 2003 to December 2017, BMS had market power in the market for
                                        Reyataz and its AB-rated generic equivalents, and during that time had 100% share
                     9                  of that market;

                    10               m. from January 29, 2015 to the present, Gilead and BMS have had market power in
                                        the market for Evotaz and its AB-rated generic equivalents, and during that time
                    11                  have had 100% share of that market;
                    12               n. from June 23, 2006 to the present, Janssen has had market power in the market for
                    13                  Prezista and its AB-rated generic equivalents, and during that time has had 100%
                                        share of that market;
                    14
                                     o. from January 29, 2015 to the present, Gilead and Janssen have had market power
                    15                  in the market for Prezcobix and its AB-rated generic equivalents, and during that
                                        time have had 100% share of that market;
                    16
                                     p. from May 20, 2011 to the present, Janssen has had market power in the market for
                    17                  Edurant and its AB-rated generic equivalents, and during that time has had 100%
                    18                  share of that market; and

                    19               q. from July 17, 2018 to the present, Gilead and Janssen have had market power in
                                        the market for Symtuza and its AB-rated generic equivalents, and during that time
                    20                  have had 100% share of that market.
                    21          284.    Defendants also had market power during relevant times in broader markets
                    22   comprising the branded drug and comparable versions of it. For example, Gilead and Janssen
                    23   have market power in the market for Complera and comparable versions made of generic
                    24   TDF/3TC/RPV and have market power in the market for Symtuza and comparable versions made
                    25   of generic TAF/generic FTC (or 3TC)/ritonavir/darunavir.
                    26          B.      The cART Market and Narrower Markets Therein.
                    27          285.    Another purpose and effect of the No-Generics Restraints described herein was to
                    28   impair competition among drugs used in the cART regimen. Similarly, this was also one of the
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                     1   purposes and effects of Gilead’s delay in the improvement of Stribild (and supra-profit-
                     2   maximizing pricing) along with: its delay in the improvement of standalone TAF; its regulatory
                     3   gaming with respect to standalone TAF; its delay in the entry of generic versions of Viread,
                     4   Truvada, and Atripla; and its unlawful TAF patent delay-and-extend. To the extent that Plaintiff
                     5   is required to define a relevant market in which that purpose and effect is evaluated, it is properly
                     6   evaluated in the market for such drugs, i.e., the cART market, and narrower markets therein.
                     7          286.    As noted in detail above, a cART regimen is a course of treatment distinct from
                     8   other drugs and regimens that might be used to treat HIV. The term “cART drugs” refers to all
                     9   antiretroviral drugs used in the treatment of HIV as part of a combination therapy.
                    10          287.    Demand for cART drugs is a function of demand for combination therapies that
                    11   can effectively treat HIV. APIs used to treat HIV may be available in standalone form and/or as
                    12   fixed dose combination drugs, but they are inputs into combination treatment and not treatments
                    13   by themselves. The cART drugs that comprise the cART market include Agenerase, Aptivus,
                    14   Atripla, Biktarvy, Cabenuva, Cimduo, Combivir, Complera, Crixivan, Delstrigo, Descovy,
                    15   Dovato, Edurant, Emtriva, Epivir, Epzicom, Evotaz, Fortovase, Fuzeon, Genvoya, Hivid,
                    16   Intelence, Invirase, Isentress, Isentress HD, Juluca, Kaletra, Lexiva, Norvir, Odefsey, Pifeltro,
                    17   Prezcobix, Prezista, Rescriptor, Retrovir, Retrovir IV Inf, Reyataz, Rukobia, Selzentry, Stribild,
                    18   Sustiva, Symfi, Symfi Lo, Symtuza, Temixys, Tivicay, Triumeq, Trizivir, Trogarzo, Truvada,
                    19   Tybost, Videx, Videx EC, Viracept, Viramune, Viread, Vitekta, Vocabria, Zerit, Ziagen, and their
                    20   AB-rated generic substitutes.
                    21          288.    Effective cART reduces the concentration of HIV virus in treated patients to
                    22   undetectable levels. Patients on effective cART regimens can live healthy lives and have a
                    23   normal life expectancy, and a patient living with HIV who maintains an undetectable viral load
                    24   durably cannot transmit the virus to others. Under the guidelines of the U.S. Department of
                    25   Health and Human Services (“HHS”), the World Health Organization (“WHO”), and all major
                    26   HIV-treatment organizations, every HIV treatment regimen, with inconsequential exceptions, is a
                    27   cART regimen.
                    28
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                     1          289.    From a clinical perspective, the antiretroviral drugs used in a cART regimen are
                     2   reasonably interchangeable with respect to their use. Although different types of antiretrovirals
                     3   target different steps in the HIV life cycle, all of them are used to prevent successful reproduction
                     4   of the HIV virus. In treating HIV, doctors and patients choose among the drugs that comprise the
                     5   cART market.
                     6          290.    In addition to interchangeability of use, price competition exists among drugs
                     7   within the cART market. However, for the reasons noted in detail above, price competition in
                     8   many prescription drug therapeutic classes tends to be weak. This is especially true in the cART
                     9   market, with doctors and patients selecting among brand-drug antiretrovirals based principally on
                    10   clinical criteria rather than prices, but price competition among brand cART drugs is not
                    11   altogether absent.
                    12          291.    Without that price competition, however weak, prices of brand cART drugs would
                    13   be even higher than they are. The existence of this broader market imposes some price
                    14   constraints on brand cART drugs but without approximating the more competitive prices that
                    15   generic versions of each of the brand drugs would generate. This limited price competition
                    16   imposes a limited constraint on brand cART drug prices. The fact that this price competition is
                    17   limited means that each of the brand cART drugs has market power (is priced above the level that
                    18   a generic version of the drug would generate); the fact that some price competition exists means
                    19   that brand cART drug prices would be even higher without it.
                    20          292.    Gilead’s dominance of the cART market lessens the degree of price competition
                    21   that might otherwise exist among branded cART drugs. It is well-recognized that a monopolist
                    22   will raise prices until some economic substitution makes further price increases unprofitable.
                    23   This substitution comes from products that may have been weak substitutes at competitive prices,
                    24   but become viable alternatives for consumers at the monopolist’s supracompetitive prices. At a
                    25   high enough price, even otherwise less-than-ideal substitutes will become attractive to purchasers.
                    26          293.    In this case, many of these “viable alternatives” also are controlled by Gilead.
                    27   Gilead sells not just one but a whole portfolio of cART products. When reacting to substitution
                    28   to other products, the monopolist will limit the price rise if the substituting products belong to
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                     1   competitors. If consumers respond to a price increase on a particular drug by moving to another
                     2   of the monopolist’s products, the monopolist will feel no harm, and neither will this form of
                     3   substitution constrain its pricing power.
                     4          294.     In economics, it is well established that a monopolist selling two substitute
                     5   products will raise prices higher than would two firms, each with a monopoly on the products
                     6   individually. With a portfolio of cART drugs, Gilead has another layer of market power over and
                     7   above the typical brand manufacturer’s ability to price its product above the generic-level price.
                     8          295.     Defining a broad relevant market for this purpose is consistent with decades of
                     9   antitrust jurisprudence and analysis. For example, when antitrust authorities examine the likely
                    10   effect of mergers between brand-drug manufacturers, they often define broad markets to include
                    11   all or many of the drugs within a therapeutic class.
                    12           296.    Modern antiretroviral drug regimens comprise a combination or “cocktail” of
                    13   drugs, most often consisting of two NRTIs taken with at least one third agent, such as an integrase
                    14   inhibitor. These combinations of antiretrovirals create multiple obstacles to HIV replication, all
                    15   but eliminating the probability that the virus will successfully produce a mutation that is resistant
                    16   to all of the drugs in the cocktail. Thus, the standard of care is to use combinations of
                    17   antiretroviral drugs, referred to as a “cART regimen.”
                    18           297.    HHS regularly publishes widely-followed prescribing Guidelines for the treatment
                    19   of HIV. The Guidelines illustrate the interchangeability of use of different types of cART drugs.
                    20   Various iterations of the Guidelines have recommended regimens that include as alternative third
                    21   agents: Non-Nucleoside Reverse Transcriptase Inhibitors, Integrase Strand Transfer Inhibitors,
                    22   and Protease Inhibitors, with the doctor free to choose among them. The Guidelines also have
                    23   recommended as alternative regimens those that include only third agents instead of (rather than
                    24   in addition to) NRTIs.
                    25           298.    These various types of antiretroviral agents attack the HIV virus at different stages
                    26   of its lifecycle. HIV is a retrovirus that infects the “host” cell in order to make copies of itself.
                    27   CD4 cells are the prime targets, with the HIV virus binding to, and infecting, CD4+ cells. After
                    28   the cell is infected, it produces secondary HIV virions, gradually depleting the host’s population
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                     1   of CD4+ cells. This ultimately depletes the infected person’s ability to trigger an immune
                     2   defense, leaving the body vulnerable to opportunistic infections.
                     3           299.    The initial step of HIV viral entry is the attachment of the virus to the CD4
                     4   molecule located on the host cell. Once bound, the virus fuses with the cell membrane and
                     5   transfers the nucleocapsid containing viral RNA into the host cell cytoplasm.
                     6           300.    NRTIs (Nucleoside/Nucleotide Reverse Transcriptase Inhibitors) work by
                     7   preventing other nucleosides from being incorporated into the HIV DNA that the virion is trying
                     8   to build up. Essentially, they disrupt and terminate the DNA chain. Modern cART regimens
                     9   usually include two of the following NRTIs: TDF, TAF, 3TC, FTC, or abacavir. Compared to
                    10   other leading antiretrovirals, NRTIs have significant advantages, including a long history of
                    11   success when co-administered with a third agent. During the relevant period, they have been
                    12   recommended as part of nearly all of the HHS-recommended first-line cART regimens. The
                    13   principal NRTIs are Gilead’s TDF, TAF, and FTC, which were APIs in more than 79% of
                    14   prescriptions containing one or more NRTIs from 2014-19.
                    15           301.    Doctors and patients using a cART regimen almost always choose two NRTIs.
                    16   For very substantial medical reasons, doctors and patients overwhelmingly choose tenofovir as
                    17   one of those two NRTIs. Among other reasons, all other NRTIs are triple phosphorylated by host
                    18   kinases to be activated, and tenofovir, by contrast, needs to be phosphorylated only twice by host
                    19   kinases into its active form, tenofovir diphosphate (“TFV-DP”).
                    20           302.     The following table identifies all NRTIs that have been available in the U.S. since
                    21   1987.
                    22                                   Available NRTIs
                    23                  DRUG NAME AND MANUFACTURER                           DATE OF APPROVAL
                              Zidovudine (Retrovir) AZT
                    24
                                 • Manufactured by ViiV (Burroughs Wellcome)                 3/19/87
                    25           • Used less commonly due to side effects

                    26        Didanosine (Videx) ddl
                                 • Manufactured by BMS                                       10/9/91
                    27
                                 • Not used commonly due to side effects/inferiority
                    28
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                     1
                              Zalcitabine (Hivid) ddC
                     2           • Manufactured by Roche                                     6/22/92
                                 • Discontinued in 2006 due to toxicity
                     3

                     4        Stavudine (Zerit) d4T
                                  • Manufactured by BMS                                      6/24/94
                     5            • Usage strongly discouraged by WHO

                     6        Lamuvidine (Epivir) 3TC
                     7           • Manufactured by ViiV (Glaxo)
                                                                                             11/17/95
                                 • Interchangeable with FTC if used as HIV
                     8              treatment

                     9        Abacavir (Ziagen) ABC
                                 • Manufactured by ViiV (Glaxo)                              12/17/98
                    10
                                 • Cannot be used in patients in HLA-B*5701 + pts
                    11
                              Tenofovir Disoproxil Fumarate TDF
                    12           • Manufactured by Gilead                                    10/26/01

                    13
                              Emtricitabine FTC
                    14          • Manufactured by Gilead
                                                                                              7/2/03
                                • Interchangeable with 3TC if used as HIV
                    15               treatment
                    16        Tenofovir Alafenamide Fumarate TAF
                    17           • Manufactured by Gilead
                                                                                             11/5/15
                                 • First approved as a single tablet regimen
                    18              (Genvoya)
                    19

                    20          303.    Zidovudine is not a significant competitor to tenofovir because of Zidovudine’s

                    21   impact on the bone marrow, gastrointestinal side effects, mitochondrial toxicity, and inferior

                    22   antiviral potency when used with some third agents. In 2018, Zidovudine’s U.S. sales, including

                    23   when coformulated with 3TC, were less than $60 million.

                    24          304.    Didanosine is not a significant competitor to tenofovir because of Didanosine’s

                    25   tendency to cause peripheral neuropathy and pancreatitis, the requirement that it be taken on an

                    26   empty stomach, and its inferior antiviral potency when used with some third agents.

                    27          305.    In 2006, all U.S. sales of Zalcitabine were halted due to toxicity side effects.

                    28
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                     1          306.    The WHO strongly discourages doctors from prescribing Stavudine (d4T) due to
                     2   lipodystrophy, peripheral neuropathy, and other severe side effects. Stavudine’s U.S. sales were
                     3   less than $3 million in 2018.
                     4          307.    For many doctors and patients, Abacavir is not a realistic substitute for tenofovir in
                     5   a cART regimen. Gilead noted at a 2017 investors conference, for example, that “[a]bacavir is a
                     6   molecule that is the most difficult of the ... [NRTIs] to administer and has both short-term and
                     7   long-term problems associated with it.” Specifically, a substantial number of patients are HLA-
                     8   B*5701 positive, meaning that they are at an increased risk of a hypersensitivity reaction to
                     9   abacavir, resulting in a severe systemic illness that can result in death. Consequently, doctors will
                    10   not prescribe abacavir to patients without first requiring that they get either a blood test or cheek-
                    11   swab test to screen them for HLA-B*5701. This dissuades many doctors from prescribing
                    12   abacavir and prevents them altogether from starting patients on abacavir without the required
                    13   screening. This is a significant barrier to treatment. Most modern HIV treatment programs are
                    14   based on the “test and treat” approach, in which doctors encourage patients to begin HIV
                    15   treatment on the day they are diagnosed, as there is a higher chance the patient will begin and
                    16   stick with treatment if started immediately after diagnosis.
                    17          308.    At all relevant times, Gilead’s dominance with respect to tenofovir allowed it to
                    18   exercise market power in the cART market. From October 26, 2001 through December 15, 2017,
                    19   Gilead had 100% of the unit shares of all U.S. sales of tenofovir. Even after the entry of generic
                    20   TDF in December 2017, Defendants’ unlawful conduct has allowed Gilead to maintain at least
                    21   93% of all unit sales of tenofovir in the U.S. Further, Defendants’ unlawful conduct has allowed
                    22   Gilead to maintain its share of prescriptions containing NRTIs in the U.S. at an average of more
                    23   than 79%, and never less than 76%, from 2014 to 2019.
                    24          309.    Non-Nucleoside Reverse Transcriptase Inhibitors (NNRTIs) also attack the HIV
                    25   virus. Unlike NRTIs, NNRTIs interfere with reverse transcription by directly binding to the
                    26   reverse transcriptase enzyme and retarding its function. Compared to other leading
                    27   antiretrovirals, NNRTIs have significant disadvantages, including significant side effects and a
                    28   relatively low genetic barrier for the development of resistance. The principal NNRTIs include
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                     1   EFV, which is the sole API in BMS’s Sustiva and is also an API in Gilead/BMS’s Atripla, and
                     2   RPV, which is the sole API in Janssen’s Edurant and is also an API in Gilead/Janssen’s Complera
                     3   and Odefsey. Defendants’ unlawful conduct allowed Gilead to maintain its share of prescriptions
                     4   containing NNRTIs in the U.S. at an average of more than 80%, and never less than 77%, in the
                     5   period from 2014 to 2019.
                     6          310.    Converting its RNA to DNA allows the HIV virion to enter the nucleus of the CD4
                     7   cell. There, the HIV virion uses its enzyme “integrase” to insert its DNA into that of the CD4
                     8   cell. This is a key part of the HIV-replication process.
                     9          311.    Integrase Strand Transfer Inhibitors (“INSTIs”) prevent HIV integrase from
                    10   incorporating viral DNA into the human host cell, thereby halting the HIV strand transfer.
                    11   Compared to other leading antiretrovirals, INSTIs have significant advantages because they have
                    12   no human homolog, allowing the drug to precisely target the HIV virion, leading to superior
                    13   efficacy and minimal toxicity. Today, they are recommended as part of all four of the HHS-
                    14   recommended first-line cART regimens. The principal INSTIs are elvitegravir, which is the sole
                    15   API in Gilead’s Vitekta and is an API in Gilead’s Stribild and Genvoya; bictegravir, which is an
                    16   API in Gilead’s Biktarvy; dolutegravir, which is the sole API in Viiv’s Tivicay and is an API in
                    17   ViiV’s Triumeq and Dovato; and raltegravir, which is the sole API in Merck’s Isentress.
                    18   Defendants’ unlawful conduct allowed Gilead to grow its share of prescriptions containing
                    19   INSTIs in the U.S. from 30% in 2014 to 55% in 2019.
                    20          312.    After HIV has integrated itself into the infected cell’s DNA, the infected cell
                    21   transcribes the proviral HIV genome into messenger RNA (“mRNA”) that codes for specific viral
                    22   proteins. This mRNA is converted or “translated” by the infected cell’s ribosomes into viral
                    23   proteins. These viral proteins are not initially functional and are known as “polyproteins.” They
                    24   must be processed by another viral enzyme, HIV protease, which breaks the initially translated
                    25   polyproteins into their constituent parts.
                    26          313.    Protease Inhibitors (“PIs”) act as competitive inhibitors that directly bind to HIV
                    27   protease and prevent it from subsequently breaking up the initially translated polyproteins, thus
                    28   preventing the secondary virions from being infectious. Compared to other leading
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                     1   antiretrovirals, PIs have significant disadvantages, including the fact that in long-term treatment
                     2   they tend to have side effects such as inducing metabolic syndromes (e.g., dyslipidemia, insulin-
                     3   resistance, and lipodystrophy/lipoatrophy) and cardiovascular and cerebrovascular diseases.
                     4   There are currently 10 PIs, including atazanavir, which is the sole API in BMS’s Reyataz and is
                     5   an API in Gilead/BMS’s Evotaz; and darunavir, which is the sole API in Janssen’s Prezista and is
                     6   an API in Gilead/Janssen’s Prezcobix and Symtuza. The unlawful conduct of Defendants
                     7   allowed Gilead to grow its share of prescriptions containing PIs in the U.S. from 45% in 2014 to
                     8   65% in 2019.
                     9          314.    As noted above, HHS prescribing Guidelines often play a role in the doctor’s drug-
                    10   product selection. Confirming the interchangeability of use of the principal cART drugs
                    11   throughout the relevant period, the HHS Guidelines included among their preferred or alternative
                    12   regimens NRTIs, NNRTIs, PIs, and INSTIs. Throughout the relevant period, almost all of the
                    13   preferred regimens included two NRTIs, and Gilead’s products dominated the NRTIs in the
                    14   preferred regimens. Moreover, Gilead almost always controlled at least one of the preferred third
                    15   agents. The following table summarizes much of the relevant information in the HHS Guidelines:
                    16                                      HHS Guidelines: 2012-2019
                    17    Month/Year        Number of       Number of         Gilead   Preferred or              Gilead
                                            Preferred       Preferred       Control of Alternative             Controls at
                    18                      Regimens        Regimens       Recommended   Regimen                Least One
                                                            Requiring        NRTIs in  Includes All             Preferred
                    19                                      Two NRTIs        Preferred  Four ARV               Third Agent
                                                                             Regimens    Types*
                    20
                           March 2012            4               4             100%        Yes                      No
                    21     Feb. 2013             4               4             100%        Yes                      Yes
                           May 2014              7               7              87.5%      Yes                      Yes
                    22     Nov. 2014             7               7              87.5%      Yes                      Yes
                            July 2016            5               5              80%        Yes                      Yes
                    23
                            Oct. 2017            4               4              75%        Yes                      Yes
                    24      Oct. 2018            4               4              75%        Yes                      Yes
                            July 2019            4               4              75%        Yes                      Yes
                    25     Dec. 2019             5               4              66%        Yes                      Yes
                    26          315.    The four relevant ARV types are NRTIs, NNRTIs, PIs, and INSTIs.
                    27          316.    With respect to price competition among branded products in the cART market,
                    28   formularies and other cost-containment measures have achieved only modest success in
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                     1   constraining the prices of brand cART drugs. Rebates and other price discounts granted by brand
                     2   cART manufacturers to commercial insurers for favorable formulary placement average less than
                     3   10% off the list price.
                     4          317.    The result of the unlawful conduct of Defendants has been extraordinary price
                     5   inflation in the cART market as a whole. In 2012, the annual price of a cART regimen
                     6   recommended for treatment-naïve patients ranged from $24,970 to $35,160, and this increased to
                     7   $36,080 to $48,000 in 2018. In that time, the average annual price of cART drugs recommended
                     8   for most patients increased by 34%.
                     9          318.    In absolute dollars, cART is the nation’s fifth costliest therapeutic class.
                    10   Moreover, cART drugs cost more per prescription than those in three of the four therapeutic
                    11   classes that rank above it in absolute dollars spent (that is, three of the four have greater dollars
                    12   spent because there are far more prescriptions written for those drugs). Throughout the cART
                    13   market, prices are far higher than they would have been absent the anticompetitive conduct
                    14   described herein.
                    15          319.    The very significant increases in the prices of cART drugs did not cause a loss of
                    16   sales to non-cART drugs or other HIV treatments sufficient to make the price increases
                    17   unprofitable. Indeed, the average annual price of the drugs used in cART therapy for most people
                    18   with HIV increased by 34% from 2012 to 2018.
                    19          320.    As noted above, certain cART drugs are also used to prevent HIV infection and for
                    20   other treatment, such as for hepatitis B. Such drugs are part of the cART market regardless of
                    21   other uses because the other uses did not (and do not) prevent Gilead and others from increasing
                    22   their prices above the competitive level. For example, Gilead has charged the same
                    23   supracompetitive price for Viread regardless of whether the patient bought the product for use in
                    24   a cART regimen or for treatment of hepatitis B, and has charged the same supracompetitive
                    25   prices for Truvada and Descovy regardless of whether the patient bought them for use in a cART
                    26   regimen or for PrEP.
                    27          321.    At all relevant times, Gilead has maintained at least 70% of all unit sales of NRTIs
                    28   in the U.S.
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                     1          322.    At all relevant times, Gilead’s unit share of the cART market has ranged from not
                     2   less than 70% to as much as 93%. Gilead has repeatedly acknowledged, indeed touted, its
                     3   monopoly share in the cART market.
                     4          323.    As early as 2007, Truvada and Atripla alone accounted for 82% of new starts in
                     5   treatment-naïve (those new to therapy) HIV patients. And as recently as 2018, a Gilead
                     6   presentation to investors highlighted the fact that 81% of treatment-naïve HIV patients regularly
                     7   took at least one Gilead product. The unlawful conduct of Defendants allowed Gilead to maintain
                     8   this share of prescriptions of single-tablet regimens in the U.S. Gilead’s share of single-tablet
                     9   regimen prescriptions was never less than 75% between 2014 and 2019 and was more than 78%
                    10   in 2019.
                    11          324.    As noted above, the unlawful conduct of Defendants has similarly allowed Gilead
                    12   to dominate other important subcategories of cART drugs. In 2019, Gilead had the following
                    13   shares of prescriptions in the U.S.: all cART Drugs (73%); NRTI (80%); NNRTI (71%); INSTI
                    14   (55%); PI (65%); and single tablet regimen (78%). (Shares for all cART drugs are based on
                    15   dollar sales; all other shares based on prescriptions.)
                    16          325.    At all relevant times, Defendants were protected by high barriers to entry with
                    17   respect to the above-defined relevant markets due to patent protections, the high cost of entry and
                    18   expansion, expenditures in marketing and physician detailing, and state statutes that require
                    19   prescriptions for the purchase of the products at issue and restrict pharmacists’ ability to swap in
                    20   other drugs. The products in these markets require significant investments of time and money to
                    21   design, develop, and distribute. In addition, the markets require government approvals to enter
                    22   and/or may be covered by patents or other forms of intellectual property. The unlawful No-
                    23   Generics Restraints and other unlawful conduct described herein further restricted entry. Thus,
                    24   existing and potential market entrants lack the ability to enter the market and/or expand output
                    25   quickly in the short run in response to higher prices or reductions in output by Defendants.
                    26                                          MARKET EFFECTS
                    27          326.    By impeding competition, Defendants’ and Gilead’s other co-conspirators’
                    28   anticompetitive conduct caused Plaintiff to pay more than it would have paid for branded and
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                     1   generic versions of each relevant drug. Earlier entry of generic versions of each drug would have
                     2   given purchasers the choice between the branded drug and its generic equivalents, which would
                     3   have been priced substantially below the brand. This is particularly true with regard to AB-rated
                     4   generics. Every state’s pharmacy substitution laws require or encourage pharmacies to substitute
                     5   AB-rated generics for branded prescription pharmaceuticals whenever possible. Absent
                     6   Defendants’ and Gilead’s other co-conspirators’ anticompetitive conduct, Plaintiff would have
                     7   saved hundreds of millions of dollars by purchasing generic versions of each relevant drug earlier.
                     8   Defendants’ and Gilead’s other co-conspirators’ anticompetitive conduct caused Plaintiff to incur
                     9   overcharges on its purchases of both branded and generic versions of the relevant drugs.
                    10          327.    Defendants’ and Gilead’s other co-conspirators’ anticompetitive conduct created
                    11   and extended monopolies on each relevant drug. Absent Defendants’ and Gilead’s other co-
                    12   conspirators’ anticompetitive conduct, generic versions of each branded drug would have been
                    13   sold earlier than they actually were.
                    14          328.    Defendants’ and Gilead’s other co-conspirators’ anticompetitive conduct also
                    15   harmed Plaintiff by increasing and artificially inflating the prices charged for generic versions of
                    16   the relevant drugs if and when those generic versions became or will become available. When
                    17   entering a market, generic manufacturers price their products based on a percentage discount off
                    18   of the then-prevailing brand price. Absent Defendants’ and Gilead’s other co-conspirators’
                    19   anticompetitive conduct, generic versions of the branded drugs would have entered the market
                    20   sooner and would have been priced at a discount to the lower then-prevailing brand price rather
                    21   than the higher brand price that prevailed at the time of actual generic entry. Thus, Defendants’
                    22   and Gilead’s other co-conspirators’ unlawful conduct has caused Plaintiff to pay substantial
                    23   overcharges on its purchases of each relevant drug.
                    24                                               TOLLING
                    25          329.    Each time Plaintiff paid an overcharge for the drugs at issue in this Complaint —
                    26   i.e., each time payment was made at a higher price than would have been paid absent Defendants’
                    27   and Gilead’s other co-conspirators’ unlawful conduct — a new cause of action accrued for that
                    28   overcharge.
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                     1           330.     Prior to the filing of this Complaint, Plaintiff was an absent member of the putative
                     2   classes in Staley v. Gilead Sciences, Inc., Case No. 19-cv-02573 (N.D. Cal.) and Jacksonville
                     3   Police Officers & Fire Fighters Health Insurance Trust v. Gilead Sciences, Inc., Case No. 20-cv-
                     4   06522 (N.D. Cal.). Pursuant to the U.S. Supreme Court decision in American Pipe Construction
                     5   Co. v. Utah, 414 U.S. 538 (1974), and its progeny, the class action complaints tolled the
                     6   applicable statute of limitations as to the claims asserted by Plaintiff. Accordingly, Plaintiff is
                     7   entitled to recover overcharges (and treble damages) for indirect purchases made starting at least
                     8   four years prior to the filing of those class actions, i.e., May 14, 2015 and later.
                     9           331.     Plaintiff is also entitled to recover damages on purchases made from at least as
                    10   early as November 2014 to the present because Gilead and Teva fraudulently concealed that their
                    11   settlement agreement contained an unlawful reverse payment, and Plaintiff could not have
                    12   discovered the existence of Defendants’ and Gilead’s other co-conspirators’ unlawful conduct
                    13   through the exercise of reasonable diligence prior to December 15, 2017, thereby tolling the
                    14   relevant statute of limitations. Gilead’s payment to Teva in the form of a secret No-AG
                    15   agreement was not discoverable until after Teva launched its generic Viread on December 15,
                    16   2017, and Gilead did not launch an authorized generic.
                    17           332.     Gilead and Teva’s scheme was self-concealing, in that, by its nature and design, it
                    18   was incapable of being detected. In addition, Gilead and Teva actively concealed the terms of
                    19   their agreement to avoid detection. For example, Gilead and Teva specifically represented to the
                    20   court in the underlying patent litigation that their Viread settlement did not contain a No-AG
                    21   agreement.
                    22           333.     Because Plaintiff was not aware of Gilead and Teva’s secret, unlawful reverse
                    23   payment agreement, it could not have been aware that Defendants’ other conduct was also part of
                    24   Defendants’ monopolistic and anticompetitive scheme and the antitrust violations alleged herein.
                    25   In particular:
                    26                •   The No-Generics Restraint agreements between Gilead and BMS had
                                          substantially greater anticompetitive effects when used by Defendants in
                    27                    conjunction with the secret Gilead-Teva generic delay agreement;
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                     1               •   The No-Generics Restraint agreements between Gilead and Janssen had
                                         substantially greater anticompetitive effects when used by Defendants in
                     2
                                         conjunction with the secret Gilead-Teva generic delay agreement;
                     3
                                     •   The MFE and MFEP agreements entered into by Gilead and its individual co-
                     4                   conspirators had substantially greater anticompetitive effects when used by
                                         Defendants in conjunction with the secret Gilead-Teva generic delay agreement.
                     5
                                     •   The efforts of Defendants to switch physicians and patients from TDF products to
                     6                   other products had substantially greater anticompetitive effects when used by
                                         Gilead in conjunction with the secret Gilead-Teva generic delay agreement.
                     7

                     8          334.     Plaintiff lacked the facts and information necessary to form a good faith basis for
                     9   believing that legal violations had occurred prior to December 15, 2017.
                    10                      IMPACT AND CONTINUING INJURY TO PLAINTIFF
                    11          335.     During the relevant period, Plaintiff purchased substantial quantities of the
                    12   relevant drugs (and, in some cases, generic versions of the relevant drugs) at supracompetitive
                    13   prices. As a result of Defendants’ and Defendants’ co-conspirators’ illegal conduct, Plaintiff was
                    14   compelled to pay, and did pay, artificially inflated prices for those drugs. Those prices were
                    15   substantially greater than the prices that would have been paid absent the illegal conduct alleged
                    16   herein, because: (a) the prices of the relevant drugs were artificially inflated by Defendants’ and
                    17   Gilead’s other co-conspirators’ illegal conduct; (b) Plaintiff was deprived of the opportunity to
                    18   purchase lower-priced generic versions of the relevant drugs, which it would have done had it had
                    19   the opportunity; and (c) when the generic drugs ultimately became or will become available, the
                    20   prices of those generic drugs were or will be higher than they would have been absent
                    21   Defendants’ and Gilead’s other co-conspirators’ unlawful conduct.
                    22          336.     As a direct consequence of Defendants’ antitrust violations, Plaintiff has sustained
                    23   substantial loss and damage to its business and property in the form of overcharges. The full
                    24   amount of such damages will be calculated after discovery and upon proof at trial.
                    25          337.     As a result of Defendants’ and Gilead’s other co-conspirators’ unlawful conduct,
                    26   Plaintiff continues to pay overcharges today, notwithstanding the launch of generic versions of
                    27   some of the relevant drugs. The commencement of generic competition does not immediately
                    28   create a competitive environment indistinguishable from the environment that would have existed
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                     1   had generic competition begun much earlier. In fact, it can take considerable time for the process
                     2   of generic competition to eliminate the effects of prior anticompetitive conduct for several
                     3   reasons, all of which apply here.
                     4           338.    First, generic substitution rates do not immediately reach their maximum level
                     5   when an AB-rated generic drug is launched. While generic substitution by Plaintiff typically
                     6   reaches a level of 90% in approximately three months, generic substitution rates continue to
                     7   increase gradually and incrementally after that time and eventually reach 95% or more, at which
                     8   point they plateau. It may take a year or longer for generic substitution rates to reach this
                     9   maximum level. Until they do, the actual generic substitution rate will be lower than it would
                    10   have been had generic entry occurred earlier, and Plaintiff will continue to purchase units of the
                    11   branded drug that would have been replaced with units of the less-expensive generic drug but for
                    12   the antitrust violation.
                    13           339.    Second, generic prices do not immediately drop to the level they would have
                    14   achieved had generic competition begun earlier. Generic prices typically fall over time even in
                    15   the absence of additional generic entrants so long as the number of generic manufacturers in the
                    16   market does not decrease. In this case, generic prices were high, both because of price increases
                    17   on the relevant drugs and because Teva and other generic entrants did not face competition from
                    18   other generics upon launch. Even after additional generics entered the markets, generic prices
                    19   have remained relatively high and continue to remain relatively high today. Had generic
                    20   competition begun much earlier, as it would have absent Defendants’ and Gilead’s other co-
                    21   conspirators’ unlawful conduct, intergeneric competition would have been underway for a longer
                    22   period of time and generic prices would have fallen to lower levels than the generic prices
                    23   Plaintiff is paying today.
                    24           340.    The fact that generic substitution rates and generic prices can take considerable
                    25   time to reach the equilibrium levels they would have reached had generic competition begun
                    26   earlier means that Plaintiff will continue to pay overcharges on its purchases of the relevant drugs
                    27   and, where available, generic equivalents for some time to come.
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                     1          341.    Moreover, Defendants’ unlawful No-Generics Restraints have already caused
                     2   significant anticompetitive effects by depriving drug purchasers of comparable FDCs once
                     3   generic TDF and generic FTC became available and, in the case of Evotaz, once generic ATV
                     4   became available. Generic compositions are already available in the marketplace that, absent the
                     5   No-Generics Restraints, would have prompted competitors untainted by Defendants’ and Gilead’s
                     6   other co-conspirators’ unlawful conduct to make substitutable or comparable versions of at least
                     7   Complera, Symtuza, and Evotaz. And such competitors would have challenged the applicable
                     8   patents and would already have entered the market with substitutable or comparable versions of at
                     9   least Atripla, Prezcobix, and Odefsey.
                    10          342.    Unless enjoined by this Court, Defendants’ and Gilead’s other co-conspirators’
                    11   unlawful conduct will have additional and intensified anticompetitive effects once generic
                    12   versions of any of TAF, COBI, or DRV become available. For example, absent the No-Generics
                    13   Restraints, an untainted competitor in Janssen’s position would make or have made a
                    14   substitutable version of Complera when generic FTC became available. In addition, absent the
                    15   No-Generics Restraints, when generic TAF becomes available, an untainted competitor in
                    16   Janssen’s position would produce and market a comparable version of Odefsey, comprising
                    17   generic TAF, generic 3TC, and RPV. Such a competitor would also make a substitutable version
                    18   of Odefsey once a generic version of TAF becomes available. Moreover, that competitor would
                    19   have accelerated the availability of generic versions of those compositions by challenging
                    20   Gilead’s patents on them. Unless enjoined by this Court, however, the unlawful No-Generics
                    21   Restraints will prevent that competition until at least March 2026.
                    22          343.    Absent the No-Generics Restraints, when generic TAF becomes available, an
                    23   untainted competitor in Janssen’s position would also produce and market a comparable version
                    24   of Symtuza, comprising generic TAF, generic FTC (or generic 3TC), generic RTV, and DRV.
                    25   Such a competitor would also make a substitutable version of Symtuza once generic versions of
                    26   TAF, FTC, and COBI become available. Moreover, that competitor would have accelerated the
                    27   availability of generic versions of those compositions by challenging Gilead’s patents on them.
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                     1   Unless enjoined by this Court, however, the unlawful No-Generics Restraints will prevent that
                     2   competition until at least 2026.
                     3          344.    Absent the No-Generics Restraints, an untainted competitor in Gilead’s position
                     4   would have produced and marketed a substitutable version of Symtuza as soon as possible. Such
                     5   a competitor would have submitted an application for a product containing TAF, FTC, COBI, and
                     6   generic DRV as early as the date of FDA approval of Symtuza’s NDA (Gilead controlled the
                     7   NCE exclusivity for Symtuza). After waiting out the 30-month stay, that competitor would have
                     8   begun marketing the substitutable FDC on January 17, 2021. But the unlawful No-Generics
                     9   Restraints resulted in Gilead’s agreeing not to compete until at least July 17, 2028. Unless
                    10   enjoined by this Court, the unlawful pact will continue to deprive drug purchasers of such a
                    11   competing FDC.
                    12          345.    Gilead’s unlawful degrading of Stribild and standalone TAF, and its regulatory
                    13   gaming with respect to TAF, also significantly distorted the market, are causing ongoing harm,
                    14   and threaten future harm. That unlawful conduct requires this Court’s intervention. Without
                    15   affirmative relief from the Court to help restore competitive conditions, that unlawful conduct
                    16   will continue to deprive drug purchasers of the benefits of competition to which they are entitled.
                    17   For example, Gilead’s regulatory gaming with respect to TAF, unless enjoined by this Court, will
                    18   significantly delay and impair the competition from generic standalone TAF and from generic-
                    19   TAF-based FDCs that should begin in or about May 2023.
                    20          346.    Defendants’ and Gilead’s other co-conspirators’ conduct is also continuing to
                    21   unlawfully delay the entry of generic TAF. As noted in detail above, Defendants’ conduct
                    22   resulted in Gilead’s delaying the introduction of TAF and TAF-based FDCs from 2006 to 2015.
                    23   Absent that delay, the NCE exclusivity for TAF would have expired by 2011, and 30-month stays
                    24   on generic entry would have expired by 2013. But with Gilead’s delaying the introduction of
                    25   TAF to 2015, no generic has yet been able to enter the market, because the NCE exclusivity did
                    26   not expire until November 5, 2020.
                    27

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                     1          347.    In order to help restore competitive conditions, this Court should enjoin Gilead
                     2   from enforcing any of its TAF-related NCE exclusivities and 30-month stays. Other affirmative
                     3   relief, including compulsory licenses to the affected products, will also be required.
                     4                                        CLAIMS FOR RELIEF
                     5
                                                                    COUNT I:
                     6                              Conspiracy to Monopolize in Violation of
                                        Sections 1 and 2 of the Sherman Antitrust Act (15 U.S.C. §§ 1, 2)
                     7                                          (Gilead and BMS)
                     8          348.    Plaintiff incorporates by reference the allegations set forth in the preceding

                     9   paragraphs.

                    10          349.    At all relevant times, Gilead has possessed substantial market power in the cART

                    11   market and narrower markets therein. More than 80% of patients starting an HIV regimen in the

                    12   U.S., and more than 80% of patients continuing on a HIV regimen, take one of Gilead’s products

                    13   every day. Gilead has the market shares alleged in detail above and possesses the power to

                    14   control prices in, prevent prices from falling in, and exclude competitors from the cART market

                    15   and narrower markets therein.

                    16          350.    That market power is coupled with strong regulatory and contractual barriers to

                    17   entry into the cART market.

                    18          351.    As stated more fully above, Gilead willfully obtained and maintained its monopoly

                    19   power in the cART market by enlisting BMS in a conspiracy to monopolize that included:

                    20              •   Entering into and abiding by the illegal No-Generics Restraints;

                    21              •   Entering into and abiding by the Atripla Agreement and the Evotaz Agreement,
                                        each of which was a horizontal market allocation agreement;
                    22
                                    •   Entering into and abiding by the illegal post-patent-expiration royalty provisions;
                    23
                                    •   Degrading Stribild and artificially raising its price in order to drive patients to
                    24                  TAF-based FDCs that it had shielded from competition;
                    25
                                    •   Degrading standalone TAF, also in furtherance of the scheme to drive patients to
                    26                  TAF-based FDCs that it had shielded from competition;

                    27              •   Abusing the regulatory process, by withholding an HIV indication from standalone
                                        TAF in order to raise rivals’ costs and delay their entry into the market; and
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                                    •   Causing delayed entry of generic versions of Viread, Truvada, and Atripla.
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                     1          352.    BMS consciously committed to the monopolization scheme when it provided the
                     2   No-Generics Restraints protecting Gilead’s drugs from generic competition, received the No-
                     3   Generics Restraints from Gilead protecting its drugs from generic competition, and abided by
                     4   those Restraints.
                     5          353.    BMS knew that Gilead was seeking to obtain and maintain monopoly power in the
                     6   cART market and the markets for specific cART drugs. It knew that: (a) tenofovir was a critical
                     7   backbone of cART therapies and TDF would dominate the cART market; (b) TDF had a limited
                     8   patent life, and (c) Gilead was pursuing a strategy of creating FDCs with other manufacturers and
                     9   developers of cART components with longer or stronger patent life so as to extend the “product
                    10   life cycle” of TDF and TDF-based cART regimens.
                    11          354.    By the time it agreed to the Evotaz No-Generics Restraint with Gilead in October
                    12   2011, BMS knew that Gilead had a market share greater than 70% of the cART market. As of
                    13   that date, BMS also knew from Gilead’s public SEC filings that Gilead had entered into a No-
                    14   Generics Restraint with Janssen in 2009 protecting Gilead’s cART monopoly from competition,
                    15   and that the Gilead-Janssen No-Generics Restraint was substantially identical to BMS’s No-
                    16   Generics Restraint. And BMS knew that its No-Generics Restraints and Janssen’s enabled
                    17   Gilead, BMS, and Janssen to tie up a majority of sales of NRTIs and third agents, as well as a
                    18   majority of sales of all cART drugs. BMS therefore knew that its unlawful agreements
                    19   substantially contributed to Gilead’s unlawful maintenance of a monopoly in the cART market
                    20   and the markets for specific cART drugs.
                    21          355.    BMS participated in the conspiracy to monopolize with Gilead because BMS
                    22   benefitted directly from it, including from: (a) the Atripla No-Generics Restraint, which
                    23   incentivized Gilead to switch patients to Atripla thereby increasing BMS’s sales of its third agent
                    24   EFV as a component of Atripla; (b) Gilead and BMS’s unlawful deals with Teva to delay entry of
                    25   generic versions of Atripla, which increased BMS’s profits on the sales of Atripla; and (c) the No-
                    26   Generics Restraint protecting BMS’s third agent ATV and its FDC Evotaz from competition.
                    27   BMS also benefitted from the other elements of Gilead’s scheme, which enabled Gilead to obtain
                    28
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                     1   and maintain its monopoly power and supracompetitive prices for cART drugs generally, and
                     2   thereby allowed BMS to charge higher prices on its other cART drugs.
                     3          356.    To the extent that Gilead and BMS are permitted to assert one, there is and was no
                     4   cognizable, non-pretextual procompetitive justification for the companies’ conduct comprising
                     5   the anticompetitive scheme that outweighs its harmful effects. Even if there were some
                     6   conceivable such justification that Gilead and BMS were permitted to assert, the scheme is and
                     7   was broader and more anticompetitive than necessary to achieve such a purpose.
                     8          357.    Plaintiff has been injured, and unless Gilead and BMS’s unlawful conduct is
                     9   enjoined, will continue to be injured, in its business and property as a result of Gilead and BMS’s
                    10   continuing conspiracy in violation of Sections 1 and 2 of the Sherman Act.
                    11
                                                                COUNT II:
                    12     Conspiracy to Monopolize in Violation of Sections 1 and 2 of the Sherman Antitrust Act
                                                            (15 U.S.C. §§ 1, 2)
                    13                                     (Gilead and Janssen)
                    14          358.    Plaintiff incorporates by reference the allegations set forth in the preceding

                    15   paragraphs.

                    16          359.    At all relevant times, Gilead has possessed substantial market power in the cART

                    17   market and narrower markets therein. More than 80% of patients starting an HIV regimen in the

                    18   U.S., and more than 80% of patients continuing on a HIV regimen, take one of Gilead’s products

                    19   every day. Gilead has the market shares alleged in detail above and possesses the power to

                    20   control prices in, prevent prices from falling in, and exclude competitors from the cART market

                    21   and narrower markets therein.

                    22          360.    That market power is coupled with strong regulatory and contractual barriers to

                    23   entry into the cART market.

                    24          361.    As stated more fully above, Gilead willfully obtained and maintained its monopoly

                    25   power in the cART market by enlisting Janssen in a conspiracy to monopolize that included:

                    26              •   Entering into and abiding by the illegal No-Generics Restraints;
                    27              •   Entering into and abiding by the Complera Agreement, Prezcobix Agreement,
                                        Odefsey Agreement, and Symtuza Agreement, each of which was a horizontal
                    28
                                        market allocation agreement;
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                     1              •   Entering into and abiding by the illegal post-patent-expiration royalty provisions;
                     2              •   Degrading Stribild and artificially raising its price in order to drive patients to
                                        TAF-based FDCs that it had shielded from competition;
                     3

                     4              •   Degrading standalone TAF, also in furtherance of the scheme to drive patients to
                                        TAF-based FDCs that it had shielded from competition;
                     5
                                    •   Abusing the regulatory process, by withholding an HIV indication from standalone
                     6                  TAF in order to raise rivals’ costs and delay their entry into the market; and
                     7              •   Causing delayed entry of generic versions of Viread, Truvada, and Atripla.
                     8          362.    Janssen consciously committed to the monopolization scheme when it provided

                     9   the No-Generics Restraints protecting Gilead’s drugs from generic competition, received the No-

                    10   Generics Restraints from Gilead protecting its drugs from generic competition, and abided by

                    11   those Restraints.

                    12          363.    Janssen knew that Gilead was seeking to obtain and maintain monopoly power in

                    13   the cART market and the markets for specific cART drugs. It knew that: (1) tenofovir was a

                    14   critical backbone of cART therapies and TDF would dominate the cART market; (2) TDF had a

                    15   limited patent life, and (3) Gilead was pursuing a strategy of creating FDCs with other

                    16   manufacturers and developers of cART components with longer or stronger patent life so as to

                    17   extend the “product life cycle” of TDF and TDF-based cART regimens.

                    18          364.    When it provided its first No-Generics Restraint to Gilead in July 2009 regarding

                    19   Complera, Janssen knew that Gilead had a market share of more than 70% of the cART market.

                    20   As of that date, Janssen also knew from Gilead’s public SEC filings that Gilead had entered into a

                    21   No-Generics Restraint with BMS protecting Gilead’s drugs from competition.

                    22          365.    By December 2014 when it entered into No-Generics Restraints on Odefsey and

                    23   Symtuza, Janssen knew that Gilead’s scheme included switching its tenofovir-based cART

                    24   monopoly to TAF-based FDCs. It also knew that Gilead’s cART market share was more than

                    25   70%, nine out of ten patients new to treatment were prescribed a Gilead medicine, and

                    26   approximately 85% of all patients receiving cART therapy were on a Gilead drug. And Janssen

                    27   knew that its No-Generics Restraints and BMS’s No-Generics Restraints enabled Gilead, BMS,

                    28   and Janssen to tie up more than 80% of sales of NRTIs, more than 50% of sales of third agents,
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                     1   and more than 75% of sales of booster drugs. Janssen therefore knew that its unlawful
                     2   agreements substantially contributed to Gilead’s unlawful maintenance of a monopoly in the
                     3   cART market and the markets for specific cART drugs.
                     4          366.    Janssen participated in the conspiracy to monopolize with Gilead because Janssen
                     5   benefitted directly from it, including from: (a) the Complera and Odefsey No-Generics Restraints,
                     6   which incentivized Gilead to switch patients to those drugs and thereby increased Janssen’s sales
                     7   of its third agent RPV as a component of Complera and Odefsey; (b) the lump-sum payments
                     8   Janssen received from Gilead; (c) the degrading of standalone TAF, which increased sales of
                     9   Odefsey; and (d) the No-Generics Restraints protecting Janssen’s Prezcobix and Symtuza from
                    10   competition. Janssen also benefitted from the other elements of Gilead’s scheme, which enabled
                    11   Gilead to obtain and maintain its monopoly power and supracompetitive prices for cART drugs
                    12   generally, and thereby allowed Janssen to charge higher prices on its other cART drugs.
                    13          367.    To the extent that Gilead and Janssen are permitted to assert one, there is and was
                    14   no cognizable, non-pretextual procompetitive justification for the companies’ conduct comprising
                    15   the anticompetitive scheme that outweighs its harmful effects. Even if there were some
                    16   conceivable such justification that Gilead and Janssen were permitted to assert, the scheme is and
                    17   was broader and more anticompetitive than necessary to achieve such a purpose.
                    18          368.    Plaintiff has been injured, and unless Gilead and Janssen’s unlawful conduct is
                    19   enjoined will continue to be injured, in its business and property as a result of Gilead and
                    20   Janssen’s continuing conspiracy in violation of Sections 1 and 2 of the Sherman Act.
                    21                                        COUNT III:
                            Conspiracy to Monopolize/Restrain Trade in Violation of California’s Cartwright Act
                    22                                     (Gilead and BMS)
                    23          369.    Plaintiff incorporates by reference the allegations set forth in the preceding

                    24   paragraphs.

                    25          370.    At all relevant times, Gilead has possessed substantial market power in the cART

                    26   market and narrower markets therein. More than 80% of patients starting an HIV regimen in the

                    27   U.S., and more than 80% of patients continuing on a HIV regimen, take one of Gilead’s products

                    28   every day. Gilead has the market shares alleged in detail above and possesses the power to
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                     1   control prices in, prevent prices from falling in, and exclude competitors from the cART market
                     2   and narrower markets therein.
                     3          371.    That market power is coupled with strong regulatory and contractual barriers to
                     4   entry into the cART market.
                     5          372.    As stated more fully above, Gilead willfully obtained and maintained its monopoly
                     6   power in the cART market by enlisting BMS in a conspiracy to monopolize that included:
                     7              •   Entering into and abiding by the illegal No-Generics Restraints;
                     8              •   Entering into and abiding by the Atripla Agreement and the Evotaz Agreement,
                                        each of which was a horizontal market allocation agreement;
                     9

                    10              •   Entering into and abiding by the illegal post-patent-expiration royalty provisions;

                    11              •   Degrading Stribild and artificially raising its price in order to drive patients to
                                        TAF-based FDCs that it had shielded from competition;
                    12
                                    •   Degrading standalone TAF, also in furtherance of the scheme to drive patients to
                    13                  TAF-based FDCs that it had shielded from competition;
                    14              •   Abusing the regulatory process, by withholding an HIV indication from standalone
                    15                  TAF in order to raise rivals’ costs and delay their entry into the market; and

                    16              •   Causing delayed entry of generic versions of Viread, Truvada, and Atripla.

                    17          373.    BMS consciously committed to the monopolization scheme when it provided the
                    18   No-Generics Restraints protecting Gilead’s drugs from generic competition, received the No-
                    19   Generics Restraints from Gilead protecting its drugs from generic competition, and abided by
                    20   those Restraints.
                    21          374.    BMS knew that Gilead was seeking to obtain and maintain monopoly power in the
                    22   cART market and in the markets for specific cART drugs. It knew that: (1) tenofovir was a
                    23   critical backbone of cART therapies and TDF would dominate the cART market; (2) TDF had a
                    24   limited patent life, and (3) Gilead was pursuing a strategy of creating FDCs with other
                    25   manufacturers and developers of cART components with longer or stronger patent life so as to
                    26   extend the “product life cycle” of TDF and TDF-based cART regimens.
                    27          375.    BMS carefully monitors sales in the cART market and the contractual
                    28   arrangements between and among participants in that market.
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                     1          376.    By the time it agreed to the Evotaz No-Generics Restraint with Gilead in October
                     2   2011, BMS knew that Gilead had a market share greater than 70% of the cART market. As of
                     3   that date, BMS also knew from Gilead’s public SEC filings that Gilead had entered into a No-
                     4   Generics Restraint with Janssen in 2009 protecting Gilead’s cART monopoly from competition,
                     5   and that the Gilead-Janssen No-Generics Restraint was substantially identical to BMS’s No-
                     6   Generics Restraint. And BMS knew that its No-Generics Restraints and Janssen’s enabled
                     7   Gilead, BMS, and Janssen to tie up a majority of sales of NRTIs and third agents, as well as more
                     8   than 70% of sales of all cART drugs. BMS therefore knew that its unlawful agreements
                     9   substantially contributed to Gilead’s unlawful maintenance of a monopoly in the cART market
                    10   and the markets for specific cART drugs.
                    11          377.    BMS participated in the conspiracy to monopolize with Gilead because BMS
                    12   benefitted directly from it, including from: (a) the Atripla No-Generics Restraint, which
                    13   incentivized Gilead to switch patients to Atripla thereby increasing BMS’s sales of its third agent
                    14   EFV as a component of Atripla; (b) Gilead and BMS’s unlawful deals with Teva to delay entry of
                    15   generic versions of Atripla, which increased BMS’s profits on the sales of Atripla; and (c) the No-
                    16   Generics Restraint protecting BMS’s third agent ATV and its FDC Evotaz from competition.
                    17   BMS also benefitted from the other elements of Gilead’s scheme which enabled Gilead to obtain
                    18   and maintain its monopoly power and supracompetitive prices for cART drugs generally, and
                    19   thereby allowed BMS to charge higher prices on its other cART drugs.
                    20          378.    To the extent that Gilead and BMS are permitted to assert one, there is and was no
                    21   cognizable, non-pretextual procompetitive justification for the companies’ conduct comprising
                    22   the anticompetitive scheme that outweighs its harmful effects. Even if there were some
                    23   conceivable such justification that Gilead and BMS were permitted to assert, the scheme is and
                    24   was broader and more anticompetitive than necessary to achieve such a purpose.
                    25          379.    By engaging in the foregoing conduct, individually and in concert, Gilead and
                    26   BMS intentionally and wrongfully violated California’s Cartwright Act (Cal. Bus. & Prof. Code
                    27   §§ 16700, et seq.).
                    28
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                     1            380.     Gilead and BMS’s violation of the Cartwright Act was done knowingly, willingly,
                     2   and flagrantly.
                     3            381.     Gilead and BMS’s unlawful acts had, and continue to have, a substantial and
                     4   foreseeable effect on California commerce by artificially raising and fixing prices for the drugs at
                     5   issue.
                     6            382.     Gilead and BMS’s unlawful activities, as described in this Complaint, also affected
                     7   both intrastate commerce and interstate commerce flowing into or out from California and had
                     8   direct, substantial, and reasonably foreseeable effects upon trade and commerce in California.
                     9            383.     During the relevant period, through Gilead, BMS, or the regional and national
                    10   distributors and retailers that they have engaged for the sale of the drugs at issue, many millions
                    11   of dollars’ worth of those drugs have been, and continue to be, sold each year in California.
                    12   Moreover, Gilead sells all of its HIV drugs from its headquarters in California.
                    13            384.     There was and is a gross and unconscionable disparity between the price that
                    14   Plaintiff paid for the drugs at issue and the value received, given that more cheaply priced drugs
                    15   should have been available, and would have been available, absent Gilead and BMS’s illegal
                    16   conduct.
                    17            385.     As a direct and proximate result of Gilead and BMS’s violation of the Cartwright
                    18   Act, Plaintiff has been harmed by paying artificially inflated, supracompetitive prices for cART
                    19   drugs dispensed to its members and suffered damages in an amount to be proven at trial.
                    20                                        COUNT IV:
                           Conspiracy to Monopolize/Restrain Trade in Violation of Various State Antitrust Laws
                    21                                     (Gilead and BMS)
                    22            386.     Plaintiff incorporates by reference the allegations set forth in the preceding

                    23   paragraphs.

                    24            387.     This claim for relief is pleaded in the alternative to the Third Count, in the event it

                    25   is determined that all of Plaintiff’s claims for relief related to its reimbursements and payments

                    26   for cART drugs are not governed by California law.

                    27            388.     At all relevant times, Gilead has possessed substantial market power in the cART

                    28   market and narrower markets therein. More than 80% of patients starting an HIV regimen in the
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                     1   U.S., and more than 80% of patients continuing on a HIV regimen, take one of Gilead’s products
                     2   every day. Gilead has the market shares alleged in detail above and possesses the power to
                     3   control prices in, prevent prices from falling in, and exclude competitors from the cART market
                     4   and narrower markets therein.
                     5          389.    That market power is coupled with strong regulatory and contractual barriers to
                     6   entry into the cART market.
                     7          390.    As stated more fully above, Gilead willfully obtained and maintained its monopoly
                     8   power in the cART market by enlisting BMS in a conspiracy to monopolize that included:
                     9              •   Entering into and abiding by the illegal No-Generics Restraints;
                    10              •   Entering into and abiding by the Atripla Agreement and the Evotaz Agreement,
                                        each of which was a horizontal market allocation agreement;
                    11

                    12              •   Entering into and abiding by the illegal post-patent-expiration royalty provisions;

                    13              •   Degrading Stribild and artificially raising its price in order to drive patients to
                                        TAF-based FDCs that it had shielded from competition;
                    14
                                    •   Degrading standalone TAF, also in furtherance of the scheme to drive patients to
                    15                  TAF-based FDCs that it had shielded from competition;
                    16              •   Abusing the regulatory process, by withholding an HIV indication from standalone
                    17                  TAF in order to raise rivals’ costs and delay their entry into the market; and

                    18              •   Causing delayed entry of generic versions of Viread, Truvada, and Atripla.

                    19          391.    BMS consciously committed to the monopolization scheme when it provided the
                    20   No-Generics Restraints protecting Gilead’s drugs from generic competition, received the No-
                    21   Generics Restraints from Gilead protecting its drugs from generic competition, and abided by
                    22   those Restraints.
                    23          392.    BMS knew that Gilead was seeking to obtain and maintain monopoly power in the
                    24   cART market and the markets for specific cART drugs. It knew that: (1) tenofovir was a critical
                    25   backbone of cART therapies and TDF would dominate the cART market; (2) TDF had a limited
                    26   patent life, and (3) Gilead was pursuing a strategy of creating FDCs with other manufacturers and
                    27   developers of cART components with longer or stronger patent life so as to extend the “product
                    28   life cycle” of TDF and TDF-based cART regimens.
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                     1          393.    BMS carefully monitors sales in the cART market and the contractual
                     2   arrangements between and among participants in that market.
                     3          394.    By the time it agreed to the Evotaz No-Generics Restraint with Gilead in October
                     4   2011, BMS knew that Gilead had a market share greater than 70% of the cART market. As of
                     5   that date, BMS also knew from Gilead’s public SEC filings that Gilead had entered into a No-
                     6   Generics Restraint with Janssen in 2009 protecting Gilead’s cART monopoly from competition,
                     7   and that the Gilead-Janssen No-Generics Restraint was substantially identical to BMS’s No-
                     8   Generics Restraint. And BMS knew that its No-Generics Restraints and Janssen’s enabled
                     9   Gilead, BMS and Janssen to tie up a majority of sales of NRTIs and third agents, as well as more
                    10   than 70% of sales of all cART drugs. BMS therefore knew that its unlawful agreements
                    11   substantially contributed to Gilead’s unlawful maintenance of a monopoly in the cART market
                    12   and the markets for specific cART drugs.
                    13          395.    BMS participated in the conspiracy to monopolize with Gilead because BMS
                    14   benefitted directly from it, including from: (a) the Atripla No-Generics Restraint, which
                    15   incentivized Gilead to switch patients to Atripla thereby increasing BMS’s sales of its third agent
                    16   EFV as a component of Atripla; (b) Gilead and BMS’s unlawful deals with Teva to delay entry of
                    17   generic versions of Atripla, which increased BMS’s profits on the sales of Atripla; and (c) the No-
                    18   Generics Restraint protecting BMS’s third agent ATV and its FDC Evotaz from competition.
                    19   BMS also benefitted from the other elements of Gilead’s scheme which enabled Gilead to obtain
                    20   and maintain its monopoly power and supracompetitive prices for cART drugs generally, and
                    21   thereby allowed BMS to charge higher prices on its other cART drugs.
                    22          396.    To the extent that Gilead and BMS are permitted to assert one, there is and was no
                    23   cognizable, non-pretextual procompetitive justification for the companies’ conduct comprising
                    24   the anticompetitive scheme that outweighs its harmful effects. Even if there were some
                    25   conceivable such justification that Gilead and BMS were permitted to assert, the scheme is and
                    26   was broader and more anticompetitive than necessary to achieve such a purpose.
                    27          397.    By engaging in the foregoing conduct, Gilead and BMS, acting individually and in
                    28   concert, intentionally and wrongfully violated antitrust and competition statutes of all states and
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                     1   territories that may provide any relief for indirect purchasers, including each of the following
                     2   such laws:
                     3                a. Ala. Code §§ 8-10-3, et seq., with respect to purchases of HIV cART drugs in
                                         Alabama;
                     4
                                      b. Ariz. Rev. Stat. §§ 44-1402, et seq., with respect to purchases of HIV cART drugs
                     5                   in Arizona;
                     6
                                      c. Cal. Bus. & Prof. Code §§ 16700, et seq., and California common law, with
                     7                   respect to purchases of HIV cART drugs in California;

                     8                d. Conn. Gen. Stat. §§ 35-26, et seq., with respect to purchases of HIV cART drugs
                                         in Connecticut;
                     9
                                      e. D.C. Code §§ 28-4502, et seq., with respect to purchases of HIV cART drugs in
                    10                   the District of Columbia;
                    11
                                      f. Haw. Rev. Stat. §§ 480-2, et seq., with respect to purchases of HIV cART drugs in
                    12                   Hawaii;

                    13                g. 740 Ill. Comp. Stat. 10/3, et seq., with respect to purchases of HIV cART drugs in
                                         Illinois;
                    14
                                      h. Iowa Code §§ 553.4, et seq., with respect to purchases of HIV cART drugs in
                    15                   Iowa;
                    16                i. Kan. Stat. Ann. §§ 50-161(b), et seq., with respect to purchases of HIV cART
                    17                   drugs in Kansas;

                    18                j. Me. Rev. Stat. Ann. tit. 10, §§ 1101, et seq., with respect to purchases of HIV
                                         cART drugs in Maine;
                    19
                                      k. Md. Code Ann., Com. Law §§ 11-201, et seq., with respect to purchases of HIV
                    20                   cART drugs in Maryland;
                    21                l. Mich. Comp. Laws Ann. §§ 445.772, et seq., with respect to purchases of HIV
                                         cART drugs in Michigan;
                    22

                    23                m. Minn. Stat. §§ 325D.51, et seq., and Minn. Stat. §§ 8.31, et seq., with respect to
                                         purchases of HIV cART drugs in Minnesota;
                    24
                                      n. Miss. Code Ann. §§ 75-21-1, et seq., with respect to purchases of HIV cART
                    25                   drugs in Mississippi;
                    26                o. Mont. Code Ann. §§ 30-14-201, et seq., with respect to purchases of HIV cART
                                         drugs in Montana;
                    27

                    28                p. Neb. Rev. Stat. §§ 59-801, et seq., with respect to purchases of HIV cART drugs
                                         in Nebraska;
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                     1              q. Nev. Rev. Stat. §§ 598A.060, et seq., with respect to purchases of HIV cART
                                       drugs in Nevada;
                     2
                                    r. N.H. Rev. Stat. Ann. §§ 356:2, et seq., with respect to purchases of HIV cART
                     3
                                       drugs in New Hampshire;
                     4
                                    s. N.M. Stat. Ann. §§ 57-1-1, et seq., with respect to purchases of HIV cART drugs
                     5                 in New Mexico;

                     6              t. N.Y. Gen. Bus. Law §§ 340, et seq., with respect to purchases of HIV cART drugs
                                       in New York;
                     7
                                    u. N.C. Gen. Stat. §§ 75-1, et seq., with respect to purchases of HIV cART drugs in
                     8
                                       North Carolina;
                     9
                                    v. N.D. Cent. Code §§ 51-08.1-02, et seq., with respect to purchases of HIV cART
                    10                 drugs in North Dakota;

                    11              w. Or. Rev. Stat. §§ 646.705, et seq., with respect to purchases of HIV cART drugs in
                                       Oregon;
                    12
                                    x. P.R. Laws Ann. tit. 10 §§ 257, et seq., with respect to purchases of HIV cART
                    13                 drugs in Puerto Rico;
                    14
                                    y. R.I. Gen. Laws §§ 6-36-4, et seq., with respect to purchases of HIV cART drugs in
                    15                 Rhode Island;

                    16              z. S.D. Codified Laws §§ 37-1-3.1, et seq., with respect to purchases of HIV cART
                                       drugs in South Dakota;
                    17
                                    aa. Tenn. Code Ann. §§ 47-25-101, et seq., with respect to purchases of HIV cART
                    18                  drugs in Tennessee, in that the actions and transactions alleged herein substantially
                                        affected Tennessee trade or commerce;
                    19

                    20              bb. Utah Code Ann. §§ 76-10-3101, et seq., with respect to purchases of HIV cART
                                        drugs in Utah, where Plaintiff is a citizen of Utah;
                    21
                                    cc. Vt. Stat. Ann. tit. 9, §§ 2453, et seq., with respect to purchases of HIV cART drugs
                    22                  in Vermont;
                    23              dd. W.Va. Code §§ 47-18-3, et seq., with respect to purchases of HIV cART drugs in
                                        West Virginia; and
                    24

                    25              ee. Wis. Stat. §§ 133.03, et seq., with respect to purchases of HIV cART drugs in
                                        Wisconsin.
                    26

                    27          398.    Gilead and BMS’s conduct in violation of each of the foregoing laws was done

                    28   knowingly, willingly, and flagrantly.
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                     1          399.    Gilead and BMS’s unlawful acts had, and continue to have, a substantial and
                     2   foreseeable effect on the commerce of each above state and territory by artificially raising and
                     3   fixing prices for the drugs at issue paid for and/or dispensed in each state or territory.
                     4          400.    Gilead and BMS’s unlawful activities, as described in this Complaint, also affected
                     5   both intrastate commerce and interstate commerce flowing into or out from each of the above
                     6   states and territories, and had direct, substantial, and reasonably foreseeable effects upon trade
                     7   and commerce in each respective state or territory.
                     8          401.    During the relevant period, through Gilead, BMS, or the regional and national
                     9   distributors and retailers that they have engaged for the sale of the drugs at issue, many millions
                    10   of dollars’ worth of those drugs have been, and continue to be, sold in each of the above states
                    11   and territories every year.
                    12          402.    There was and is a gross and unconscionable disparity between the price that
                    13   Plaintiff paid for the drugs at issue and the value received, given that more cheaply priced drugs
                    14   should have been available, and would have been available, absent Gilead and BMS’s illegal
                    15   conduct.
                    16          403.    As a direct and proximate result of Gilead and BMS’s violation of each of the
                    17   foregoing laws, Plaintiff has been harmed by paying artificially inflated, supracompetitive prices
                    18   for cART drugs dispensed to its members in these states and territories and suffered damages in
                    19   an amount to be proven at trial.
                    20                                         COUNT V:
                            Conspiracy to Monopolize/Restrain Trade in Violation of California’s Cartwright Act
                    21                                    (Gilead and Janssen)
                    22          404.    Plaintiff incorporates by reference the allegations set forth in the preceding

                    23   paragraphs.

                    24          405.    At all relevant times, Gilead has possessed substantial market power in the cART

                    25   market and narrower markets therein. More than 80% of patients starting an HIV regimen in the

                    26   U.S. and more than 80% of patients continuing on a HIV regimen, take one of Gilead’s products

                    27   every day. Gilead has the market shares alleged in detail above and possesses the power to

                    28
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                     1   control prices in, prevent prices from falling in, and exclude competitors from the cART market
                     2   and narrower markets therein.
                     3          406.    That market power is coupled with strong regulatory and contractual barriers to
                     4   entry into the cART market.
                     5          407.    As stated more fully above, Gilead willfully obtained and maintained its monopoly
                     6   power in the cART market by enlisting Janssen in a conspiracy to monopolize that included:
                     7              •   Entering into and abiding by the illegal No-Generics Restraints;
                     8              •   Entering into and abiding by the Complera Agreement, Prezcobix Agreement,
                                        Odefsey Agreement, and Symtuza Agreement, each of which was a horizontal
                     9                  market allocation agreement;
                    10              •   Entering into and abiding by the illegal post-patent-expiration royalty provisions;
                    11              •   Degrading Stribild and artificially raising its price in order to drive patients to
                                        TAF-based FDCs that it had shielded from competition;
                    12
                                    •   Degrading standalone TAF, also in furtherance of the scheme to drive patients to
                    13
                                        TAF-based FDCs that it had shielded from competition;
                    14
                                    •   Abusing the regulatory process, by withholding an HIV indication from standalone
                    15                  TAF in order to raise rivals’ costs and delay their entry into the market; and

                    16              •   Causing delayed entry of generic versions of Viread, Truvada, and Atripla.

                    17          408.    Janssen consciously committed to the monopolization scheme when it provided

                    18   the No-Generics Restraints protecting Gilead’s drugs from generic competition, received the No-

                    19   Generics Restraints from Gilead protecting its drugs from generic competition, and abided by

                    20   those Restraints.

                    21          409.    Janssen knew that Gilead was seeking to obtain and maintain monopoly power in

                    22   the cART market and the markets for specific cART drugs. It knew that: (1) tenofovir was a

                    23   critical backbone of cART therapies and TDF would dominate the cART market; (2) TDF had a

                    24   limited patent life, and (3) Gilead was pursuing a strategy of creating FDCs with other

                    25   manufacturers and developers of cART components with longer or stronger patent life so as to

                    26   extend the “product life cycle” of TDF and TDF-based cART regimens.

                    27          410.    Janssen carefully monitors sales in the cART market and the contractual

                    28   arrangements between and among participants in that market.
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                     1          411.    When it provided its first No-Generics Restraint to Gilead in July 2009 regarding
                     2   Complera, Janssen knew that Gilead had a market share of more than 70% of the cART market.
                     3   As of that date, Janssen also knew from Gilead’s public SEC filings that Gilead had entered into a
                     4   No-Generics Restraint with BMS protecting Gilead’s drugs from competition.
                     5          412.    By December 2014 when it entered into No-Generics Restraints on Odefsey and
                     6   Symtuza, Janssen knew that Gilead’s scheme included switching its tenofovir-based cART
                     7   monopoly to TAF-based FDCs. It also knew that Gilead’s cART market share was more than
                     8   70%, nine out of ten patients new to treatment were prescribed a Gilead medicine, and
                     9   approximately 85% of all patients receiving cART therapy were on a Gilead drug. And Janssen
                    10   knew that its No-Generics Restraints and BMS’s No-Generics Restraints enabled Gilead, BMS,
                    11   and Janssen to tie up a majority of sales of NRTIs and third agents, as well as more than 75% of
                    12   sales of booster drugs. Janssen therefore knew that its unlawful agreements substantially
                    13   contributed to Gilead’s unlawful maintenance of a monopoly in the cART market and the markets
                    14   for specific cART drugs.
                    15          413.    Janssen participated in the conspiracy to monopolize with Gilead because Janssen
                    16   benefitted directly from it, including from: (a) the Complera and Odefsey No-Generics Restraints,
                    17   which incentivized Gilead to switch patients to those drugs and thereby increased Janssen’s sales
                    18   of its third agent RPV as a component of Complera and Odefsey; (b) the lump-sum payments
                    19   Janssen received from Gilead; (c) the degrading of standalone TAF, which increased sales of
                    20   Odefsey; and (d) the No-Generics Restraints protecting Janssen’s Prezcobix and Symtuza from
                    21   competition. Janssen also benefitted from the other elements of Gilead’s scheme which enabled
                    22   Gilead to obtain and maintain its monopoly power and supracompetitive prices for cART drugs
                    23   generally, and thereby allowed Janssen to charge higher prices on its other cART drugs.
                    24          414.    To the extent that Gilead and Janssen are permitted to assert one, there is and was
                    25   no cognizable, non-pretextual procompetitive justification for the companies’ conduct comprising
                    26   the anticompetitive scheme that outweighs its harmful effects. Even if there were some
                    27   conceivable such justification that Gilead and Janssen were permitted to assert, the scheme is and
                    28   was broader and more anticompetitive than necessary to achieve such a purpose.
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                     1            415.   By engaging in the foregoing conduct, individually and in concert, Gilead and
                     2   Janssen intentionally and wrongfully violated California’s Cartwright Act (Cal. Bus. & Prof.
                     3   Code §§ 16700, et seq.).
                     4            416.   Gilead and Janssen’s violation of the Cartwright Act was done knowingly,
                     5   willingly, and flagrantly.
                     6            417.   Gilead and Janssen’s unlawful acts had, and continue to have, a substantial and
                     7   foreseeable effect on California commerce by artificially raising and fixing prices for the drugs at
                     8   issue.
                     9            418.   Gilead and Janssen’s unlawful activities, as described in this Complaint, also
                    10   affected both intrastate commerce and interstate commerce flowing in to or out from California
                    11   and had direct, substantial, and reasonably foreseeable effects upon trade and commerce in
                    12   California.
                    13            419.   During the relevant period, through Gilead, Janssen, or the regional and national
                    14   distributors and retailers that they have engaged for the sale of the drugs at issue, many millions
                    15   of dollars’ worth of those drugs have been, and continue to be, sold each year in California.
                    16   Moreover, Gilead sells all of its HIV drugs from its headquarters in California.
                    17            420.   There was and is a gross and unconscionable disparity between the price that
                    18   Plaintiff paid for the drugs at issue and the value received, given that more cheaply priced drugs
                    19   should have been available, and would have been available, absent Gilead and Janssen’s illegal
                    20   conduct.
                    21            421.   As a direct and proximate result of Gilead and Janssen’s violation of the
                    22   Cartwright Act, Plaintiff has been harmed by paying artificially inflated, supracompetitive prices
                    23   for cART drugs dispensed to its members and suffered damages in an amount to be proven at
                    24   trial.
                    25                                         COUNT VI:
                            Conspiracy to Monopolize/Restrain Trade in Violation of Various State Antitrust Laws
                    26                                     (Gilead and Janssen)
                    27            422.   Plaintiff incorporates by reference the allegations set forth in the preceding

                    28   paragraphs.
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                     1          423.    This claim for relief is pleaded in the alternative to the Fifth Count, in the event it
                     2   is determined that all of Plaintiff’s claims for relief related to its payments and reimbursements
                     3   for cART drugs are not governed by California law.
                     4          424.    At all relevant times, Gilead has possessed substantial market power in the cART
                     5   market and narrower markets therein. More than 80% of patients starting an HIV regimen in the
                     6   U.S., and more than 80% of patients continuing on a HIV regimen, take one of Gilead’s products
                     7   every day. Gilead has the market shares alleged in detail above and possesses the power to
                     8   control prices in, prevent prices from falling in, and exclude competitors from the cART market
                     9   and narrower markets therein.
                    10          425.    That market power is coupled with strong regulatory and contractual barriers to
                    11   entry into the cART market.
                    12          426.    As stated more fully above, Gilead willfully obtained and maintained its monopoly
                    13   power in the cART market by enlisting Janssen in a conspiracy to monopolize that included:
                    14              •   Entering into and abiding by the illegal No-Generics Restraints;
                    15              •   Entering into and abiding by the Complera Agreement, Prezcobix Agreement,
                                        Odefsey Agreement, and Symtuza Agreement, each of which was a horizontal
                    16                  market allocation agreement;
                    17              •   Entering into and abiding by the illegal post-patent-expiration royalty provisions;

                    18              •   Degrading Stribild and artificially raising its price in order to drive patients to
                                        TAF-based FDCs that it had shielded from competition;
                    19
                                    •   Degrading standalone TAF, also in furtherance of the scheme to drive patients to
                    20                  TAF-based FDCs that it had shielded from competition;

                    21              •   Abusing the regulatory process, by withholding an HIV indication from standalone
                                        TAF in order to raise rivals’ costs and delay their entry into the market; and
                    22
                                    •   Causing delayed entry of generic versions of Viread, Truvada, and Atripla.
                    23

                    24          427.    Janssen consciously committed to the monopolization when it provided the No-

                    25   Generics Restraints protecting Gilead’s drugs from generic competition, received the No-

                    26   Generics Restraints from Gilead protecting its drugs from generic competition, and abided by

                    27   those Restraints.

                    28
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                     1          428.    Janssen knew that Gilead was seeking to obtain and maintain monopoly power in
                     2   the cART market and the markets for specific cART drugs. It knew that: (1) tenofovir was a
                     3   critical backbone of cART therapies and TDF would dominate the cART market; (2) TDF had a
                     4   limited patent life, and (3) Gilead was pursuing a strategy of creating FDCs with other
                     5   manufacturers and developers of cART components with longer or stronger patent life so as to
                     6   extend the “product life cycle” of TDF and TDF-based cART regimens.
                     7          429.    Janssen carefully monitors sales in the cART market and the contractual
                     8   arrangements between and among participants in that market.
                     9          430.    When it provided its first No-Generics Restraint to Gilead in July 2009 regarding
                    10   Complera, Janssen knew that Gilead had a market share of more than 70% of the cART market.
                    11   As of that date, Janssen also knew from Gilead’s public SEC filings that Gilead had entered into a
                    12   No-Generics Restraint with BMS protecting Gilead’s drugs from competition.
                    13          431.    By December 2014 when it entered into No-Generics Restraints on Odefsey and
                    14   Symtuza, Janssen knew that Gilead’s scheme included switching its tenofovir-based cART
                    15   monopoly to TAF-based FDCs. It also knew that Gilead’s cART market share was more than
                    16   70%, nine out of ten patients new to treatment were prescribed a Gilead medicine, and
                    17   approximately 85% of all patients receiving cART therapy were on a Gilead drug. And Janssen
                    18   knew that its No-Generics Restraints and BMS’s No-Generics Restraints enabled Gilead, BMS,
                    19   and Janssen to tie up more a majority of sales of NRTIs and third agents, as well as a majority of
                    20   sales of booster drugs. Janssen therefore knew that its unlawful agreements substantially
                    21   contributed to Gilead’s unlawful maintenance of a monopoly in the cART market and the markets
                    22   for specific cART drugs.
                    23          432.    Janssen participated in the conspiracy to monopolize because Janssen benefitted
                    24   directly from it, including from: (a) the Complera and Odefsey No-Generics Restraints, which
                    25   incentivized Gilead to switch patients to those drugs and thereby increased Janssen’s sales of its
                    26   third agent RPV as a component of Complera and Odefsey; (b) the lump-sum payments Janssen
                    27   received from Gilead; (c) the degrading of standalone TAF, which increased sales of Odefsey;
                    28   and (d) the No-Generics Restraints protecting Janssen’s Prezcobix and Symtuza from
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                     1   competition. Janssen also benefitted from the other elements of Gilead’s scheme which enabled
                     2   Gilead to obtain and maintain its monopoly power and supracompetitive prices for cART drugs
                     3   generally, and thereby allowed Janssen to charge higher prices on its other cART drugs.
                     4          433.     To the extent that Gilead and Janssen are permitted to assert one, there is and was
                     5   no cognizable, non-pretextual procompetitive justification for the companies’ conduct comprising
                     6   the anticompetitive scheme that outweighs its harmful effects. Even if there were some
                     7   conceivable such justification that Gilead and Janssen were permitted to assert, the scheme is and
                     8   was broader and more anticompetitive than necessary to achieve such a purpose.
                     9          434.     By engaging in the foregoing conduct individually and in concert, Gilead and
                    10   Janssen intentionally and wrongfully violated antitrust and competition statutes of all states and
                    11   territories that may provide any relief for indirect purchasers, including each of the following
                    12   such laws:
                    13                a. Ala. Code §§ 8-10-3, et seq., with respect to purchases of HIV cART drugs in
                                         Alabama;
                    14
                                      b. Ariz. Rev. Stat. §§ 44-1402, et seq., with respect to purchases of HIV cART drugs
                    15                   in Arizona;
                    16                c. Cal. Bus. & Prof. Code §§ 16700, et seq., and California common law, with
                    17                   respect to purchases of HIV cART drugs in California;

                    18                d. Conn. Gen. Stat. §§ 35-26, et seq., with respect to purchases of HIV cART drugs
                                         in Connecticut;
                    19
                                      e. D.C. Code §§ 28-4502, et seq., with respect to purchases of HIV cART drugs in
                    20                   the District of Columbia;
                    21                f. Haw. Code §§ 480-2, et seq., with respect to purchases of HIV cART drugs in
                    22                   Hawaii;

                    23                g. 740 Ill. Comp. Stat. 10/3, et seq., with respect to purchases of HIV cART drugs in
                                         Illinois;
                    24
                                      h. Iowa Code §§ 553.4, et seq., with respect to purchases of HIV cART drugs in
                    25                   Iowa;
                    26                i. Kan. Stat. Ann. §§ 50-161(b), et seq., with respect to purchases of HIV cART
                                         drugs in Kansas;
                    27

                    28                j. Me. Rev. Stat. Ann. tit. 10, §§ 1101, et seq., with respect to purchases of HIV
                                         cART drugs in Maine;
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                     1           k. Md. Code Ann., Com. Law §§ 11-201, et seq., with respect to purchases of HIV
                                    cART drugs in Maryland;
                     2
                                 l. Mich. Comp. Laws Ann. §§ 445.772, et seq., with respect to purchases of HIV
                     3
                                    cART drugs in Michigan;
                     4
                                 m. Minn. Stat. §§ 325D.51, et seq., and Minn. Stat. §§ 8.31, et seq., with respect to
                     5              purchases of HIV cART drugs in Minnesota;

                     6           n. Miss. Code Ann. §§ 75-21-1, et seq., with respect to purchases of HIV cART
                                    drugs in Mississippi;
                     7
                                 o. Mont. Code Ann. §§ 30-14-201, et seq., with respect to purchases of HIV cART
                     8
                                    drugs in Montana;
                     9
                                 p. Neb. Rev. Stat. §§ 59-801, et seq., with respect to purchases of HIV cART drugs
                    10              in Nebraska;

                    11           q. Nev. Rev. Stat. §§ 598A.060, et seq., with respect to purchases of HIV cART
                                    drugs in Nevada;
                    12
                                 r. N.H. Rev. Stat. Ann. §§ 356:2, et seq., with respect to purchases of HIV cART
                    13              drugs in New Hampshire;
                    14
                                 s. N.M. Stat. Ann. §§ 57-1-1, et seq., with respect to purchases of HIV cART drugs
                    15              in New Mexico;

                    16           t. N.Y. Gen. Bus. Law §§ 340, et seq., with respect to purchases of HIV cART drugs
                                    in New York;
                    17
                                 u. N.C. Gen. Stat. §§ 75-1, et seq., with respect to purchases of HIV cART drugs in
                    18              North Carolina;
                    19           v. N.D. Cent. Code §§ 51-08.1-02, et seq., with respect to purchases of HIV cART
                    20              drugs in North Dakota;

                    21           w. Or. Rev. Stat. §§ 646.705, et seq., with respect to purchases of HIV cART drugs in
                                    Oregon;
                    22
                                 x. P.R. Laws Ann. tit. 10 §§ 257, et seq., with respect to purchases of HIV cART
                    23              drugs in Puerto Rico;
                    24           y. R.I. Gen. Laws §§ 6-36-4, et seq., with respect to purchases of HIV cART drugs in
                    25              Rhode Island;

                    26           z. S.D. Codified Laws §§ 37-1-3.1, et seq., with respect to purchases of HIV cART
                                    drugs in South Dakota;
                    27

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                     1              aa. Tenn. Code Ann. §§ 47-25-101, et seq., with respect to purchases of HIV cART
                                        drugs in Tennessee, in that the actions and transactions alleged herein substantially
                     2                  affected Tennessee trade or commerce;
                     3
                                    bb. Utah Code Ann. §§ 76-10-3101, et seq., with respect to purchases of HIV cART
                     4                  drugs in Utah, where Plaintiff is a citizen of Utah;

                     5              cc. Vt. Stat. Ann. tit. 9, §§ 2453, et seq., with respect to purchases of HIV cART drugs
                                        in Vermont;
                     6
                                    dd. W.Va. Code §§ 47-18-3, et seq., with respect to purchases of HIV cART drugs in
                     7                  West Virginia; and
                     8
                                    ee. Wis. Stat. §§ 133.03, et seq., with respect to purchases of HIV cART drugs in
                     9                  Wisconsin.

                    10          435.    Gilead and Janssen’s conduct in violation of each of the foregoing laws was done
                    11   knowingly, willingly, and flagrantly.
                    12          436.    Gilead and Janssen’s unlawful acts had, and continue to have, a substantial and
                    13   foreseeable effect on the commerce of each above state and territory by artificially raising and
                    14   fixing prices for the drugs at issue paid for and/or dispensed in each state or territory.
                    15          437.    Gilead and Janssen’s unlawful activities, as described in this Complaint, also
                    16   affected both intrastate commerce and interstate commerce flowing into or out from each of the
                    17   above states and territories, and had direct, substantial, and reasonably foreseeable effects upon
                    18   trade and commerce in each respective state or territory.
                    19          438.    During the relevant period, through Gilead, Janssen, or the regional and national
                    20   distributors and retailers that they have engaged for the sale of the drugs at issue, many millions
                    21   of dollars’ worth of those drugs have been, and continue to be, sold in each of the above states
                    22   and territories every year.
                    23          439.    There was and is a gross and unconscionable disparity between the price that
                    24   Plaintiff paid for the drugs at issue and the value received, given that more cheaply priced drugs
                    25   should have been available, and would have been available, absent Gilead and Janssen’s illegal
                    26   conduct.
                    27          440.    As a direct and proximate result of Gilead and Janssen’s violation of each of the
                    28   foregoing laws, Plaintiff has been harmed by paying artificially inflated, supracompetitive prices
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                     1   for cART drugs dispensed to its members in these states and territories and suffered damages in
                     2   an amount to be proven at trial.
                     3                                        COUNT VII:
                              Monopolization and Monopolistic Scheme in Violation of Section 2 of the Sherman
                     4                               Antitrust Act (15 U.S.C. § 2)
                                                                (Gilead)
                     5

                     6          441.    Plaintiff incorporates by reference the allegations set forth in the preceding

                     7   paragraphs.

                     8          442.    At all relevant times, Gilead has possessed substantial market power (i.e.,

                     9   monopoly power) in the cART market and narrower markets therein. More than 80% of patients

                    10   starting an HIV regimen in the U.S., and more than 80% of continuing patients, take one or more

                    11   of Gilead’s products every day. Gilead has the market shares alleged in detail above and

                    12   possesses the power to control prices in, prevent prices from falling in, and exclude competitors

                    13   from the cART market and narrower markets therein.

                    14          443.    That market power is coupled with strong regulatory and contractual barriers to

                    15   entry into the cART market.

                    16          444.    As alleged above, Gilead willfully obtained and maintained its monopoly power in

                    17   the cART market and narrower markets therein using restrictive or exclusionary conduct, rather

                    18   than by means of greater business acumen, and injured Plaintiff thereby.

                    19          445.    Gilead’s conscious objective was to further its dominance in the cART market and

                    20   narrower markets therein by and through its exclusionary conduct.

                    21          446.    As stated more fully above, Gilead knowingly, willfully, and wrongfully obtained

                    22   and maintained its monopoly power by engaging in a comprehensive scheme to impede, delay,

                    23   and blockade competition, including through the following conduct:

                    24              •   Entering into and abiding by the illegal No-Generics Restraints in its separate
                                        agreements with BMS and Janssen;
                    25
                                    •   Entering into and abiding by the Atripla Agreement, Complera Agreement,
                    26
                                        Prezcobix Agreement, Evotaz Agreement, Odefsey Agreement, and Symtuza
                    27                  Agreement, each of which was a horizontal market allocation agreement;

                    28              •   Entering into and abiding by the illegal post-patent-expiration royalty provisions;
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                     1              •   Degrading Stribild and artificially raising its price in order to drive patients to
                                        TAF-based FDCs that it had shielded from competition;
                     2
                                    •   Degrading standalone TAF, also in furtherance of the scheme to drive patients to
                     3
                                        the TAF-based FDCs that it had shielded from competition;
                     4
                                    •   Abusing the regulatory process, by withholding an HIV indication from standalone
                     5                  TAF, in order to raise rivals’ costs and delay their entry into the market; and

                     6              •   Causing delayed entry of generic versions of Viread, Truvada, and Atripla.
                     7          447.    Gilead’s anticompetitive conduct identified above is exclusionary conduct, the
                     8   purpose and effect of which is to willfully maintain Gilead’s monopoly power, which harms the
                     9   competitive process and consumers, in violation of Section 2 of the Sherman Act.
                    10          448.    To the extent that Gilead is permitted to assert one, there is and was no cognizable,
                    11   non-pretextual procompetitive justification for its exclusionary conduct that outweighs that
                    12   conduct’s harmful effects. Even if there were some conceivable such justification that Gilead
                    13   were permitted to assert, the conduct is and was broader and more anticompetitive than necessary
                    14   to achieve such a purpose.
                    15          449.    Plaintiff has been injured, and unless Gilead’s unlawful conduct is enjoined, will
                    16   continue to be injured, in its business and property as a result of Gilead’s continuing
                    17   monopolization in violation of Section 2 of the Sherman Act.
                    18                                       COUNT VIII:
                            Monopolization and Monopolistic Scheme in Violation of California’s Cartwright Act
                    19                                          (Gilead)
                    20          450.    Plaintiff incorporates by reference the allegations set forth in the preceding
                    21   paragraphs.
                    22          451.    At all relevant times, Gilead has possessed substantial market power (i.e.,
                    23   monopoly power) in the cART market and narrower markets therein. More than 80% of patients
                    24   starting an HIV regimen in the U.S., and more than 80% of continuing patients, take one or more
                    25   of Gilead’s products every day. Gilead has the market shares alleged in detail above and
                    26   possesses the power to control prices in, prevent prices from falling in, and exclude competitors
                    27   from the cART market and narrower markets therein.
                    28
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                     1          452.    That market power is coupled with strong regulatory and contractual barriers to
                     2   entry into the cART market.
                     3          453.    As alleged above, Gilead, acting individually and in concert with other defendants,
                     4   willfully obtained and maintained its monopoly power in the cART market and narrower markets
                     5   therein using restrictive or exclusionary conduct, rather than by means of greater business
                     6   acumen, and injured Plaintiff thereby.
                     7          454.    Gilead’s conscious objective was to further its dominance in the cART market and
                     8   narrower markets therein by and through its exclusionary conduct.
                     9          455.    As stated more fully above, Gilead, acting individually and aided by other
                    10   defendants, knowingly, willfully, and wrongfully obtained and maintained its monopoly power
                    11   and harmed competition by:
                    12              •   Entering into and abiding by the illegal No-Generics Restraints it entered into
                                        separately with Janssen and BMS;
                    13
                                    •   Entering into and abiding by the Atripla Agreement, Complera Agreement,
                    14                  Prezcobix Agreement, Evotaz Agreement, Odefsey Agreement, and Symtuza
                                        Agreement, each of which was a horizontal market allocation agreement;
                    15
                                    •   Entering into and abiding by the illegal post-patent-expiration royalty provisions;
                    16
                                    •   Degrading Stribild and artificially raising its price in order to drive patients to
                    17
                                        TAF-based FDCs that it had shielded from competition;
                    18
                                    •   Degrading standalone TAF, also in furtherance of the scheme to drive patients to
                    19                  the TAF-based FDCs that it had shielded from competition;

                    20              •   Abusing the regulatory process, by withholding an HIV indication from standalone
                                        TAF, in order to raise rivals’ costs and delay their entry into the market; and
                    21
                                    •   Causing delayed entry of generic versions of Viread, Truvada, and Atripla.
                    22

                    23          456.    To the extent that Gilead is permitted to assert one, there is and was no cognizable,

                    24   non-pretextual procompetitive justification for its exclusionary conduct that outweighs that

                    25   conduct’s harmful effects. Even if there were some conceivable such justification that Gilead

                    26   were permitted to assert, the conduct is and was broader and more anticompetitive than necessary

                    27   to achieve such a purpose.

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                     1           457.   By engaging in the foregoing conduct, Gilead intentionally and wrongfully
                     2   violated California’s Cartwright Act (Cal. Bus. & Prof. Code §§ 16700, et seq.).
                     3           458.   Gilead’s violation of the Cartwright Act was done knowingly, willingly, and
                     4   flagrantly.
                     5           459.   Gilead’s unlawful acts had, and continue to have, a substantial and foreseeable
                     6   effect on California commerce by artificially raising and fixing prices for the drugs at issue.
                     7           460.   Gilead’s unlawful activities, as described in this Complaint, also affected both
                     8   intrastate commerce and interstate commerce flowing into or out from California and had direct,
                     9   substantial, and reasonably foreseeable effects upon trade and commerce in California.
                    10           461.   During the relevant period, through either Gilead or the regional and national
                    11   distributors and retailers it has engaged for the sale of the drugs at issue, many millions of dollars’
                    12   worth of those drugs have been, and continue to be, sold each year in California. Moreover,
                    13   Gilead sells all of its HIV cART drugs from its headquarters in California.
                    14           462.   There was and is a gross and unconscionable disparity between the price that
                    15   Plaintiff paid for the drugs at issue and the value received, given that more cheaply priced drugs
                    16   should have been available, and would have been available, absent Gilead’s illegal conduct.
                    17           463.   As a direct and proximate result of Gilead’s violation of the Cartwright Act,
                    18   Plaintiff has been harmed by paying artificially inflated, supracompetitive prices for cART drugs
                    19   dispensed to its members and suffered damages in an amount to be proven at trial.
                    20                                        COUNT IX:
                           Monopolization and Monopolistic Scheme in Violation of Various State Antitrust Laws
                    21                                         (Gilead)
                    22           464.   Plaintiff incorporates by reference the allegations set forth in the preceding

                    23   paragraphs.

                    24           465.   This claim for relief is pleaded in the alternative to the Eighth Count, in the event

                    25   it is determined that all of Plaintiff’s claims for monetary relief related to Plaintiff’s payments and

                    26   reimbursements for cART drugs are not governed by California law.

                    27           466.   At all relevant times, Gilead has possessed substantial market power (i.e.,

                    28   monopoly power) in the cART market and narrower markets therein. More than 80% of patients
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                     1   starting an HIV regimen in the U.S., and more than 80% of continuing patients, take one or more
                     2   of Gilead’s products every day. Gilead has the market shares alleged in detail above and
                     3   possesses the power to control prices in, prevent prices from falling in, and exclude competitors
                     4   from the cART market and narrower markets therein.
                     5          467.    That market power is coupled with strong regulatory and contractual barriers to
                     6   entry into the cART market.
                     7          468.    As alleged above, Gilead, acting individually and in concert with other defendants,
                     8   willfully obtained and maintained its monopoly power in the cART market and narrower markets
                     9   therein using restrictive or exclusionary conduct, rather than by means of greater business
                    10   acumen, and injured Plaintiff thereby.
                    11          469.    Gilead’s conscious objective was to further its dominance in the cART market and
                    12   narrower markets therein by and through its exclusionary conduct.
                    13          470.    As stated more fully above, Gilead, acting individually and aided by other
                    14   defendants, knowingly, willfully, and wrongfully obtained and maintained its monopoly power
                    15   and harmed competition by:
                    16              •   Entering into and abiding by the illegal No-Generics Restraints it entered into
                                        separately with BMS and Janssen;
                    17
                                    •   Entering into and abiding by the Atripla Agreement, Complera Agreement,
                    18                  Prezcobix Agreement, Evotaz Agreement, Odefsey Agreement, and Symtuza
                    19                  Agreement, each of which was a horizontal market allocation agreement;

                    20              •   Entering into and abiding by the illegal post-patent-expiration royalty provisions;

                    21              •   Degrading Stribild and artificially raising its price in order to drive patients to
                                        TAF-based FDCs that it had shielded from competition;
                    22
                                    •   Degrading standalone TAF, also in furtherance of the scheme to drive patients to
                    23                  the TAF-based FDCs that it had shielded from competition;
                    24
                                    •   Abusing the regulatory process, by withholding an HIV indication from standalone
                    25                  TAF, in order to raise rivals’ costs and delay their entry into the market; and

                    26              •   Causing delayed entry of generic versions of Viread, Truvada, and Atripla.

                    27          471.    To the extent that Gilead is permitted to assert one, there is and was no cognizable,

                    28   non-pretextual procompetitive justification for its exclusionary conduct that outweighs that
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                     1   conduct’s harmful effects. Even if there were some conceivable such justification that Gilead
                     2   were permitted to assert, the conduct is and was broader and more anticompetitive than necessary
                     3   to achieve such a purpose.
                     4          472.      By engaging in the foregoing conduct, Gilead intentionally and wrongfully
                     5   obtained and maintained monopoly power in the relevant market in violation of the following
                     6   state laws:
                     7                 a. Ala. Code §§ 8-10-3, et seq., with respect to purchases of HIV cART drugs in
                                          Alabama;
                     8
                                       b. Ariz. Rev. Stat. §§ 44-1402, et seq., with respect to purchases of HIV cART drugs
                     9                    in Arizona;
                    10                 c. Cal. Bus. & Prof. Code §§ 16700, et seq., and California common law, with
                    11                    respect to purchases of HIV cART drugs in California;

                    12                 d. Conn. Gen. Stat. §§ 35-26, et seq., with respect to purchases of HIV cART drugs
                                          in Connecticut;
                    13
                                       e. D.C. Code §§ 28-4502, et seq., with respect to purchases of HIV cART drugs in
                    14                    the District of Columbia;
                    15                 f. Haw. Code §§ 480-2, et seq., with respect to purchases of HIV cART drugs in
                    16                    Hawaii;

                    17                 g. 740 Ill. Comp. Stat. 10/3, et seq., with respect to purchases of HIV cART drugs in
                                          Illinois;
                    18
                                       h. Iowa Code §§ 553.4, et seq., with respect to purchases of HIV cART drugs in
                    19                    Iowa;
                    20                 i. Kan. Stat. Ann. §§ 50-161(b), et seq., with respect to purchases of HIV cART
                                          drugs in Kansas;
                    21

                    22                 j. Me. Rev. Stat. Ann. tit. 10, §§ 1101, et seq., with respect to purchases of HIV
                                          cART drugs in Maine;
                    23
                                       k. Md. Code Ann., Com. Law §§ 11-201, et seq., with respect to purchases of HIV
                    24                    cART drugs in Maryland;
                    25                 l. Mich. Comp. Laws Ann. §§ 445.772, et seq., with respect to purchases of HIV
                                          cART drugs in Michigan;
                    26
                                       m. Minn. Stat. §§ 325D.51, et seq., and Minn. Stat. §§ 8.31, et seq., with respect to
                    27
                                          purchases of HIV cART drugs in Minnesota;
                    28
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                     1           n. Miss. Code Ann. §§ 75-21-1, et seq., with respect to purchases of HIV cART
                                    drugs in Mississippi;
                     2
                                 o. Mont. Code Ann. §§ 30-14-201, et seq., with respect to purchases of HIV cART
                     3
                                    drugs in Montana;
                     4
                                 p. Neb. Rev. Stat. §§ 59-801, et seq., with respect to purchases of HIV cART drugs
                     5              in Nebraska;

                     6           q. Nev. Rev. Stat. §§ 598A.060, et seq., with respect to purchases of HIV cART
                                    drugs in Nevada;
                     7
                                 r. N.H. Rev. Stat. Ann. §§ 356:2, et seq., with respect to purchases of HIV cART
                     8
                                    drugs in New Hampshire;
                     9
                                 s. N.M. Stat. Ann. §§ 57-1-1, et seq., with respect to purchases of HIV cART drugs
                    10              in New Mexico;

                    11           t. N.Y. Gen. Bus. Law §§ 340, et seq., with respect to purchases of HIV cART drugs
                                    in New York;
                    12
                                 u. N.C. Gen. Stat. §§ 75-1, et seq., with respect to purchases of HIV cART drugs in
                    13              North Carolina;
                    14
                                 v. N.D. Cent. Code §§ 51-08.1-02, et seq., with respect to purchases of HIV cART
                    15              drugs in North Dakota;

                    16           w. Or. Rev. Stat. §§ 646.705, et seq., with respect to purchases of HIV cART drugs in
                                    Oregon;
                    17
                                 x. P.R. Laws Ann. tit. 10 §§ 257, et seq., with respect to purchases of HIV cART
                    18              drugs in Puerto Rico;
                    19           y. R.I. Gen. Laws §§ 6-36-4, et seq., with respect to purchases of HIV cART drugs in
                    20              Rhode Island;

                    21           z. S.D. Codified Laws §§ 37-1-3.1, et seq., with respect to purchases of HIV cART
                                    drugs in South Dakota;
                    22
                                 aa. Tenn. Code Ann. §§ 47-25-101, et seq., with respect to purchases of HIV cART
                    23               drugs in Tennessee, in that the actions and transactions alleged herein substantially
                                     affected Tennessee trade or commerce;
                    24

                    25           bb. Utah Code Ann. §§ 76-10-3101, et seq., with respect to purchases of HIV cART
                                     drugs in Utah, where Plaintiff is a citizen of Utah;
                    26
                                 cc. Vt. Stat. Ann. tit. 9, §§ 2453, et seq., with respect to purchases of HIV cART drugs
                    27               in Vermont;

                    28
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                     1               dd. W.Va. Code §§ 47-18-3, et seq., with respect to purchases of HIV cART drugs in
                                         West Virginia; and
                     2
                                     ee. Wis. Stat. §§ 133.03, et seq., with respect to purchases of HIV cART drugs in
                     3
                                         Wisconsin.
                     4

                     5           473.       Gilead’s conduct in violation of each of the foregoing laws was done knowingly,

                     6   willingly, and flagrantly.

                     7           474.       Gilead’s unlawful acts had, and continue to have, a substantial and foreseeable

                     8   effect on the commerce of each above state and territory by artificially raising and fixing prices

                     9   for the drugs at issue paid for and/or dispensed in each state or territory.

                    10           475.       Gilead’s unlawful activities, as described in this Complaint, also affected both

                    11   intrastate commerce and interstate commerce flowing in to or out from each of the above states

                    12   and territories, and had direct, substantial, and reasonably foreseeable effects upon trade and

                    13   commerce in each respective state or territory.

                    14           476.       During the relevant period, through either Gilead or the regional and national

                    15   distributors and retailers that it has engaged for the sale of the drugs at issue, many millions of

                    16   dollars’ worth of those drugs have been, and continue to be, sold in each of the above states and

                    17   territories every year.

                    18           477.       There was and is a gross and unconscionable disparity between the price that

                    19   Plaintiff paid for the drugs at issue and the value received, given that more cheaply priced drugs

                    20   should have been available, and would have been available, absent Gilead’s illegal conduct.

                    21           478.       As a direct and proximate result of Gilead’s violation of each of the foregoing

                    22   laws, Plaintiff has been harmed by paying artificially inflated, supracompetitive prices for cART

                    23   drugs dispensed to its members in these states and territories suffered damages in an amount to be

                    24   proven at trial.

                    25

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                     1                                          COUNT X:
                                            Attempted Monopolization in Violation of Section 2 of the
                     2                              Sherman Antitrust Act (15 U.S.C. § 2)
                                                                  (Gilead)
                     3

                     4          479.    Plaintiff incorporates by reference the allegations set forth in the preceding

                     5   paragraphs.

                     6          480.    At all relevant times, Gilead possessed substantial market power (i.e., monopoly

                     7   power), or possessed a dangerous probability of achieving monopoly power, in the cART market

                     8   and narrower markets therein.

                     9          481.    With the specific intent to achieve a monopoly, Gilead attempted to acquire and/or

                    10   willfully maintain monopoly power in the cART market and narrower markets therein by means

                    11   of restrictive or exclusionary conduct, rather than by means of greater business acumen, and

                    12   thereby injured Plaintiff.

                    13          482.    Gilead’s conscious objective was to further its dominance in the cART market and

                    14   narrower markets therein by and through its exclusionary conduct.

                    15          483.    As stated more fully above, Gilead, acting individually and in concert with other

                    16   defendants, knowingly, willfully, and wrongfully attempted to acquire and/or maintain monopoly

                    17   power by, without limitation and as will be further developed through discovery, the following

                    18   conduct:

                    19              •   Entering into and abiding by the illegal No-Generics Restraints separately with
                                        Janssen and BMS;
                    20
                                    •   Entering into and abiding by the Atripla Agreement, Complera Agreement,
                    21
                                        Prezcobix Agreement, Evotaz Agreement, Odefsey Agreement, and Symtuza
                    22                  Agreement, each of which was a horizontal market allocation agreement;

                    23              •   Degrading Stribild and artificially raising its price to drive patients to TAF-based
                                        FDCs that it had shielded from competition;
                    24
                                    •   Degrading standalone TAF, also in furtherance of the scheme to drive patients to
                    25                  TAF-based FDCs that it had shielded from competition;
                    26              •   Abusing the regulatory process, by withholding an HIV indication from standalone
                    27                  TAF, in order to raise rivals’ costs and delay their entry into the market; and

                    28              •   Causing delayed entry of generic versions of Viread, Truvada, and Atripla and
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                                        entering into no-AG agreements with Teva related to these drugs.
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                     1          484.    Gilead’s anticompetitive conduct identified above is exclusionary conduct, the
                     2   purpose and effect of which is to willfully attempt to acquire and/or maintain monopoly power
                     3   through exclusionary means, in violation of Section 2 of the Sherman Act.
                     4          485.    To the extent that Gilead is permitted to assert one, there is and was no cognizable,
                     5   non-pretextual procompetitive justification for its exclusionary conduct that outweighs that
                     6   conduct’s harmful effects. Even if there were some conceivable such justification that Gilead
                     7   were permitted to assert, the conduct is and was broader and more anticompetitive than necessary
                     8   to achieve such a purpose.
                     9          486.    As a direct and proximate result of Defendant’s antitrust violation(s), Plaintiff has
                    10   been injured in its business or property and will continue to suffer such injury unless the unlawful
                    11   conduct is enjoined. Its injury consists of having paid and continuing to pay higher prices than it
                    12   would have paid in the absence of the violation. Such overcharges are the type of injury the
                    13   antitrust laws were designed to prevent and flow from that which makes Gilead’s acts unlawful.
                    14                                          COUNT XI:
                                     Attempted Monopolization in Violation of California’s Cartwright Act
                    15                                            (Gilead)
                    16          487.    Plaintiff incorporates by reference the allegations set forth in the preceding

                    17   paragraphs.

                    18          488.    At all relevant times, Gilead possessed substantial market power (i.e., monopoly

                    19   power), or possessed a dangerous probability of achieving monopoly power, in the cART market

                    20   and narrower markets therein.

                    21          489.    With the specific intent to achieve a monopoly, Gilead attempted to acquire and/or

                    22   willfully maintain monopoly power in the cART market and narrower markets therein by means

                    23   of restrictive or exclusionary conduct, rather than by means of greater business acumen, and

                    24   thereby injured Plaintiff.

                    25          490.    Gilead’s conscious objective was to further its dominance in the cART market and

                    26   narrower markets therein by and through its exclusionary conduct.

                    27          491.    As stated more fully above, Gilead, acting individually and in concert with other

                    28   defendants, knowingly, willfully, and wrongfully attempted to acquire and/or maintain monopoly
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                     1   power by, without limitation and as will be further developed through discovery, the following
                     2   conduct:
                     3              •   Entering into and abiding by the illegal No-Generics Restraints separately with
                                        BMS and Janssen;
                     4
                                    •   Entering into and abiding by the Atripla Agreement, Complera Agreement,
                     5                  Prezcobix Agreement, Evotaz Agreement, Odefsey Agreement, and Symtuza
                     6                  Agreement, each of which was a horizontal market allocation agreement;

                     7              •   Degrading Stribild and artificially raising its price to drive patients to TAF-based
                                        FDCs that it had shielded from competition;
                     8
                                    •   Degrading standalone TAF, also in furtherance of the scheme to drive patients to
                     9                  TAF-based FDCs that it had shielded from competition;
                    10              •   Abusing the regulatory process, by withholding an HIV indication from standalone
                    11                  TAF, to raise rivals’ costs and delay their entry into the market; and

                    12              •   Causing delayed entry of generic versions of Viread, Truvada, and Atripla and
                                        entering into no-AG agreements with Teva related to these drugs.
                    13

                    14          492.    Gilead’s anticompetitive conduct identified above is exclusionary conduct, the

                    15   purpose and effect of which is to willfully attempt to acquire and/or maintain monopoly power

                    16   through exclusionary means, in violation of California’s Cartwright Act.

                    17          493.    Gilead’s unlawful acts had, and continue to have, a substantial and foreseeable

                    18   effect on California commerce by artificially raising and fixing prices for the drugs at issue.

                    19          494.    Gilead’s unlawful activities, as described in this Complaint, also affected both

                    20   intrastate commerce and interstate commerce flowing into or out from California and had direct,

                    21   substantial, and reasonably foreseeable effects upon trade and commerce in California.

                    22          495.    During the relevant period, through either Gilead or the regional and national

                    23   distributors and retailers it has engaged for the sale of the drugs at issue, many millions of dollars’

                    24   worth of those drugs have been, and continue to be, sold each year in California. Moreover,

                    25   Gilead sells all of its HIV cART drugs from its headquarters in California.

                    26          496.    There was and is a gross and unconscionable disparity between the price that

                    27   Plaintiff paid for the drugs at issue and the value received, given that more cheaply priced drugs

                    28   should have been available, and would have been available, absent Gilead’s illegal conduct.
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                     1          497.    As a direct and proximate result of Gilead’s violation of the Cartwright Act,
                     2   Plaintiff has been harmed by paying artificially inflated, supracompetitive prices for cART drugs
                     3   dispensed to its members and suffered damages in an amount to be proven at trial.
                     4                                         COUNT XII:
                     5              Attempted Monopolization in Violation of Various State Antitrust Laws
                                                                 (Gilead)
                     6

                     7          498.    Plaintiff incorporates by reference the allegations set forth in the preceding

                     8   paragraphs.

                     9          499.    This claim for relief is pleaded in the alternative to the Eleventh Count, in the

                    10   event it is determined that all of Plaintiff’s claims for relief related to its payments and

                    11   reimbursements for cART drugs are not governed by California law.

                    12          500.    At all relevant times, Gilead possessed substantial market power (i.e., monopoly

                    13   power), or possessed a dangerous probability of achieving monopoly power, in the cART market

                    14   and narrower markets therein.

                    15          501.    With the specific intent to achieve a monopoly, Gilead attempted to acquire and/or

                    16   willfully maintain monopoly power in the cART market and narrower markets therein by means

                    17   of restrictive or exclusionary conduct, rather than by means of greater business acumen, and

                    18   thereby injured Plaintiff.

                    19          502.    Gilead’s conscious objective was to further its dominance in the cART market and

                    20   narrower markets therein by and through its exclusionary conduct.

                    21          503.    As stated more fully above, Gilead, acting individually and in concert with other

                    22   defendants, knowingly, willfully, and wrongfully attempted to acquire and/or maintain monopoly

                    23   power by, without limitation and as will be further developed through discovery, the following

                    24   conduct:

                    25              •   Entering into and abiding by the illegal No-Generics Restraints separately with
                                        BMS and Janssen;
                    26
                                    •   Entering into and abiding by the Atripla Agreement, Complera Agreement,
                    27
                                        Prezcobix Agreement, Evotaz Agreement, Odefsey Agreement, and Symtuza
                    28                  Agreement, each of which was a horizontal market allocation agreement;
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                     1              •   Degrading Stribild and artificially raising its price to drive patients to TAF-based
                                        FDCs that it had shielded from competition;
                     2
                                    •   Degrading standalone TAF, also in furtherance of the scheme to drive patients to
                     3
                                        TAF-based FDCs that it had shielded from competition;
                     4
                                    •   Abusing the regulatory process, by withholding an HIV indication from standalone
                     5                  TAF, to raise rivals’ costs and delay their entry into the market; and

                     6              •   Causing delayed entry of generic versions of Viread, Truvada, and Atripla and
                                        entering into no-AG agreements with Teva related to those drugs.
                     7

                     8          504.    Gilead’s anticompetitive conduct identified above is exclusionary conduct, the

                     9   purpose and effect of which is to willfully attempt to acquire and/or maintain monopoly power

                    10   through exclusionary means, in violation of the following state laws:

                    11              a. Ala. Code §§ 8-10-3, et seq., with respect to purchases of HIV cART drugs in
                    12                 Alabama;

                    13              b. Ariz. Rev. Stat. §§ 44-1402, et seq., with respect to purchases of HIV cART drugs
                                       in Arizona;
                    14
                                    c. Cal. Bus. & Prof. Code §§ 16700, et seq., and California common law, with
                    15                 respect to purchases of HIV cART drugs in California;
                    16              d. Conn. Gen. Stat. §§ 35-26, et seq., with respect to purchases of HIV cART drugs
                                       in Connecticut;
                    17

                    18              e. D.C. Code §§ 28-4502, et seq., with respect to purchases of HIV cART drugs in
                                       the District of Columbia;
                    19
                                    f. Haw. Code §§ 480-2, et seq., with respect to purchases of HIV cART drugs in
                    20                 Hawaii;
                    21              g. 740 Ill. Comp. Stat. 10/3, et seq., with respect to purchases of HIV cART drugs in
                                       Illinois;
                    22
                                    h. Iowa Code §§ 553.4, et seq., with respect to purchases of HIV cART drugs in
                    23
                                       Iowa;
                    24
                                    i. Kan. Stat. Ann. §§ 50-161(b), et seq., with respect to purchases of HIV cART
                    25                 drugs in Kansas;

                    26              j. Md. Code Ann., Com. Law §§ 11-201, et seq., with respect to purchases of HIV
                                       cART drugs in Maryland;
                    27
                                    k. Me. Rev. Stat. Ann. tit. 10, §§ 1101, et seq., with respect to purchases of HIV
                    28
                                       cART drugs in Maine;
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                     1           l. Mich. Comp. Laws Ann. §§ 445.772, et seq., with respect to purchases of HIV
                                    cART drugs in Michigan;
                     2
                                 m. Minn. Stat. §§ 325D.51, et seq., and Minn. Stat. §§ 8.31, et seq., with respect to
                     3
                                    purchases of HIV cART drugs in Minnesota;
                     4
                                 n. Miss. Code Ann. §§ 75-21-1, et seq., with respect to purchases of HIV cART
                     5              drugs in Mississippi;

                     6           o. Mont. Code Ann. §§ 30-14-201, et seq., with respect to purchases of HIV cART
                                    drugs in Montana;
                     7
                                 p. Neb. Rev. Stat. §§ 59-801, et seq., with respect to purchases of HIV cART drugs
                     8
                                    in Nebraska;
                     9
                                 q. Nev. Rev. Stat. §§ 598A.060, et seq., with respect to purchases of HIV cART
                    10              drugs in Nevada;

                    11           r. N.H. Rev. Stat. Ann. §§ 356:2, et seq., with respect to purchases of HIV cART
                                    drugs in New Hampshire;
                    12
                                 s. N.M. Stat. Ann. §§ 57-1-1, et seq., with respect to purchases of HIV cART drugs
                    13              in New Mexico;
                    14
                                 t. N.Y. Gen. Bus. Law §§ 340, et seq., with respect to purchases of HIV cART drugs
                    15              in New York;

                    16           u. N.C. Gen. Stat. §§ 75-1, et seq., with respect to purchases of HIV cART drugs in
                                    North Carolina;
                    17
                                 v. N.D. Cent. Code §§ 51-08.1-02, et seq., with respect to purchases of HIV cART
                    18              drugs in North Dakota;
                    19           w. Or. Rev. Stat. §§ 646.705, et seq., with respect to purchases of HIV cART drugs in
                    20              Oregon;

                    21           x. P.R. Laws Ann. tit. 10 §§ 257, et seq., with respect to purchases of HIV cART
                                    drugs in Puerto Rico;
                    22
                                 y. R.I. Gen. Laws §§ 6-36-4, et seq., with respect to purchases of HIV cART drugs in
                    23              Rhode Island;
                    24           z. S.D. Codified Laws §§ 37-1-3.1, et seq., with respect to purchases of HIV cART
                    25              drugs in South Dakota;

                    26           aa. Tenn. Code Ann. §§ 47-25-101, et seq., with respect to purchases of HIV cART
                                     drugs in Tennessee, in that the actions and transactions alleged herein substantially
                    27               affected Tennessee trade or commerce;

                    28
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                     1                 bb. Utah Code Ann. §§ 76-10-3101, et seq., with respect to purchases of HIV cART
                                           drugs in Utah, where Plaintiff is a citizen of Utah;
                     2
                                       cc. Vt. Stat. Ann. tit. 9, §§ 2453, et seq., with respect to purchases of HIV cART drugs
                     3
                                           in Vermont;
                     4
                                       dd. W.Va. Code §§ 47-18-3, et seq., with respect to purchases of HIV cART drugs in
                     5                     West Virginia; and

                     6                 ee. Wis. Stat. §§ 133.03, et seq., with respect to purchases of HIV cART drugs in
                                           Wisconsin.
                     7

                     8           505.     Gilead’s unlawful acts had, and continue to have, a substantial and foreseeable

                     9   effect on the commerce of each above state and territory by artificially raising and fixing prices

                    10   for the drugs at issue paid for and/or dispensed in each state or territory.

                    11           506.     Gilead’s unlawful activities, as described in this Complaint, also affected both

                    12   intrastate commerce and interstate commerce flowing into or out from each of the above states

                    13   and territories, and had direct, substantial, and reasonably foreseeable effects upon trade and

                    14   commerce in each respective state or territory.

                    15           507.     During the relevant period, through either Gilead or the regional and national

                    16   distributors and retailers it has engaged for the sale of the drugs at issue, many millions of dollars’

                    17   worth of those drugs have been, and continue to be, sold in each of the above states and territories

                    18   every year.

                    19           508.     There was and is a gross and unconscionable disparity between the price that

                    20   Plaintiff paid for the drugs at issue and the value received, given that more cheaply priced drugs

                    21   should have been available, and would have been available, absent Gilead’s illegal conduct.

                    22           509.     As a direct and proximate result of Gilead’s violation of each of the foregoing

                    23   laws, Plaintiff has been harmed by paying artificially inflated, supracompetitive prices for cART

                    24   drugs dispensed to its members in these states and territories and suffered damages in an amount

                    25   to be proven at trial.

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                     1                                           COUNT XIII:
                                         Restraint of Trade in Violation of California’s Cartwright Act
                     2                                              (Gilead)
                     3          510.    Plaintiff incorporates by reference the allegations set forth in the preceding
                     4   paragraphs.
                     5          511.    Gilead violated California’s Cartwright Act by entering into and adhering to a
                     6   contract, combination, or conspiracy with Teva in unreasonable restraint of trade, namely:
                     7   (a) Gilead’s agreement to make a reverse payment to Teva in exchange for Teva’s agreement to
                     8   delay its launch of generic Viread until December 15, 2017; and (b) Gilead’s agreement to make a
                     9   reverse payment to Teva in exchange for Teva’s agreement to delay its launch of generic Truvada
                    10   and Atripla until September 30, 2020.
                    11          512.    At all relevant times, Gilead had substantial market power with respect to sales of
                    12   Truvada and its AB-rated generic equivalents in the U.S.
                    13          513.    As alleged in detail above, on or about February 19, 2013, Gilead and Teva
                    14   entered into a reverse-payment agreement, under which Gilead agreed to pay, and Teva agreed to
                    15   receive, substantial consideration in exchange for Teva’s agreement to delay bringing a generic
                    16   version of Viread to the market. The purposes and effects of that agreement were to: (a) prevent
                    17   the sale of a generic version of Viread in the U.S., thereby lengthening the period of time when
                    18   Viread was protected from generic competition; (b) allow Teva to earn supracompetitve profits on
                    19   generic Viread due to the absence of competition from other generic manufacturers; (c) delay the
                    20   date when other generic manufacturers would enter the market; and (d) maintain prices for Viread
                    21   and its AB-rated generic equivalents at supracompetitive levels. This reverse payment from
                    22   Gilead to Teva exceeded Gilead’s anticipated litigation costs to continue pursuing the patent
                    23   litigation, and was worth substantially more than what Teva could have earned if it had prevailed
                    24   in the patent litigation and come to market with a generic Viread in competition with Gilead’s
                    25   AG.
                    26          514.    Additionally, in or about February 2014, Gilead and Teva entered into another
                    27   reverse payment agreement, a continuing illegal contract, combination, and restraint of trade
                    28   under which Gilead agreed to pay, and Teva agreed to receive, substantial consideration in
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                     1   exchange for Teva’s agreement to delay bringing its generic versions of Truvada and Atripla to
                     2   market. The purposes and effects of the reverse payment were to: (a) delay generic entry of
                     3   Truvada and Atripla in order to lengthen the period in which Gilead would earn supracompetitive
                     4   profits on sales of Truvada and Atripla; (b) allow Teva to earn supracompetitive profits on
                     5   generic Truvada and Atripla due to the absence of competition from other generic manufacturers;
                     6   (c) delay the date that other generic manufacturers would enter that market; and (d) raise and
                     7   maintain the prices that Plaintiff would pay for Truvada, Atripla, and their AB-rated equivalents
                     8   at supracompetitive levels.
                     9            515.   By entering into the unlawful agreements, Gilead unlawfully conspired with Teva
                    10   to and did restrain trade, thereby violating California’s Cartwright Act.
                    11            516.   Gilead’s unlawful acts with Teva had, and continue to have, a substantial and
                    12   foreseeable effect on California commerce by artificially raising and fixing prices for the drugs at
                    13   issue.
                    14            517.   Gilead’s unlawful activities with Teva, as described in this Complaint, also
                    15   affected both intrastate commerce and interstate commerce flowing into or out from California
                    16   and had direct, substantial, and reasonably foreseeable effects upon trade and commerce in
                    17   California.
                    18            518.   During the relevant period, through Gilead, Teva, or the regional and national
                    19   distributors and retailers they have engaged for the sale of the drugs at issue, many millions of
                    20   dollars’ worth of those drugs have been, and continue to be, sold each year in California.
                    21   Moreover, Gilead sells all of its HIV cART drugs from its headquarters in California.
                    22            519.   There is and was no legitimate, procompetitive justification for the anticompetitive
                    23   restraint. Even if there were some conceivable and cognizable justification, the reverse payments
                    24   were not necessary to achieve such a purpose, and, in any event, such procompetitive effects
                    25   would be outweighed by the restraint’s anticompetitive effects on purchasers, competition, and
                    26   consumers.
                    27            520.   As a direct and proximate result of Gilead’s violation of the Cartwright Act,
                    28   Plaintiff has been harmed by paying artificially inflated, supracompetitive prices for HIV cART
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                     1   drugs dispensed to its members and suffered damages in an amount to be proven at trial.
                     2   Plaintiff’s injury consists of having paid higher prices for Viread, Truvada, Atripla, and their
                     3   generic equivalents, and continuing to pay higher prices than it would have paid in the absence of
                     4   the antitrust violation. Such injury is of the type the antitrust laws were designed to prevent, and
                     5   flows from that which makes Gilead’s conduct with Teva unlawful.
                     6                                            COUNT XIV:
                                         Restraint of Trade in Violation of Various State Antitrust Laws
                     7                                               (Gilead)
                     8          521.    Plaintiff incorporates by reference the allegations set forth in the preceding

                     9   paragraphs.

                    10          522.    This claim for relief is pleaded in the alternative to the Thirteenth Count, in the

                    11   event it is determined that all of Plaintiff’s claims for relief related to its payments and

                    12   reimbursements for cART drugs are not governed by California law.

                    13          523.    Gilead violated various state antitrust laws by entering into and adhering to a

                    14   contract, combination, or conspiracy in unreasonable restraint of trade with Teva, namely:

                    15   (a) Gilead’s agreement to make a reverse payment to Teva in exchange for Teva’s agreement to

                    16   delay its launch of generic Viread until December 15, 2017; and (b) Gilead’s agreement to make a

                    17   reverse payment to Teva in exchange for Teva’s agreement to delay its launch of generic Truvada

                    18   and Atripla until September 30, 2020.

                    19          524.    At all relevant times, Gilead had substantial market power with respect to sales of

                    20   Truvada and its AB-rated generic equivalents in the U.S.

                    21          525.    As alleged in detail above, on or about February 19, 2013, Gilead and Teva

                    22   entered into a reverse-payment agreement, under which Gilead agreed to pay, and Teva agreed to

                    23   receive, substantial consideration in exchange for Teva’s agreement to delay bringing a generic

                    24   version of Viread to the market. The purposes and effects of that agreement were to: (a) prevent

                    25   the sale of a generic version of Viread in the U.S., thereby lengthening the period of time when

                    26   Viread was protected from generic competition; (b) allow Teva to earn supracompetitve profits on

                    27   generic Viread due to the absence of competition from other generic manufacturers; (c) delay the

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                     1   date when other generic manufacturers would enter the market; and (d) maintain prices for Viread
                     2   and its AB-rated generic equivalents at supracompetitive levels.
                     3          526.    Additionally, in or about February 2014, Gilead and Teva entered into another
                     4   reverse payment agreement, a continuing illegal contract, combination, and restraint of trade
                     5   under which Gilead agreed to pay, and Teva agreed to receive, substantial consideration in
                     6   exchange for Teva’s agreement to delay bringing its generic versions of Truvada and Atripla to
                     7   market. The purposes and effects of the reverse payment were to: (a) delay generic entry of
                     8   Truvada and Atripla in order to lengthen the period in which Gilead would earn supracompetitive
                     9   profits on sales of Truvada and Atripla; (b) allow Teva to earn supracompetitive profits on
                    10   generic Truvada and Atripla due to the absence of competition from other generic manufacturers;
                    11   (c) delay the date that other generic manufacturers would enter that market; and (d) raise and
                    12   maintain the prices that Plaintiff would pay for Truvada, Atripla and their AB-rated equivalents at
                    13   supracompetitive levels.
                    14          527.    By entering into the unlawful agreements, Gilead unlawfully conspired with Teva
                    15   to and did restrain trade, thereby violating antitrust laws in the following states:
                    16              a. Ala. Code §§ 8-10-3, et seq., with respect to purchases of HIV cART drugs in
                                       Alabama;
                    17
                                    b. Ariz. Rev. Stat. §§ 44-1402, et seq., with respect to purchases of HIV cART drugs
                    18
                                       in Arizona;
                    19
                                    c. Cal. Bus. & Prof. Code §§ 16700, et seq., and California common law, with
                    20                 respect to purchases of HIV cART drugs in California;

                    21              d. Conn. Gen. Stat. §§ 35-26, et seq., with respect to purchases of HIV cART drugs
                                       in Connecticut;
                    22
                                    e. D.C. Code §§ 28-4502, et seq., with respect to purchases of HIV cART drugs in
                    23
                                       the District of Columbia;
                    24
                                    f. Haw. Code §§ 480-2, et seq., with respect to purchases of HIV cART drugs in
                    25                 Hawaii;

                    26              g. 740 Ill. Comp. Stat. 10/3, et seq., with respect to purchases of HIV cART drugs in
                                       Illinois;
                    27
                                    h. Iowa Code §§ 553.4, et seq., with respect to purchases of HIV cART drugs in
                    28                 Iowa;
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                     1           i. Kan. Stat. Ann. § 50-161(b), et seq., with respect to purchases of HIV cART drugs
                                    in Kansas;
                     2
                                 j. Me. Rev. Stat. Ann. tit. 10, §§ 1101, et seq., with respect to purchases of HIV
                     3
                                    cART drugs in Maine;
                     4
                                 k. Md. Code Ann., Com. Law §§ 11-201, et seq., with respect to purchases of HIV
                     5              cART drugs in Maryland;

                     6           l. Mich. Comp. Laws Ann. §§ 445.772, et seq., with respect to purchases of HIV
                                    cART drugs in Michigan;
                     7
                                 m. Minn. Stat. §§ 325D.51, et seq., and Minn. Stat. §§ 8.31, et seq., with respect to
                     8
                                    purchases of HIV cART drugs in Minnesota;
                     9
                                 n. Miss. Code Ann. §§ 75-21-1, et seq., with respect to purchases of HIV cART
                    10              drugs in Mississippi;

                    11           o. Mont. Code Ann. §§ 30-14-201, et seq., with respect to purchases of HIV cART
                                    drugs in Montana;
                    12
                                 p. Neb. Rev. Stat. §§ 59-801, et seq., with respect to purchases of HIV cART drugs
                    13              in Nebraska;
                    14
                                 q. Nev. Rev. Stat. §§ 598A.060, et seq., with respect to purchases of HIV cART
                    15              drugs in Nevada;

                    16           r. N.H. Rev. Stat. Ann. §§ 356:2, et seq., with respect to purchases of HIV cART
                                    drugs in New Hampshire;
                    17
                                 s. N.M. Stat. Ann. §§ 57-1-1, et seq., with respect to purchases of HIV cART drugs
                    18              in New Mexico;
                    19           t. N.Y. Gen. Bus. Law §§ 340, et seq., with respect to purchases of HIV cART drugs
                    20              in New York;

                    21           u. N.C. Gen. Stat. §§ 75-1, et seq., with respect to purchases of HIV cART drugs in
                                    North Carolina;
                    22
                                 v. N.D. Cent. Code §§ 51-08.1-02, et seq., with respect to purchases of HIV cART
                    23              drugs in North Dakota;
                    24           w. Or. Rev. Stat. §§ 646.705, et seq., with respect to purchases of HIV cART drugs in
                    25              Oregon;

                    26           x. P.R. Laws Ann. tit. 10 §§ 257, et seq., with respect to purchases of HIV cART
                                    drugs in Puerto Rico;
                    27
                                 y. R.I. Gen. Laws §§ 6-36-4, et seq., with respect to purchases of HIV cART drugs in
                    28              Rhode Island;
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                     1                z. S.D. Codified Laws §§ 37-1-3.1, et seq., with respect to purchases of HIV cART
                                         drugs in South Dakota;
                     2
                                      aa. Tenn. Code Ann. §§ 47-25-101, et seq., with respect to purchases of HIV cART
                     3
                                          drugs in Tennessee, in that the actions and transactions alleged herein substantially
                     4                    affected Tennessee trade or commerce;

                     5                bb. Utah Code Ann. §§ 76-10-3101, et seq., with respect to purchases of HIV cART
                                          drugs in Utah, where Plaintiff is a citizen of Utah;
                     6
                                      cc. Vt. Stat. Ann. tit. 9, §§ 2453, et seq., with respect to purchases of HIV cART drugs
                     7                    in Vermont;
                     8
                                      dd. W.Va. Code §§ 47-18-3, et seq., with respect to purchases of HIV cART drugs in
                     9                    West Virginia; and

                    10                ee. Wis. Stat. §§ 133.03, et seq., with respect to purchases of HIV cART drugs in
                                          Wisconsin.
                    11

                    12           528.    Gilead’s unlawful acts with Teva had, and continue to have, a substantial and

                    13   foreseeable effect on the commerce of each above state and territory by artificially raising and

                    14   fixing prices for the drugs at issue paid for and/or dispensed in each state or territory.

                    15           529.    Gilead’s unlawful activities with Teva, as described in this Complaint, also

                    16   affected both intrastate commerce and interstate commerce flowing into or out from each of the

                    17   above states and territories, and had direct, substantial, and reasonably foreseeable effects upon

                    18   trade and commerce in each respective state or territory.

                    19           530.    During the relevant period, through Gilead, Teva, or the regional and national

                    20   distributors and retailers they have engaged for the sale of the drugs at issue, many millions of

                    21   dollars’ worth of those drugs have been, and continue to be, sold in each of the above states and

                    22   territories every year.

                    23           531.    There is and was no legitimate, procompetitive justification for the anticompetitive

                    24   restraint. Even if there were some conceivable and cognizable justification, the reverse payments

                    25   were not necessary to achieve such a purpose, and, in any event, such procompetitive effects

                    26   would be outweighed by the restraint’s anticompetitive effects on purchasers, competition, and

                    27   consumers.

                    28
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                     1           532.    As a direct and proximate result of Gilead’s violation of the various states’
                     2   antitrust laws with respect to actions taken with Teva, Plaintiff has been harmed by paying
                     3   artificially inflated, supracompetitive prices for HIV cART drugs dispensed to its members in
                     4   these states and territories and suffered damages in an amount to be proven at trial. Plaintiff’s
                     5   injury consists of having paid higher prices for Viread, Truvada, Atripla and their generic
                     6   equivalents, and continuing to pay higher prices than it would have paid in the absence of the
                     7   antitrust violation. Such injury is of the type the antitrust laws were designed to prevent, and
                     8   flows from that which makes Gilead’s conduct with Teva unlawful.
                     9                                          COUNT XV:
                         Violation of Various State Unfair and Deceptive Trade Practices and Consumer Protection
                    10                                        (All Defendants)
                    11           533.    Plaintiff incorporates by reference the allegations set forth in the preceding

                    12   paragraphs.

                    13           534.    By engaging in the foregoing anticompetitive conduct alleged above, Defendants

                    14   have violated the unfair and deceptive trade practices and consumer protection statutes of all the

                    15   states and territories, including but not limited to all of the following:

                    16               a. Ariz. Code §§ 44-1522, et seq., with respect to purchases of various HIV cART
                                        drugs in Arizona;
                    17
                                     b. Ark. Code Ann. §§ 4-88-101, et seq., with respect to purchases of various HIV
                    18
                                        cART drugs in Arkansas;
                    19
                                     c. Cal. Bus. & Prof. Code §§ 17200, et seq., with respect to purchases of various HIV
                    20                  cART drugs in California;

                    21               d. Colo. Rev. Stat §§ 6-1-105, et seq., with respect to purchases of various HIV
                                        cART drugs in Colorado;
                    22
                                     e. D.C. Code §§ 28-3901, et seq., with respect to the purchases of various HIV cART
                    23
                                        drugs in the District of Columbia;
                    24
                                     f. Fla. Stat. §§ 501.201, et seq., with respect to purchases of various HIV cART
                    25                  drugs in Florida;

                    26               g. Idaho Code §§ 48-601, et seq., with respect to purchases of various HIV cART
                                        drugs in Idaho;
                    27
                                     h. 815 Ill. Comp. Stat. 505/1, et seq., with respect to purchases of various HIV cART
                    28                  drugs in Illinois;
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                     1           i. Ind. Code §§ 24-5-0.5-1, et seq., with respect to purchases of various HIV cART
                                    drugs in Indiana;
                     2
                                 j. La. Stat. Ann. §§ 51:1401, et seq., with respect to purchases of various HIV cART
                     3
                                    drugs in Louisiana;
                     4
                                 k. Me. Stat. tit. 5 §§ 207, et seq., with respect to purchases of various HIV cART
                     5              drugs in Maine;

                     6           l. Mass. Gen. Laws ch. 93A § 11, with respect to purchases of various HIV cART
                                    drugs in Massachusetts;
                     7
                                 m. Mich. Comp. Laws §§ 445.901, et seq., with respect to purchases of various HIV
                     8
                                    cART drugs in Michigan;
                     9
                                 n. Minn. Stat. §§ 325D.43, et seq., Minn. Stat. §§ 325F.69, et seq., and Minn. Stat.
                    10              §§ 8.31, et seq., with respect to purchases of various HIV cART drugs in
                                    Minnesota;
                    11
                                 o. Miss. Code. Ann. §§ 75-24-1, et seq., with respect to purchases of various HIV
                    12              cART drugs in Mississippi;
                    13           p. Mo. Rev. Stat. §§ 407.010, et seq., with respect to purchases of various HIV cART
                    14              drugs in Missouri;

                    15           q. Neb. Rev. Stat. §§ 59-1601, et seq., with respect to purchases of various HIV
                                    cART drugs in Nebraska;
                    16
                                 r. Nev. Rev. Stat. §§ 598.0903, et seq., with respect to purchases of various HIV
                    17              cART drugs in Nevada;
                    18           s. N.H. Rev. Stat. §§ 358-A:1, et seq., with respect to purchases of various HIV
                                    cART drugs in New Hampshire;
                    19

                    20           t. N.M. Stat. Ann. §§ 57-12-1, et seq., with respect to purchases of various HIV
                                    cART drugs in New Mexico;
                    21
                                 u. N.Y. Gen. Bus. Law §§ 349, et seq., with respect to purchases of various HIV
                    22              cART drugs in New York;
                    23           v. N.C. Gen. Stat. §§ 75-1.1, et seq., with respect to purchases of various HIV cART
                                    drugs in North Carolina;
                    24

                    25           w. N.D. Cent. Code §§ 51-15-01, et seq., with respect to purchases of various HIV
                                    cART drugs in North Dakota;
                    26
                                 x. 73 Pa. Cons. Stat. §§ 201-1, et seq., with respect to purchases of various HIV
                    27              cART drugs in Pennsylvania;

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                     1              y. S.C. Code Ann. §§ 39-5-10, et seq., for purchases of various HIV cART drugs in
                                       South Carolina;
                     2
                                    z. S.D. Codified Laws §§ 37-24-1, et seq., with respect to purchases of various HIV
                     3
                                       cART drugs in South Dakota;
                     4
                                    aa. Utah Code Ann. §§ 13-11-1, et seq., with respect to purchases of various HIV
                     5                  cART drugs in Utah;

                     6              bb. Vt. Stat. Ann. tit. 9, §§ 2451, et seq., with respect to purchases of various HIV
                                        cART drugs in Vermont;
                     7
                                    cc. Va. Code Ann. §§ 59.1-196, et seq., with respect to purchases of various HIV
                     8
                                        cART drugs in Virginia;
                     9
                                    dd. W.Va. Code §§ 46A-6-101, et seq., with respect to purchases of various HIV
                    10                  cART drugs in West Virginia;

                    11              ee. Wis. Stat. § 100.18; Wis. Stat. §§ 100.20, et seq., with respect to purchases of
                                        various HIV cART drugs in Wisconsin; and
                    12
                                    ff. Wyo. Stat. Ann. §§ 40-12-101, et seq., with respect to purchases of various HIV
                    13                  cART drugs in Wyoming.
                    14

                    15          535.    Defendants’ unlawful acts had, and continue to have, a substantial and foreseeable

                    16   effect on the commerce of each above state and territory by artificially raising and fixing prices

                    17   for the drugs at issue paid for and/or dispensed in each state or territory.

                    18          536.    Defendants’ unlawful activities, as described in this Complaint, affected both

                    19   intrastate commerce and interstate commerce flowing into or out from each of the above states

                    20   and territories, and had direct, substantial, and reasonably foreseeable effects upon trade and

                    21   commerce in each respective state or territory.

                    22          537.    During the relevant period, through either Defendants themselves or the regional

                    23   and national distributors and retailers that they have engaged for the sale of the drugs at issue,

                    24   many millions of dollars’ worth of those drugs have been, and continue to be, sold in each of the

                    25   above states and territories every year.

                    26          538.    As a direct and proximate result of Defendants’ violation of each of the foregoing

                    27   laws, Plaintiff has been harmed by paying artificially inflated, supracompetitive prices for the

                    28
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                     1   drugs dispensed to its members throughout the U.S. and suffered damages in an amount to be
                     2   proven at trial.
                     3                                                COUNT XVI:
                                                                    Unjust Enrichment
                     4                                               (All Defendants)
                     5           539.       Plaintiff incorporates by reference the allegations set forth in the preceding

                     6   paragraphs.

                     7           540.       Defendants have benefited from artificially high prices in the sale of HIV cART

                     8   drugs resulting from the unlawful and inequitable acts alleged throughout this Complaint.

                     9           541.       Defendants’ financial benefit resulting from their unlawful and inequitable acts are

                    10   traceable to overpayments for HIV cART drugs made by Plaintiff.

                    11           542.       Plaintiff has conferred upon Defendants an economic benefit, profits from

                    12   unlawful overcharges, to the economic detriment of Plaintiff.

                    13           543.       It would be futile for Plaintiff to seek a remedy from any party with whom it has

                    14   privity of contract for its indirect purchases of HIV cART drugs.

                    15           544.       It would be futile for Plaintiff to seek to exhaust any remedy against the immediate

                    16   intermediary in the chain of distribution from which it purchased HIV cART drugs, as any

                    17   intermediary is not liable and would not compensate Plaintiff for the impact of Defendants’

                    18   unlawful conduct.

                    19           545.       The economic benefit of overcharges derived by Defendants through charging

                    20   supracompetitive and artificially inflated prices for HIV cART drugs is a direct and proximate

                    21   result of Defendants’ unlawful conduct.

                    22           546.       The economic benefits derived by Defendants rightfully belongs to Plaintiff, as it

                    23   paid anticompetitive and monopolistic prices during the relevant period, benefiting Defendants.

                    24           547.       It would be inequitable under unjust enrichment principles under the law of the

                    25   District of Columbia and the laws of all states and territories in the U.S., except Ohio and Indiana,

                    26   for Defendants to be permitted to retain any of the overcharges for HIV cART drugs derived from

                    27   Defendants’ unfair and unconscionable methods, acts, and trade practices alleged in this

                    28   Complaint.
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                     1           548.   Defendants are aware of and appreciate the benefits bestowed upon them by
                     2   Plaintiff.
                     3           549.   Defendants should be compelled to disgorge in a common fund for the benefit of
                     4   Plaintiff all unlawful or inequitable proceeds they received.
                     5           550.   A constructive trust should be imposed upon all unlawful or inequitable sums
                     6   received by Defendants that are traceable to Plaintiff.
                     7                                     DEMAND FOR JUDGMENT
                     8           WHEREFORE, Plaintiff respectfully requests entry of judgment against Defendants and
                     9   the following relief:
                    10           A.     A declaration that the conduct alleged herein is in violation of Sections 1 and 2 of
                    11                  the Sherman Act;
                    12           B.     Permanent injunctive relief enjoining Defendants from continuing their illegal
                    13                  conduct and requiring them to take affirmative steps to dissipate the continuing
                    14                  effects of their prior conduct;
                    15           C.     An award of Plaintiff’s actual, consequential, and compensatory damages, trebled,
                    16                  and/or other damages, in an amount to be proven at trial, including pre- and post-
                    17                  judgment interest at statutory rates;
                    18           D.     Equitable relief in the nature of disgorgement, restitution, and/or the creation of a
                    19                  constructive trust to remedy Defendants’ violations of various state unfair and
                    20                  deceptive trade practices, consumer protection, and unjust enrichment laws;
                    21           E.     An award of Plaintiff’s costs of suit, including reasonable attorneys’ fees as
                    22                  provided by law; and
                    23           F.     Such other and further relief as the Court deems just and proper.
                    24

                    25

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                     1                                          JURY DEMAND
                     2        Plaintiff demands a trial by jury on all issues so triable.
                     3

                     4   Dated: December 13, 2021                         Respectfully submitted,
                     5
                                                                          CROWELL & MORING LLP
                     6

                     7
                                                                           /s/ Daniel A. Sasse
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